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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


DR. SAAD ALJABRI,

   c/o Jenner & Block LLP
   1099 New York Avenue, NW
   Suite 900                                  Civil Action No.___. 1:20-cv-
   Washington, DC 20001-4412                  02146-TJK

      Plaintiff,
                                              AMENDED COMPLAINT
      v.
                                              JURY TRIAL DEMANDED
MOHAMMED         BIN    SALMAN   BIN
ABDULAZIZ AL SAUD,
Al Auja Palace,
Wadi Hanifah,
Riyadh, 13731
Kingdom of Saudi Arabia

PRINCE MOHAMMED BIN SALMAN
ABDULAZIZ FOUNDATION d/b/a MISK
FOUNDATION,
Abdullah Al Sahmi,
Al Safarat District Area,
P.O. Box 7605
Riyadh, 12512
Kingdom of Saudi Arabia

BADER ALASAKER,
Kingdom of Saudi Arabia

SAUD ALQAHTANI,
Kingdom of Saudi Arabia

AHMED ALASSIRI,
Kingdom of Saudi Arabia

KHALID       IBRAHIM      ABDULAZIZ
ALGASEM,
Kingdom of Saudi Arabia
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MISHAL FAHAD ALSAYED,
Kingdom of Saudi Arabia

BANDAR SAEED ALHAQBANI,
Kingdom of Saudi Arabia

IBRAHIM HAMAD ABDULRAHMAN
ALHOMID,
Kingdom of Saudi Arabia

SAUD ABDULAZIZ ALSALEH,
Kingdom of Saudi Arabia

AHMED         ABDULLAH               FAHAD
ALBAWARDI,
Kingdom of Saudi Arabia

BADER MUEEDH SAIF ALQAHTANI,
Kingdom of Saudi Arabia

YOUSSEF ALRAJHI,
3049 Saint Regents Dr., Apt. 122
Fairfax, VA 22031-1287

HANI FAKRI HAMED,
130 Dartmouth Street, Apt. 207
Boston, MA 02216

MOHAMMED ALHAMED,
Kingdom of Saudi Arabia

LAYLA ABULJADAYEL,
3920 Mystic Valley Pkwy., Apt. 912
Medford, MA 02155-6909

BIJAD ALHARBI,
Kingdom of Saudi Arabia

JOHN DOES 1-118,

       Defendants.



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                                   AMENDED COMPLAINT


       Plaintiff Dr. Saad Aljabri (“Dr. Saad”), by and through his attorneys, alleges upon

knowledge as to himself and his own actions and upon information and belief as to all other

matters, as follows:




                                 NATURE OF THIS ACTION

       1.      “Our strong arms be our conscience, swords our law.” – Richard III, William

Shakespeare.

       2.      These are the words of a man who, in his quest to become king, kidnapped children,

manipulated allies, and killed those in his way.

       3.      Now, some hundreds of years after Shakespeare penned this verse, comes this

lawsuit—necessitated by a similar thirst for power.       In this case, the power sought is the

unencumbered throne of the Kingdom of Saudi Arabia, and the man seeking it is Mohammed bin

Salman al Saud (“Defendant bin Salman”), the Crown Prince of the Kingdom. Because the path

to that power runs through the United States, those who could block that path through this country

have everything to lose—including their lives.

       4.      Fortunately, in the United States, justice is measured not by the might of one’s

arms; what is lawful is measured not by the reach of one’s sword; and the law itself is not laggard

when faced with a prince who, having directed the dismemberment of a prominent U.S. journalist




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overseas, also dispatched a team of hunters and killers into the United States and Canada to murder

again.

         5.    The target of that attempted killing is Plaintiff Dr. Saad Aljabri (“Dr. Saad”)—a

longtime trusted partner of senior U.S. intelligence officials. Dr. Saad is uniquely positioned to

existentially threaten Defendant bin Salman’s standing with the U.S. government. That is why

Defendant bin Salman wants him dead—and why Defendant bin Salman has worked to achieve

that objective over the last three years.

         6.    Few alive know more about Defendant bin Salman than Dr. Saad. Through his

decades of service in the Saudi government, Dr. Saad was privy to sensitive information about

Defendant bin Salman’s covert political scheming within the Royal Court, corrupt business

dealings, and creation of a team of personal mercenaries that Defendant bin Salman would later

use to carry out the extrajudicial killingkillings and renditions in pursuit of his personal interests,

including the brutal murder of Jamal Khashoggi, among others. Few places hold more sensitive,

humiliating, and damning information about Defendant bin Salman than the mind and memory of

Dr. Saad—except perhaps the recordings Dr. Saad made in anticipation of his killing.

         7.    At the same time, few alive have had a closer partnership with the U.S. intelligence

and security apparatus (the “U.S. Intelligence Community”) than Dr. Saad. Through decades of

close cooperation with senior U.S. officials on counterterrorism projects while serving the Saudi

government, Dr. Saad came to be a trusted partner whose information and counsel was sought

before making life-and-death decisions about U.S. national security. Respect was mutual, and

well-earned. Indeed, in 2010, Dr. Saad ledhelped to lead a team that saved hundreds—if not



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thousands—of American lives by interrupting a terrorist plot targeting synagogues in Chicago,

Illinois.

        8.     That combination of deep knowledge and enduring trust by top U.S. officials is why

there is virtually no one Defendant bin Salman wants dead more than Dr. Saad.

        9.     To fulfill his murderous desire, Defendant bin Salman has personally orchestrated

an attempted extrajudicial killing of Dr. Saad, an attempt that remains ongoing to this day. In an

effort to limit the U.S. government’s access to a key partner with unique knowledge, Defendant

bin Salman sent explicit and implicit death threats to Dr. Saad; sought to lure Dr. Saad to

jurisdictions in which he could be killed; sought to lure Dr. Saad’s family to the Saudi consulate

in Istanbul, Turkey, just days before his Tiger Squad killers successfully executed Jamal

Khashoggi inside the very same facility; repeatedly deployed covert agents ininto the United States

as part of a mandate to hunt down Dr. Saad; filed false claims with intergovernmental organizations

of which the United States is a member to limit Dr. Saad’s ability to travel; seized two of Dr.

Saad’s children to lure him back to Saudi Arabia; and ultimately dispatched a hit squad across the

Atlantic Ocean in a direct attempt to kill Dr. Saad. These are just a few of the many acts comprising

Defendant bin Salman’s brutal attempted extrajudicial killing.

        10.    Defendant bin Salman’s ongoing and attempted extrajudicial killing has involved

three basic steps: (i) luring Dr. Saad back to Saudi Arabia; (ii) hunting Dr. Saad in the United

States and elsewhere to locate him; and (iii) sending a personal hit squad to kill him. Each of these

steps has advanced Defendant bin Salman’s ultimate objective: to kill Dr. Saad and thereby

eliminate someone who could undermine—and indeed, existentially alter—Defendant bin

Salman’s support from the U.S. government. At each step, Defendant bin Salman has deployed
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resources outside of official Saudi government channels, including the personal hit team he

assembled (rather than Saudi government’s security and intelligence agencies) and the network of

covert, private agents he cultivated as his eyes and ears in the United States.

         11.    First, Defendant bin Salman has taken steps to lure Dr. Saad back to Saudi Arabia

or to another jurisdiction where he could be more easily killed without consequences. After Dr.

Saad fled Saudi Arabia for his safety, Defendant bin Salman personally sent threatening messages

to Dr. Saad using WhatsApp, demanding that he return to Saudi Arabia within “24 hours!” 1

Shortly thereafter, he threatened Dr. Saad and attempted to send a private airplane to render Dr.

Saad back to Saudi Arabia. When that failed, Defendant bin Salman’s threats became more

explicit. In his own words, Defendant bin Salman threatened that he would deploy “all available

means” to eliminate Dr. Saad.2

         12.    In addition, Defendant bin Salman has directed the arrest, detention, and

kidnapping of Dr. Saad’s family members, all in an effort to lure Dr. Saad out of hiding and into a

place where Defendant bin Salman can kill him. Indeed, as of the date of this filing, two of Dr.

Saad’s children who were “disappeared” in mid-March are being2020 continue to be held in an

unknown location in Saudi Arabia. Defendant bin Salman ordered the abduction of twenty-two-

year-old Omar and twenty-year-old Sarah from the Aljabri family residence in Riyadh, Saudi

Arabia, and then a team of fifty armed men in unmarked cars and dressed in civilian clothes—




1
 WhatsApp message from Defendant bin Salman to Dr. Saad (Sept. 9, 2017, 11:36 PM AST).
WhatsApp messages sent to Dr. Saad by Defendant bin Salman and others that are quoted in this
Complaint have been professionally translated from their original Arabic language.
2
    WhatsApp message from Defendant bin Salman to Dr. Saad (Sept. 10, 2017, 4:56 PM AST).
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under the supervision of a close ally of Defendant bin Salman, Salah Aljotaili—roused them from

their beds in the early morning hours of March 16, 2020 and “disappeared” them. Dr. Saad has

not seen them since. Other relatives of Dr.

        12.13. Not satisfied with control over just two of Dr. Saad’s children, Defendant bin

Salman has sought to lure Dr. Saad’s other children back to Saudi Arabia as well. For example,

in September 2018, Defendant bin Salman’s agents repeatedly pressured another daughter of Dr.

Saad to travel to the Saudi consulate in Istanbul, Turkey. Only days later, the Tiger Squad

successfully executed Jamal Khashoggi inside the same facility. Other relatives of Dr. Saad inside

and outside of Saudi Arabia have also been arrested, detained, and tortured, —many of them in

apparent retaliation for filing this lawsuit—all in an effort to bait Dr. Saad back to Saudi Arabia to

be killed.

        13.14. Second, Defendant bin Salman has sought to hunt Dr. Saad down and trap him

wherever he was located in order to facilitate his killing. That hunt that took place primarily in

the United States, where Dr. Saad owns property and where Defendant bin Salman believed Dr.

Saad to be residing.

        14.15. Acting through his personal charitable foundation, Defendant Prince Mohammed

Bin Salman bin Abdulaziz Foundation (also known as the “MiSK Foundation”) and Defendant

Bader Alasaker (“Defendant Alasaker”), Defendant bin Salman’s personal charitable foundation,

and affiliated student and “public relations” organizations, Defendant bin Salman recruited and

deployed a network of Saudi agents living in the United States (the “U.S.-Based Covert Agent

Defendants”) who used covert and deceptive means to hunt Dr. Saad and his family in Boston,

Massachusetts, ultimately in an effort to identify his location for an attempted killing. These U.S.-
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Based Covert Agents included student operatives who were an elite subset of a broader group of

Saudi students in the United States that Defendant bin Salman had intentionally developed to do

his bidding. To oversee this effort, Defendant bin Salman relied on Defendant Alasaker, the head

of Defendant Prince Mohammed Bin Salman bin Abdulaziz Foundation (also known as the

“MiSK Foundation” and referred to herein as “Defendant MiSK”). Defendant Alasaker in turn

extended his reach beyond Defendant MiSK by asserting control over the Saudi Arabian Cultural

Mission (“SACM”) and the broad web of student organizations it supervises throughout the United

States.3 Defendants bin Salman and Alasaker, working with and through Defendant MiSK,

controlled the conduct of the student operatives tasked with hunting down Dr. Saad; their behavior,

like that of other Saudi students in the United States, was subject to constant scrutiny. As has been

publicly reported, Saudi student “clubs” in the United States each have “one or two spies” tasked

with reporting on “everything that happened” and “everything that was said,” and all student

activities require express permission.4 The student operatives in this case were singled out for

their demonstrated loyalty to Defendant bin Salman and longstanding involvement with Defendant

MiSK. They regularly interacted with high-ranking associates of Defendant bin Salman, and


3
  See, e.g., Press Release, MiSK Foundation, Misk and MOE Signed Agreement to Send 100
Students to Top International Universities, (Oct. 24, 2017), https://misk.org.sa/hcd/misk-moe-
signed-agreement-send-100-students-top-international-universities/    (explaining    Defendant
MiSK’s agreement, signed by Defendant Alasaker, to send Saudi students abroad and coordinate
with Cultural Missions); Misk Foundation | ‫@( مسك الخيرية‬MiskKSA), Twitter (Apr. 10, 2018, 6:44
AM), https://twitter.com/MiskKSA/status/983657083055853568 (announcing cooperation
agreement between Defendant MiSK and SACM).
4
  Layla Quran, Saudi Students in U.S. Say Their Government Watches Their Every Move, PBS
News Hour (Mar. 19, 2019), https://www.pbs.org/newshour/world/saudi-students-in-u-s-say-
their-government-watches-their-every-move.

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accordingly were trusted to carry out the sensitive mission of attempting to locate and ultimately

kill Dr. Saad. Moreover, in exchange for their efforts and to keep them close, Defendant bin

Salman rewarded them with exemptions from certain harsh restrictions placed on ordinary Saudi

students and key positions in various organizations aligned with Defendant bin Salman. The U.S.-

Based Covert Agents willingly obeyed these directives, fully aware that noncompliance could

bring about consequences like “passport freezes, death threats, intimidation, retraction of

scholarships, and attempts to lure [Saudi students] back to the country.” 5

          15.16. Defendant bin Salman also sought to activate the levers of the International

Criminal Police Organization (“INTERPOL”), an intergovernmental organization of which the

United States is a member, by filing baselessunspecified allegations so that Dr. Saad and his family

members would be trapped and unable to travel while Defendant bin Salman set in motion his plan

to kill him. To further assist in hunting down and trapping Dr. Saad, Defendant bin Salman’s

personal agents hacked Dr. Saad’s personal smartphones and froze his bank accounts.

          16.17. Third and finally,, once Defendant bin Salman had finally located his target, he in

fact dispatched a private hit squad to North America to kill Dr. Saad. On or around October 15,

2018—less than two weeks after the extrajudicial killing of Washington Post columnist Jamal

Khashoggi, and while the Saudi government was denying even the fact of his death—another team

of Saudi nationals traveled across the Atlantic Ocean from Saudi Arabia to Canada, where Dr.

Saad lives in exile, with the intention of killing Dr. Saad. Like the team that murdered Khashoggi,

those sent to kill Dr. Saad—named in this Complaint as the “Tiger Squad Defendants”—were also



5
    Id.
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members of Defendant bin Salman’s personal mercenary group, the Tiger Squad. Carrying two

bags of forensic tools, and complete with forensic personnel experienced with the clean-up of

crime scenes—including an instructor in the exact same criminal evidence department as the

forensic specialist who dismembered Khashoggi with a bone saw—the Tiger Squad Defendants

attempted to enter Canada covertly, traveling on tourist visas and seeking to avert the detection of

Canadian border security by entering through separate kiosks.

       17.18. Upon approaching the kiosks, the Tiger Squad Defendants aroused the suspicion of

Canadian border security officials, who asked them whether they knew each other. They lied and

said they did not. On information and belief, shortly thereafter, during secondary screening,

Canadian officials found a photo of some of the Tiger Squad Defendants together, revealing their

lie and thwarting their mission.

       19.     On information and belief, Defendant bin Salman, Defendant Saud Alqahtani,

(“Defendant Alqahtani”), and Defendant Ahmed Alassiri, (“Defendant Alassiri”), with the support

of Defendant Alasaker, orchestrated and directed the failed mission to kill Dr. Saad, which bore

striking resemblance to the tactics and personnel they had deployed against Khashoggi thirteen

days earlier. The team successfully deployed to kill Jamal Khashoggi was created by Defendant

bin Salman and Defendant Alqahtani after Dr. Saad—then helping lead the Ministry that would be

responsible for covert extraterritorial operations—refused a request by Defendant bin Salman to

use the resources of the Saudi government to carry out an extrajudicial and extraterritorial

operation. While serving as Deputy Crown Prince, Defendant bin Salman wanted to kidnap,

torture, and kill a Saudi prince living in France who criticized Defendant bin Salman on Twitter

as “corrupt[]” and “improvident” for wasting the royal family’s money on a $500 million yacht
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and personally threatened to expose Defendant bin Salman’s salacious conduct. Without the tools

of the State at his unilateral disposal, Defendant bin Salman created a personal team of killers to

carry out the extrajudicial rendition from France instead. The same tactics and the same team were

later used by Defendant bin Salman and Defendant Alqahtani to kidnap a religious pilgrim in

Mecca in 2016 and then sodomize him, defiling even Islam’s holiest site, simply because the

pilgrim had implicitly suggested on Twitter that Defendant bin Salman was a “reckless” child who

would cause “calamity.” In short, when Defendant bin Salman’s ability to kill was hamstrung by

the official organs of the Kingdom, he created a personal team prepared to do anything and

everything for him, anywhere in the world.

       20.     Having failed to kill Dr. Saad in Canada in October 2018, Defendant bin Salman

continues in his attempted extrajudicial killing to this day. In May 2020, Defendant bin Salman

convened a meeting with key advisors, and, according to a witness in direct contact with

participants in the meeting, Defendant bin Salman directed agents to pursue another mission to kill

Dr. Saad, by traveling directly through the United States to enter Canada “by land” and, once and

for all, eliminate Dr. Saad. The participants also discussed having obtained a fatwa to endorse the

killing of Dr. Saad. Defendant bin Salman’s agents followed his orders and since then have

pursued intensified efforts to locate Dr. Saad, identify his patterns of movement, and collect

information on his physical security arrangements. In recent months, Dr. Saad has also endured




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repeated credible threats on his life; indeed, Canadian law enforcement deployed an Emergency

Response Team outside his home in response to a potentially imminent threat it had detected. 6

       18.21. Each aspect of this ongoing attempt has had one ultimate objective: to kill Dr. Saad

and thereby limit the U.S. government’s access to a key partner with unique knowledge.

       19.     Having failed to finish the job in Canada, Defendant bin Salman continues in his

attempted extrajudicial killing to this day. In recent months, Defendant bin Salman obtained a

fatwa directed at Dr. Saad—in this case, a ruling by religious authorities endorsing the killing of

Dr. Saad. Following the failure of the October 2018 Tiger Squad plot in Canada, upon information

and belief, Defendant bin Salman now plans to send agents directly through the United States to

enter Canada “by land” and, once and for all, eliminate Dr. Saad.

       20.22. Defendant bin Salman’s targeting of Dr. Saad directly implicates U.S. interests.

Indeed, Dr. Saad’s close ties to the U.S. Intelligence Community stand in the way of Defendant

bin Salman’s consolidation of influence and power among U.S. government officials. Dr.The

Department of State has publicly and repeatedly recognized Dr. Saad as “a valued partner to the

U.S. Government.”7 Dr. Saad formed those close ties with the United States while establishing

Saudi Arabia as “one of Washington’s most important and reliable partners in counterterrorism,




6
  An Emergency Response Team is a specialized unit of the Royal Canadian Mounted Police
(“RCMP”) that deploys “tactics, specialized weapons and equipment to resolve high-risk
situations.” Emergency Response Team, Royal Canadian Mounted Police, https://www.rcmp-
grc.gc.ca/ert-gti/index-eng.htm (last visited Feb. 3, 2021).
7
 Letter from Ryan M. Kaldahl, Acting Ass’t Sec’y, Bureau of Legislative Affairs, U.S. Dep’t of
State, to Senator Leahy 1 (Aug. 6, 2020) [hereinafter Aug. 6, 2020 State Dep’t Letter].

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both globally and within the region.”8 And those ties have been crucial to “keeping [U.S.] citizens

safe”9 and saving American lives, like the hundreds—if not thousands—of lives that were saved

when Dr. Saad ledoversaw a team of informants that prevented a plot by an al-Qaeda affiliate to

bomb two United States-bound cargo airplanes.

          21.23. Defendant bin Salman’s desire to disrupt these ties by eliminating Dr. Saad has

been transparent. Defendant bin Salman had Dr. Saad stripped of his position in the Saudi

government for meeting with Director for the U.S. Central Intelligence Agency (“CIA”) John

Brennan. Similarly, in May 2017, after public reporting on a U.S. lobbying effort pursued by Dr.

Saad’s close ally, Dr. Saad learned ofunderstood that he faced credible threats that caused him to

fear for his safety and flee Saudi Arabia. Days later, Dr. Saad learned that these fears were well

founded when Defendant bin Salman ordered the detention of participants in the U.S. lobbying

effort and a former colleague warned him that he was a target.

          22.24. After Defendant bin Salman staged a coup that ousted Dr. Saad’s close ally,

then--Crown Prince Mohammed bin Nayef (“Mr. bin Nayef”)—and appeared to receive political

cover from President Trump to do so—the U.S. Intelligence Community continued to rely on Dr.




8
  Letter from William S. Cohen, Former Sec’y of Def., Michael Morell, Former Acting Dir. of the
Cent. Intelligence Agency, et al. to the President of the U.S. & Members of Cong. 2 (Sept. 23,
2016),                                                                          https://www.al-
monitor.com/pulse/files/live/sites/almonitor/files/documents/2016/letter_obama_congress_jasta.p
df; see also Lina Khatib, The Regional Impact of Saudi Succession, Carnegie Middle East Ctr.
(Jan. 23, 2015), https://carnegie-mec.org/diwan/57663.
9
    Aug. 6, 2020 State Dep’t Letter, supra note 7, at 1.

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Saad and Mr. bin Nayef, who had become instrumental to protecting U.S. national security. 10

Indeed, on information and belief, Defendant bin Salman believes that Dr. Saad is responsible for

the CIA’s conclusion—leaked in November 2018— that Defendant bin Salman personally ordered

the killing of Jamal Khashoggi.11 That conclusion severely injured Defendant bin Salman’s

standing and reputation in the United States and other western countries. 12

       23.25. Accordingly, to Defendant bin Salman, the threat posed by Dr. Saad to Defendant

bin Salman’s standing in the United States is an urgent and ongoing one. Defendant bin Salman’s

attempted extrajudicial killing has confronted that threat: to maximize Defendant bin Salman’s

chances of U.S. support for his ascension, Dr. Saad had to be eliminated.

       26.     If the allegations in this Complaint seem fantastical, that is only because it is

difficult to fathom the depths of depravity of Defendant bin Salman and the men he empowered to

carry out his will, such as Defendant Saud Alqahtani. But make no mistake: the attempt to kill

Dr. Saad, just like the completed killing of Jamal Khashoggi days before, was not a one-off

incident, but rather the way Defendant bin Salman regularly operated in the years leading up to



10
   David Ignatius, This Former Intelligence Official Was a Hero. He’s Now the Target of a Brutal
Campaign by MBS, Wash. Post, (May 28, 2020,), https://www.washingtonpost.com/opinions
washingtonpost. com/opinions/2020/05/28/this-former-intelligence-official-was-hero-hes-now-
target-brutal-campaign-by-mbs/.
11
   Shane Harris, Greg Miller & Josh Dawsey, et al., CIA Concludes Saudi Crown Prince Ordered
Jamal     Khashoggi’s      Assassination,    Wash.       Post,        (Nov.    16,     2018,),
https://www.washingtonpost.com         com/world/national-security/cia-concludes-saudi-crown-
prince-ordered-jamal-khashoggis-assassination/2018/11/16/98c89fe6-e9b2-11e8-a939-
9469f1166f9d_story.html.
12
  Ben Hubbard, One Year On, Shadow of Khashoggi’s Killing Stalks Saudi Prince, N.Y. Times,
(Oct. 2, 2019,), https://www.nytimes.com/2019/10/02/world/middleeast/khashoggi-killing-mbs-
anniversary.html.
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the fateful events of 2018. This pattern of activity caused a whistleblower to approach Dr. Saad

(by then out of government) as early as 2016, fearful of a new team operating at Defendant bin

Salman’s direction that was carrying out extrajudicial killings, rape, and torture. It was why the

official security ministries of the Saudi government itself surveilled and fastidiously documented

Defendant bin Salman’s Tiger Squad as early as 2016, fearful of the lawless activities of a

dangerously empowered royal. It was why many of the same men who tortured Dr. Saad’s son-

in-law in 2017 as part of Defendant bin Salman’s supposed “anti-corruption” efforts were part of

the same personal hit squad sent to Turkey to kill Khashoggi one year later. In short, the operation

to kill Dr. Saad followed an engrained pattern of operation, directed by Defendant bin Salman and

carried out by Defendants Alqahtani and Alassiri and a consistent band of personal loyalists

operating under their supervision. Dr. Saad’s personal knowledge of these and many other

categories of damning information, coupled with his deep connection to the U.S. Government, is

exactly why Defendant bin Salman wants him dead. And Defendant bin Salman was prepared to

reach inside the United States to make that happen.

       24.27. Three years into a still-ongoing attempted extrajudicial killing—where the only

conceivable end is Dr. Saad’s death—he, Dr. Saad now brings a claim for attempted extrajudicial

killing under the Torture Victim Protection Act (“TVPA”) as well as a related claim for violation

of the law of nations under the Alien Tort Statute (“ATS”). Both are aimed at ensuring that flagrant

violations of U.S. law and international norms and standards do not go unchecked, and that victims

who suffer as a result of such violations may seek redress in a legitimate forum.

       25.28. In particular, the TVPA was adopted to create a civil cause of action to ensure

“[j]udicial protection against [specified] flagrant human rights violations” targeting foreign
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citizens in foreign lands in recognition of the “universal condemnation” of official torture and

summary executions and the need for accountability when such intolerable conduct is perpetrated.

S. Rep. No. 102-249, at 3 (1991). Indeed, Congress recognized that “[a] state that practices torture

and summary execution is not one that adheres to the rule of law.” Id. The TVPA “is designed to

respond to this situation by providing a civil cause of action in U.S. courts for torture committed

abroad.” Id. at 3–4; see also H.R. Rep. No. 102-367(I), at 3 (1991).

       26.29. Likewise, the ATS was enacted so that U.S. courts would have jurisdiction over

actions in tort that violated the law of nations, even when committed against non-citizens, so that

victims of such wanton conduct would have a civil remedy.

       27.30. Dr. Saad is entitled to relief for the pain and trauma he has suffered at the hands of

Defendant bin Salman and his agents and affiliates. Litigation alone cannot provide justice to Dr.

Saad, in the face of the brutal hunting and attempted killing orchestrated by Defendant bin Salman.

However, this Court can begin the process of holding Defendant bin Salman and his agents

accountable for their actions, accountable for yet again reaching across international borders,

including reaching into the United States, to hunt down and ultimately kill a man the United States

has long relied upon to keep American citizens safe and who is being targeted precisely because

of his relationship with the United States.




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                                             PARTIES

Dr. Saad

       28.31. Plaintiff Dr. Saad Aljabri (“Dr. Saad”) is a 39-year veteran of the government of

Saudi Arabia with expertise in national security and counterterrorism. He has served as one of the

U.S. Intelligence Community’s closest and most important partners in the region.

       29.32. Dr. Saad holds a master’s degree in computer science and a Ph.D. in artificial

intelligence. He began his career in the Saudi government in 1976, where he served in numerous

positions in the Saudi Ministry of Interior, and ultimately became a trusted advisor of former

Crown Prince Mohammed bin Nayef, who served as Minister of the Interior.

       30.33. In particular, while serving as Mr. bin Nayef’s chief of staff, Dr. Saad led the

development of Saudi Arabia’s security and counter-terrorism agencies, including the Mabahith.

This agency fostered important partnerships with U.S. and other western intelligence and security

agencies.

       31.34. Dr. Saad is a dual citizen of Malta and the Kingdom of Saudi Arabia. Fleeing

Defendant bin Salman in 2017, Dr. Saad relocated first to Turkey and then secretly to Canada. He

currently resides in Canada, where he is a permanent resident.

       32.35. At all relevant times, Dr. Saad maintained close contacts with senior U.S.

intelligence officials, as described further below.

       33.36. At all relevant times, Dr. Saad has owned and maintained property or assets in

Washington, D.C. and elsewhere in the United States. Dr. Saad was previously associated with

the Belfer Center for Science and International Affairs at the Harvard Kennedy School in

Cambridge, Massachusetts. In addition, for periods of time in fall and winter 2017—around the

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time a hunt for Dr. Saad occurred in the United States—Dr. Saad’s wife, Nadyah, and four sons—

Khalid, Mohammed, Naif, and Sulaiman—lived in the United States in Boston, Massachusetts.

Dr. Saad is also a grandfather of three U.S. citizens.

DefendantMohammed bin Salman

       34.37. Defendant Mohammed bin Salman bin Abdulaziz AlsaudAl Saud (“Defendant

bin Salman”) is a Saudi national who currently serves as Crown Prince of the Kingdom of Saudi

Arabia. He resides in Riyadh, Saudi Arabia.

       35.38. Defendant bin Salman seized power by coup in 2017.13 In particular, and as

discussed in more detail below, upon being named Deputy Crown Prince in 2015, Defendant bin

Salman undertook a campaign to consolidate his power and maximize his influence and credibility

within the U.S. government, including the U.S. Intelligence Community, which maintained a close

and longstanding relationship with Dr. Saad and Mr. bin Nayef. Such campaign involved the

removal of those—including Dr. Saad and Mr. bin Nayef—who had both a direct line to senior

U.S. intelligence officials and a wealth of potentially harmful knowledge about Defendant bin

Salman and his affiliates.

       36.39. Since assuming the role of Crown Prince after ousting Mr. bin Nayef in 2017,

Defendant bin Salman’s campaign has grown increasingly violent, as he has sought to eliminate

any individuals who posed a threat to his support within the United States. Acting through a

network of agents and front entities—including his personal “charitable” organization, the MiSK

Foundation, senior advisersadvisors Defendant Alqahtani, Defendant Alassiri, and Defendant


13
   Robin Wright, The Saudi Royal Purge—with Trump’s Consent, New Yorker, (Nov. 6, 2017,),
https://www.newyorker.com/news/news-desk/the-saudi-royal-purge-with-trumps-consent.
                                                 18
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Alasaker, the Tiger Squad Defendants and the U.S.-Based Covert Agent Defendants—Defendant

bin Salman has carried out multiple extrajudicial killings and attempted extrajudicial killings of

those who could undermine his support in the United States, including of Jamal Khashoggi and

Dr. Saad.

       37.     Defendant bin Salman’s campaign to build U.S. support and eliminate those who

threaten to undermine that support has included several visits to the United States to meet with,

inter alia, government officials and media and corporate executives, including in June 2016,

March 2017, and March 2018.14

Bader Alasaker

       38.40. Defendant Bader Alasaker (“Defendant Alasaker”) is a Saudi national who serves

as the head of Defendant bin Salman’s private office and the “Secretary-General” (or Executive

Director) of the MiSK Foundation. On information and belief, throughDefendant MiSK. In those

two roles, Defendant Alasaker is one of Defendant bin Salman’s closest aides and is known as

Defendant bin Salman’s “invisible hand.”15 Through those dual roles, Defendant Alasaker has



14
   Tim Arango, Oprah, Rupert Murdoch, Harvard: Saudi Prince’s U.S. Tour, N.Y. Times, Apr. 6,
2018,      https://www.nytimes.com/2018/04/06/world/middleeast/saudi-prince-mohammed-bin-
salman-us.html; Julie Hirschfeld Davis, Trump Meets Saudi Prince as U.S. and Kingdom Seek
Warmer            Relations,       N.Y.         Times,         Mar.          14,         2017,
https://www.nytimes.com/2017/03/14/world/middleeast/mohammed-bin-salman-saudi-arabia-
trump.html; Press Release, White House, Office of the Press Sec’y, Readout of the President’s
Meeting with Mohammed bin Salman bin Abdulaziz Al Saud, Deputy Crown Prince and Minister
of     Defense      of    the   Kingdom     of     Saudi    Arabia     (June     17,   2016),
https://obamawhitehouse.archives.gov/the-press-office/2016/06/17/readout-presidents-meeting-
mohammed-bin-salman-bin-abdulaziz-al-saud-0.
15
   Al Asaker, Mohammed bin Salman’s Invisible Hand, Intelligence Online (Oct. 18, 2017),
https://www.intelligenceonline.com/government-intelligence/2017/10/18/al-asaker-mohammed-

                                               19
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cultivated a network of covert agents whom he has deployed to target individuals who undermine

Defendant bin Salman in the United States.16

       39.     With respect to Dr. Saad, Defendant Alasaker acted primarily through the MiSK

Foundation, which he used to recruit covert agents to hunt down Dr. Saad in the United States and

determine his whereabouts.

       40.41. Defendant Alasaker traveled to the United States on multiple occasions in

connection with his work leading theDefendant MiSK Foundation, including but not limited to in

June 2014, May 2015, June 2016, March 2017, August 2017, September 2017, March 2018, and

September 2018. 17 Additionally, on information and belief, Defendant Alasaker recently rented

or authorized the rental of residential property under his name in California.



bin-salman-s-invisible-hand,108276602-art#:~:text=Al%20Asaker%20is%20not%20officially,
the%20crown%20prince's%20personal%20foundation.
16
   See Superseding Indictment, United States v. Abouammo, No. 3:19-cr-00621-EMC (N.D. Cal.
July 28, 2020), ECF No. 53; Diane Bartz & Katie Paul, U.S. Accuses Two Former Twitter
Employees      of    Spying     for     Saudi     Arabia,      Reuters    (Nov.    6,      2019),
https://www.reuters.com/article/us-usa-twitter-saudiarabia/u-s-accuses-two-former-twitter-
employees-of-spying-for-saudi-arabia-idUSKBN1XG34W.
17
   Criminal Complaint ¶¶ 27-29, United States v. Abouammo, No. 3:19-cr-00621-EMC (N.D. Cal.
Nov. 5, 2019), ECF No. 1 (describing a June 2014 visit by “Foreign Official-1” [Alasaker] to
Twitter headquarters); id. ¶ 58 (May 2015 visit by “Foreign Official-1” [Alasaker] to Washington,
DC as part of an official delegation from Saudi Arabia); Betsy Morris, How a Former Twitter
Employee Became an Accused Saudi Spy, Wall St. J., . (Nov. 10, 2019,),
https://www.wsj.com/articles/how-a-former-twitter-employee-became-an-accused-saudi-spy-
11573406476 (noting that a person familiar with the case identified “Foreign Official-1” as being
Bader Alasaker); Bader Al Asaker ‫@( بدر العساكر‬Badermasaker), Twitter (June 23, 2016, 12:43
PM), https://twitter.com/Badermasaker/status/746020932678987777; Press Release, MiSK
Global Forum, UN & MiSK Sign Historic Agreement for Global Youth Work (Sept. 25, 2018),
https://miskglobalforum.com/embed/; Bader Al Asaker ‫@( بدر العساكر‬Badermasaker), Twitter
(June 22, 2016, 12:40 PM ET), https://twitter.com/Badermasaker/status/745657779017375744;
Bader Al Asaker (@badermasaker), Instagram (June 25, 2016), https://www.instagram.com/p

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       42.     Facilitated by his repeated physical presence in the United States, Defendant

Alasaker led Defendant bin Salman’s U.S.-based effort to cultivate and consolidate control over a

network of operatives in the United States. Defendant Alasaker personally handpicked and

deployed several trusted individuals as covert operatives in furtherance of Defendant bin Salman’s

personal objective of extrajudicially killing Dr. Saad. Defendant Alasaker carried out this effort

through Defendant MiSK and through student “clubs” that, like Defendant MiSK, were controlled

by Defendants bin Salman and Alasaker.

       41.43. Defendant Alasaker’s recruitment and direction of agents to hunt down Dr. Saad in

the United States was a continuation of thea pattern Defendant Alasaker had been deploying for

years to cultivate individuals in the United States instrumental to Defendant bin Salman’s objective

of maximizing personal power and influence within U.S. government circles and removing any

obstacles to doing so.

       44.     For example, upon information and belief, acting at Defendant bin Salman’s

direction, Defendant Alasaker, operating through Defendant MiSK FoundationIndeed, acting at

Defendant bin Salman’s direction, Defendant Alasaker has overseen the development of a network

of Saudi students in the United States, who can be and have been weaponized at a moment’s notice



p/BHF0diFBB1g/; Bader Al Asaker ‫@( بدر العساكر‬Badermasaker), Twitter (Mar. 14, 2017, 2:53
PM), https://twitter.com/Badermasaker/status/841724100599009280; Bader Al Asaker ‫بدر العساكر‬
(@Badermasaker), Twitter (Sept. 15, 2017, 2:43 PM), https://twitter.com/Badermasaker
Badermasaker/status/908763333079310342; Bader Al Asaker ‫@( بدر العساكر‬Badermasaker),
Twitter               (Mar.            22,           2018,           4:23            PM),
https://twitter.com/Badermasaker/status/976917416151265280;     Bader      Al      Asaker
(@badermasaker), Instagram (Sept. 25, 2018), https://www.instagram.com/p/BoKki7FlbLu/;
‫مبتعث‬     ‫صحيفة‬      (@Mbt3thOnline),      Twitter  (Aug.    5,    2017,    4:04     AM),
https://twitter.com/Mbt3thOnline/status/893744555660627968.
                                                21
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to carry out Defendant bin Salman’s personal objectives. As detailed in this Amended Complaint,

Defendants bin Salman and Alasaker have recruited, supervised, tasked, incentivized, and

controlled these individuals largely through Saudi student and “public relations” organizations.

These organizations are nominally overseen by SACM, located in Fairfax, Virginia. However,

SACM operates as an extension of Defendant MiSK—and, in turn, Defendants bin Salman and

Alasaker—as evidenced by the cooperation agreement entered into between Defendant MiSK and

SACM in 2018 at Defendant bin Salman’s direction18 and the pervasive control Defendant bin

Salman exercises over its activities.19 Similar to Defendant MiSK, such organizations provide an

air of legitimacy but in fact operate as U.S.-based intelligence fronts for Defendant bin Salman,

who turns to them when he seeks to exact revenge or pursue private vendettas.

       42.45. In enlisting Saudi students in the United States to go after Dr. Saad, Defendant

Alasaker was following a familiar approach. For example, acting at Defendant bin Salman’s

direction, Defendant Alasaker, operating through Defendant MiSK, coordinated a criminal scheme

that involved recruiting, training, and bribing U.S.-based employees of Twitter, Inc. (“Twitter”)

—who had themselves originally come to the United States as students—to act as illegal agents

and obtain personal and confidential information about critics of Defendant bin Salman in the




18
    Misk Foundation | ‫@( مسك الخيرية‬MiskKSA), Twitter (Apr. 10, 2018, 6:44 AM),
https://twitter.com/MiskKSA/status/983657083055853568.
19
  MiSK Initiatives and the Cultural Attache Office Conclude a Joint Agreement to Support Student
Clubs,                SaudiUSA.com                  (Apr.               10,               2018),
https://saudiusa.com/index.php?option=com_tz_portfolio&view=article&id=14214:2018-04-10-
14-11-&lang=ar (hereinafter “MiSK and SACM Joint Agreement”).

                                               22
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United States.20 Defendants bin Salman and Alasaker recruited these agents through a shell

company called Sama’at, which was financed through Defendant MiSK.21 In or around the spring

of 2015, Defendant bin Salman bragged to Dr. Saad that Defendant bin Salman had “our guy in

Twitter” stop someone, which Dr. Saad understood to mean that Defendant bin Salman had a

covert agent inside Twitter who took action to silence a Twitter user who repeatedly criticized

Defendant bin Salman. Defendant bin Salman mentioned to Dr. Saad that he paid one million

Saudi riyalriyals to the agent at Twitter. The participation of Defendant bin Salman and Defendant

Alasaker in this scheme in the United States is the subject of a criminal indictment brought by the

U.S. Department of Justice.22

       43.46. Defendant Alasaker also brought pertinent expertise to the table with respect to the

dispatching of a hit squad to extrajudicially kill Dr. Saad. Indeed, he played a significant role in




20
   Superseding Indictment, United States v. Abouammo et al.,, No. 3:19-cr-00621-EMC (N.D.
Cal.);. July 28, 2020), ECF No. 53; Ellen Nakashima & Greg Bensinger, Former Twitter
Employees Charged With Spying for Saudi Arabia by Digging Into the Accounts of Kingdom
Critics, Wash. Post, (Nov. 6, 2019,), https://www.washingtonpost.com/national-security/former-
twitter-employees-charged-with-spying-for-saudi-arabia-by-digging-into-the-accounts-of-
kingdom-critics/2019/11/06/2e9593da-00a0-11ea-8bab-0fc209e065a8_story.html; see also infra
note 86177.
21
  Superseding Indictment ¶ 10, Abouammo, No. 3:19-cr-00621-EMC (“From a time unknown to
the Grand Jury but no later than May 2014 to at least March 2016, ALMUTAIRI controlled a
Saudi social media marketing company [Sama’at] that performed work for Organization-1
[Defendant MiSK] and members of the Saudi Royal Family, including Royal Family Member-1
[Defendant bin Salman].”).
22
  See Abouammo, No. 3:19-cr-00621-EMC. On information and belief, Defendant Alasaker’s
conduct is described in the superseding indictment as having orchestrated the criminal conduct
within the United States. He is also referenced in the indictment as the Secretary General of
Defendant bin Salman’s personal charitable foundation, the MiSK Foundation.

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supporting the killing of Khashoggi in October 2018,23 which the CIA concluded with high

confidence was ordered by Defendant bin Salman.24 Members of the Tiger Squad that carried out

that murder made four calls from the Saudi consulate in Istanbul to Defendant Alasaker during the

course of the execution.25

          47.     Defendant Alasaker has also worked together with Defendant Alqahtani, at the

direction of Defendant bin Salman, to cultivate a network of foreign and U.S.-based agents to

conduct online disinformation and smear campaigns against individuals perceived as threats to

Defendant bin Salman, including Dr. Saad. 26 See infra ¶¶ 261–66.

Saud Alqahtani

          44.48. Defendant Saud Alqahtani (“Defendant Alqahtani”) is a Saudi national who

served as and a top aide to Defendant bin Salman.

          49.     On information and belief, Since Defendant bin Salman’s rise to power in 2015,

Defendant Alqahtani has served as Defendant bin Salman’s chief propagandist and one of his chief




23
   See Hannah Lucinda Smith, Saudi Hit Squad Leader ‘Called Crown Prince’s Office’ After
Khashoggi Death, The Times, (Oct. 23, 2018,), https://www.thetimes.co.uk/article/hit-squad-
leader-called-office-of-crown-prince-fpkgspbs0/.
24
     Harris et al., , supra note 511.
25
   Smith, supra note 1222; Khashoggi Case: All Previous Updates, Al Jazeera, (Nov. 22, 2018,),
https://www.aljazeera.com/news/2018/10/khashoggi-case-previous-updates-
181017132822079.html.
26
  Kareem Fahim, Twitter Suspends Account of Former Top Saudi Aide Implicated in Khashoggi
Killing, Wash. Post (Sept. 20, 2019), https://www.washingtonpost.com/world/twitter-suspends-
account-of-former-top-saudi-aide-implicated-in-khashoggi-killing/2019/09/20/9d35d96c-db8e-
11e9-a1a5-162b8a9c9ca2_story.html; David Hearst, Saudi Palace Coup: The Sequel, HuffPost
(Apr.         26,        2017),          https://www.huffpost.com/entry/saudi-palace-coup-the-
sequel_b_5900874ae4b00acb75f18347.
                                                24
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enforcers.     Defendant Alqahtani has orchestrated and directed online influence operations,

disinformation campaigns in the United States, and suppression and intimidation campaigns on

behalf of Defendant bin Salman. He also worked closely with Defendant bin Salman to create a

personal team of killers that later became known as the “Tiger Squad.” Through that team,

Defendant Alqahtani has carried out the personal objectives of Defendant bin Salman. Defendant

Alqahtani has directed and personally participated in numerous Tiger Squad operations involving

kidnapping, torture, and murder of individuals outside of the Kingdom of Saudi Arabia who were

deemed a personal threat or merely distasteful to Defendant bin Salman. Defendant bin Salman

placed Defendant Alqahtani in charge of the Tiger Squad, and relied on Defendant Alqahtani “to

accomplish sensitive, aggressive tasks.”27

         50.     Dr. Saad has personal knowledge from his time working alongside Defendant bin

Salman in the Saudi government that Defendant Alqahtani had worked in close cooperation with

Defendant bin Salman to carry out his every wish. Indeed, in 2017, Defendant bin Salman sent

Dr. Saad a text message stating that “Saud Alqahtani helped me a lot in the past and now [he] is

working night and day” for Defendant bin Salman.28

         45.51. Defendant Alqahtani played a supervisory role in the attempted extrajudicial killing

of Dr. Saad and was involved in overseeing the members of the Tiger Squad who were dispatched




27
   Bradley Hope & Justin Scheck, “This Plane Is Not Going to Land in Cairo”: Saudi Prince
Sultan Boarded a Flight in Paris. Then, He Disappeared, Vanity Fair (Aug. 25, 2020),
https://www.vanityfair.com/news/2020/08/how-saudi-prince-sultan-disappeared.
28
     WhatsApp message from Defendant bin Salman to Dr. Saad (Aug. 4, 2017).
                                                 25
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to kill Dr. Saad. Through his supervision, Defendant Alqahtani sought to carry out Defendant bin

Salman’s goal of eliminating a key partner to the U.S. Intelligence Community.

       46.52. Like Defendant Alasaker, overseeing the attempted extrajudicial killing of Dr. Saad

was not Defendant Alqahtani’s first foray into the use of torture and extrajudicial killing. He had

demonstrated his willingness and ability to oversee a brutal extrajudicial killing at Defendant bin

Salman’s behest through his role in the Khashoggi murder less than two weeks before the Tiger

Squad Defendants were sent to kill Dr. Saad. According to the U.S. Department of Treasury Office

of Foreign Assets Control (“OFAC”) and the government of the United Kingdom, Defendant

Alqahtani participated in the planning and execution of the operation that led to Khashoggi’s

killing,29 and, in fact, supervised the murder in real time over Skype. 30 Defendant Alqahtani was

indicted by the Istanbul Chief Prosecutor’s Office for his involvement in the killing. At a hearing

in the Turkish proceedings, testimony revealed that Defendant Alqahtani had threatened

Khashoggi and his family prior to the killing. 31




29
   Press Release, U.S. Dep’t of the Treasury, Treasury Sanctions 17 Individuals for Their Roles in
the Killing of Jamal Khashoggi (Nov. 15, 2018), https://home.treasury.gov/news/press-
releases/sm547; UK Sanctions Saudis, Russians Under New Magnitsky Powers, Al Jazeera, (July
6, 2020,), https://www.aljazeera.com/ajimpact/uk-sanctions-saudis-russians-magnitsky-powers-
200706165359282.html.
30
   How the Man Behind Khashoggi Murder Ran the Killing Via Skype, Reuters, (Oct. 22, 2018,),
https://www.reuters.com/article/us-saudi-khashoggi-adviser-insight/how-the-man-behind-
khashoggi-murder-ran-the-killing-via-skype-idUSKCN1MW2HA.
31
   Friend Says Khashoggi ‘Threatened’ By Saudi Official Before Death, News18 (Nov. 25, 2020),
https://www.news18.com/news/world/friend-says-khashoggi-threatened-by-saudi-official-
before-death-3113855.html [hereinafter Friend Says Khashoggi ‘Threatened’].

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         47.    On information and belief, Defendant Alqahtani served as a member of the board

of directors of the MiSK Foundation, which, as described further herein, Defendants bin Salman

and Alasaker used to recruit covert agents to hunt Dr. Saad in the United States.

         53.    On information and belief, beforeIndeed, as one of Defendant bin Salman’s chief

enforcers, Defendant Alqahtani has played a role in nearly every extrajudicial operation directed

by Defendant bin Salman since at least September 2015 involving kidnapping, torture, rape, and

extrajudicial killing.32 For example, Defendant Alqahtani and a team of enforcers—the newly

created group of bin Salman’s personal mercenaries called the “Tiger Squad”—kidnapped a Saudi

prince who had accused Defendant bin Salman of corruption along with U.S. citizens who worked

for the prince.33 Identifying himself to his victims as “Captain Saud,” Defendant Alqahtani posed

as the pilot of a private jet sent by Defendant bin Salman that the prince expected to take him to

Cairo—instead, Defendant Alqahtani and the rest of the Tiger Squad rendered the prince and at

least three U.S. citizens back to Saudi Arabia, where Defendant Alqahtani tortured him. 34

         54.    In 2017, Defendant Alqahtani aided Defendant bin Salman by detaining royal



32
   See, e.g., Hope & Scheck, supra note 26 (Defendant Alqahtani was directly involved in 2016
flight that abducted Prince Sultan bin Turki II from France); Nina dos Santos & Michael Kaplan,
Jamal Khashoggi’s Private WhatsApp Messages May Offer New Clues to Killing, CNN (Dec. 4,
2018),         https://www.cnn.com/2018/12/02/middleeast/jamal-khashoggi-whatsapp-messages-
intl/index.html (text messages indicating that Defendant Alqahtani was directly involved with the
efforts to rendition Omar Abdulaziz from Canada to Saudi Arabia); Friend Says Khashoggi
‘Threatened’, supra note 30 (Defendant Alqahtani was directly involved in the murder of
Khashoggi).
33
     Hope & Scheck, supra note 26.
34
    See Reda El Mawy, Saudi Arabia’s Missing Princes, BBC (Aug. 16, 2017),
https://www.bbc.com/news/magazine-40926963.

                                                27
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family members, government ministers, and prominent members of Saudi Arabia’s business and

media elite—all allegedly due to unspecified allegations of “corruption.” 35 Defendant Alqahtani

organized and oversaw interrogations of the detainees, including the physical and psychological

torture and abuse of Dr. Saad’s son-in-law, Salem Almuzaini, in September 2017 to January 2018.

       55.     More recently, as Defendant bin Salman’s “right-hand man” carrying out his orders,

Defendant Alqahtani also oversaw the detention, abuse, and torture of six women’s rights activists,

including Loujain Alhathloul.36 Defendant Alqahtani is reported to have told Ms. Alhathloul while

she was being tortured: “I’ll do whatever I like to you, and then I’ll dissolve you and flush you

down the toilet!”37 An opinion rendered by the United Nations Working Group on Arbitrary

Detention reported that Ms. Alhathloul “was interrogated and tortured by officials, who subjected

her to electric shocks, flogging, waterboarding, and threats of rape and sexual assault.” 38 In

addition to serving as one of Defendant bin Salman’s chief enforcers, Defendant Alqahtani has




35
  See Dan De Luce et al, How a Saudi Royal Crushed his Rivals in a ‘Shakedown’ at the Ritz-
Carlton, NBC News (Nov. 3, 2018), https://www.nbcnews.com/news/mideast/how-saudi-royal-
crushed-his-rivals-shakedown-ritz-carlton-n930396 (“[A] top adviser to the crown prince named
Saud Al Qahtani ‘bragged . . . that they slapped and hung some detainees upside down.’”).
36
   Richard Spencer, Saudi Terror Court Jails Women’s Driving Pioneer, Times (Dec. 29, 2020),
https://www.thetimes.co.uk/article/saudi-women-driving-activist-loujain-al-hathloul-jailed-on-
terrorism-charges-gdvsn0sg2.
37
  ALQST Confirms New Details of Torture of Saudi Women Activists As British MPs Seek Access
To Prisons To Investigate, ALQST (Jan. 3, 2019), https://alqst.org/en/confirms-new-details-of-
torture-of-saudi-women-activists-as-british-mps-seek-access-to-prisons-to-investigate.
38
  Loujain al-Hathloul v. Kingdom of Saudi Arabia, ¶ 9, U.N. Doc. A/HRC/WGAD/2020/33 (June
25,                                                                                2020),
https://www.ohchr.org/Documents/Issues/Detention/Opinions/Session87/A_HRC_WGAD_2020
_33_Advance%20Edited%20Version.pdf.

                                                28
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served as Defendant bin Salman’s chief propagandist. Defendant Alqahtani has orchestrated—

under Defendant bin Salman’s orders—massive and ongoing online disinformation campaigns

against anyone posing a threat to Defendant bin Salman’s power, including Dr. Saad, often with

the goal of improving Defendant bin Salman’s relationship and image with the U.S. government.

Such campaigns were coordinated in conjunction with direct, brutal actions by Defendant bin

Salman’s agents, such as the extrajudicial killing of Jamal Khashoggi.

       48.56. Before his Twitter account was permanently disabled for violations of Twitter’s

“platform manipulation policies,”39 Defendant Alqahtani published a tweet stating explicitly that

all of his actions and activities—presumably including extrajudicial killing—are carried out at the

direction of Defendant bin Salman: “Do you think I’m acting on my own whim? I am a civil

servant and a faithful executioner of the orders of the King and the Crown Prince.” 40

       49.57. In furtherance of Defendant bin Salman’s propaganda machine, Defendant

Alqahtani has engaged several Washington, D.C.-based public relations firms in connection with

lobbying activities in the United States. For example, Defendant Alqahtani engaged one firm in

this District in or around March 2016 to communicate information about the Royal Court to

“relevant US audiences”41 and another firm in this District in or around September 2016 for


39
   Hadas Gold, Twitter Suspends Account of Former Adviser to Saudi Arabia’s Crown Prince,
CNN, (Sept. 20, 2019,), https://www.cnn.com/2019/09/20/tech/twitter-suspends-accounts-saudi-
al-qahtani/index.html.
40
    See Transcript, The Crown Prince of Saudi Arabia, FRONTLINE, (Oct. 1, 2019),
https://www.pbs.org/wgbh/frontline/film/the-crown-prince-of-saudi-arabia/transcript/ (translation
from original Arabic language tweet as reflected in PBS documentary).
41
   Exhibit A to Registration Statement Pursuant to the Foreign Agents Registration Act of 1938,
as amended, of BGR Government Affairs, at 4 (Mar. 15, 2016).

                                                29
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“advice and advocacy on foreign policy and related issues in the U.S. Government.” 42 Defendant

Alqahtani personally signed agreements with these U.S. lobbying firms, all located in the District

of Columbia.

         58.   Defendant Alqahtani served as a member of the board of directors of Defendant

MiSK.43 As described further herein, Defendant MiSK—acting as an alter ego of Defendants bin

Salman and Alasaker—was reportedly removed from his role as an advisor to Defendant bin

Salman onused to deploy covert agents to hunt Dr. Saad in the United States. Defendants bin

Salman, Alqahtani, and Alasaker have also used Defendant MiSK to recruit and cultivate a

network of foreign and U.S.-based agents to attack critics of Defendant bin Salman on social

media.

         50.59. On October 20, 2018—the same day the Saudi Ministry of Foreign Affairs

acknowledged for the first time its responsibility for thethat Jamal Khashoggi murderhad been

killed in a Saudi consulate—Saudi state media reported that Defendant Alqahtani had been

removed from his role as an advisor to Defendant bin Salman.44 Nevertheless, Defendant bin

Salman has continued to employ him; indeed, Defendant Alqahtani maintains a leadership role in




42
   Exhibit A to Registration Statement Pursuant to the Foreign Agents Registration Act of 1938,
as amended, of Squire Patton Boggs (US) LLP, at 4 (Sept. 20, 2016).
43
    FaceOf: Saud Al-Qahtani, Saudi Royal Court Advisor, Arab News (June 23, 2018),
https://www.arabnews.com/node/1326371/saudi-arabia.
44
   Who Is Saud al-Qahtani, the Fired Saudi Royal Court Adviser?, Al Jazeera (Oct. 20, 2018),
https://www.aljazeera.com/news/2018/10/saud-al-qahtani-fired-saudi-royal-court-adviser-
181020125449478.html.

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commanding Tiger Squad operations and conducting online disinformation campaigns against Dr.

Saad.45

           60.   On November 15, 2018, the U.S. Office of Foreign Assets Control designated

Defendant Alqahtani under Executive Order 13818, which “target[s] perpetrators of serious human

rights abuse and corruption.46 Defendant Alqahtani’s designation was based on his role in the

killing of Khashoggi.47

           61.   Similarly, on April 8, 2019, the U.S. Department of State designated Defendant

Alqahtani under Section 7031(c) of the Department of State, Foreign Operations, and Related

Programs Appropriations Act of 2019, based on his role in the Khashoggi killing. 48 This Section




45
   Who Is Saud al-Qahtani, the Fired Saudi Royal Court Adviser?, Al Jazeera, Oct. 20, 2018,
https://www.aljazeera.com/news/2018/10/saud-al-qahtani-fired-saudi-royal-court-adviser-
181020125449478.html. Jared Malsin & Sarah E. Needleman, Twitter Suspends Former Saudi
Official Linked to Crackdown, Khashoggi Killing, Wall St. J. (Sept. 20, 2019),
https://www.wsj.com/articles/twitter-suspends-former-saudi-official-linked-to-crackdown-
khashoggi-killing-11568999068; Saudi Arabia: Arab Media: Murderer of Khashoggi Returns to
Power         Again,       Thai        News        Service        (Dec.         17,      2020),
https://advance.lexis.com/document?crid=0782c618-ee06-41bb-8cfd-
310bed2640f5&pddocfullpath=%2Fshared%2Fdocument%2Fnews%2Furn%3AcontentItem%3
A61HY-SJM1-DXMS-81HX-00000-
00&pdsourcegroupingtype=G&pdcontentcomponentid=404625&pdmfid=1000516&pdisurlapi=t
rue.
46
   Press Release, Treasury Dep’t, Treasury Sanctions 17 Individuals for Their Roles in the Killing
of Jamal Khashoggi (Nov. 15, 2018), https://home.treasury.gov/news/press-releases/sm547.
47
     Id.
48
  Media Note, Dep’t of State, Public Designation of Sixteen Saudi Individuals Under Section
7031(c) of the FY 2019 Department of State, Foreign Operations, and Related Programs
Appropriations Act (Apr. 8, 2019), https://2017-2021.state.gov/public-designation-of-sixteen-
saudi-individuals-under-section-7031c-of-the-fy-2018-department-of-state-foreign-operations-
and-related-programs-appropriations-act/index.html.

                                               31
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is reserved for cases in which “the Secretary of State has credible information that officials of

foreign governments have been involved in significant corruption or gross violations of human

rights.”49 As a result of such designation, Defendant Alqahtani is ineligible for entry into the

United States.50

Ahmed Alassiri

           51.62. Defendant Ahmed Alassiri (“Defendant Alassiri”) is a Saudi national who served

as the Deputy Intelligence Chief for Saudi Arabia’s principal intelligence agency, the General

Intelligence Presidency, from approximately April 2017 to on or around October 19, 2018. He is

a close personal confidant and advisor to Defendant bin Salman.

           52.63. On information and belief, Defendant Alassiri played a supervisory role in the

attempted extrajudicial killing of Dr. Saad and was involved in overseeing the members of the

Tiger Squad who traveled to Canada to kill Dr. Saad. Through his supervision, Defendant Alassiri

sought to carry out Defendant bin Salman’s goal of eliminating a key partner to the U.S.

Intelligence Community.

           53.64. Like Defendants Alasaker and Alqahtani, Defendant Alassiri had previously

supervised and directed the Tiger Squad in carrying out other covert extrajudicial killings of

Defendant bin Salman’s targets, including Khashoggi.




49
     Id.
50
     Id.

                                                32
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       65.      According to the government of the United Kingdom, Defendant Alassiri “was a

senior official involved in commissioning the 15 man team sent to Turkey to kill Jamal

Khashoggi.”51

       54.66. On or around October 19, 2018, Defendant Alassiri was reportedly terminated in

his role as the Saudi Deputy Intelligence Chief, apparently in an effort to divert blame from

Defendant bin Salman for the Khashoggi killing. 52

       67.      In addition to overseeing the Tiger Squad, Defendant Alassiri has coordinated

operational efforts in the United States and made trips to Washington, D.C. on several occasions,

including in May 2016, March 2017, and March 2018, in connection with the same. 53 On

information and belief, Defendant Mohammed Alhamed—while purportedly a student in

Massachusetts—provided support to Defendant Alassiri during his visits to the United States.




51
   Consolidated List of Financial Sanctions Targets in the UK, Office of Fin. Sanctions
Implementation HM Treasury, last updated Dec. 31, 2020, https://assets.publishing.
service.gov.uk/government/uploads/system/uploads/attachment_data/file/948948/Global_Human
_Rights.pdf.
52
   Who Is Ahmed al-Asiri, the Sacked Saudi Intelligence Official?, Al Jazeera, (Oct. 20, 2018,),
https://www.aljazeera.com/news/2018/10/ahmed-al-asiri-sacked-saudi-intelligence-chief-
181019235211120.html.
53
   Tom Hamburger et al., Inside the Saudis’ Washington Influence Machine: How the Kingdom
Gained Power Through Fierce Lobbying and Charm Offensives, Wash. Post (Oct. 21, 2018),
https://www.washingtonpost.com/politics/inside-the-saudis-washington-influence-machine-how-
the-kingdom-gained-power-through-fierce-lobbying-and-charm-
offensives/2018/10/21/8a0a3320-d3c3-11e8-a275-81c671a50422_story.html (Defendant Alassiri
visited Washington, D.C. in May 2016).

                                               33
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MiSK Foundation

       55.68. Defendant Prince Mohammed Bin Salman bin Abdulaziz Foundation, also known

as the MiSK Foundation (“Defendant MiSK”), holds itself out as a non-profit foundation founded

by Defendant bin Salman in his personal capacity. Defendant Alasaker is the Secretary-General

(or Executive Director) of the MiSK FoundationDefendant MiSK. Defendant bin Salman serves

as the Chairman of the Board of Directors.

       69.     Defendant MiSK is controlled and dominated by, and is a mere instrumentality of,

Defendants bin Salman and Alasaker. Indeed, Defendant bin Salman uses Defendant MiSK when

he seeks to pursue personal objectives and does not wish to use official Saudi government

channels.    The government of Saudi Arabia has recognized Defendant MiSK as a “non-

government organization.”54

       70.     Defendant bin Salman is personally responsible for substantially funding

Defendant MiSK’s operations.      He has personally contributed 4.4 billion Saudi riyals—

approximately $1.17 billion USD—to Defendant MiSK since 2011. 55 Some of that funding has

been used to finance covert operations inside the United States. For example, Defendant MiSK

financed a shell company, Sama’at, which was used as part of a criminal scheme to recruit




54
   Press Release, Embassy of the Kingdom of Saudi Arabia, MiSK Foundation and the United
Nations Sign Strategic Agreement to Support Young People Around the World (Sept. 26, 2018),
https://www.saudiembassy.net/news/misk-foundation-and-united-nations-sign-strategic-
agreement-support-young-people-around-world.
55
  Press Release, MiSK Foundation, The Mohammed bin Salman Foundation (MiSK Foundation)
Announces Strategic Investment of around SAR 813 Million ($US 216.5 Million) in Japanese
Gaming Company SNK (Nov. 26, 2020), https://bit.ly/3jkddlt.

                                              34
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employees of Twitter inside the United States to spy on and obtain personal information about

Defendant bin Salman’s critics. See infra ¶ 45 & n.20.

          56.71. Defendant MiSK describes its mission as “cultivat[ing] and encourag[ing] learning

and leadership in youth for a better future in Saudi Arabia.” 56 In reality, upon information and

belief,Defendant MiSK has served and continues to serve as a front for Defendant bin Salman and

Defendant Alasaker’s initiatives to cultivatethat depend on a network of agents willing to carry

out sensitive intelligence and influence operations, including the hunting of Dr. Saad in the United

States.

          57.    For example, on information and belief, Defendant MiSK employed Defendant

Youssef Alrajhi and Defendant Layla Abuljadayel, each of whom were involved in the hunt for

Dr. Saad in the United States prior to the Tiger Squad’s October 2018 travel to Canada. Further,

on information and belief, Defendants Mohammed Alhamed and Abuljadayel were tapped as

covert agents to hunt Dr. Saad after they participated in a “leadership preparation” program for

students organized by MiSK in Boston, Massachusetts, in 2016 and 2017.

          58.72. Defendant MiSK has carried out extensive activities in the United States. As

described more fully below, it routinely hosts events in the United States designed to recruit and

cultivate operatives who can pursue Defendant bin Salman’s objectives. These events also serve

to legitimize Defendant MiSK and ensure that it avoids serious scrutiny. 57


56
  About MiSK, MiSK Found., https://misk.org.sa/en/about-misk/ (last visited July 12, 2020Feb. 4,
2021).
57
   Grif Peterson & Yarden Katz, Elite Universities Are Selling Themselves – and Look Who’s
Buying,               Guardian                 (Mar.               30,                 2018),
https://www.theguardian.com/commentisfree/2018/mar/30/elite-universities-selling-themselves-

                                                 35
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       73.     Defendant MiSK’s activities in the United States were significantly curtailed after

the killing of Jamal Khashoggi—indeed, several U.S. organizations ended their partnerships with

Defendant MiSK as a result.58 Nevertheless, Defendant MiSK has continued to operate a remote

internship program in the United States that placed Saudi students at U.S.-based organizations as

recently as fall 2020.59

       74.     As described in more detail herein, Defendant MiSK serves as the focal point of

Defendant bin Salman’s effort to cultivate and control a network of student operatives to carry out

Defendant bin Salman’s personal objectives in the United States. On information and belief,

Defendant MiSK compensated Defendant Youssef Alrajhi (“Defendant Alrajhi”) and Defendant

Layla Abuljadayel (“Defendant Abuljadayel”), each of whom were involved in the hunt for Dr.

Saad in the United States prior to the Tiger Squad’s October 2018 travel to Canada. Defendants

Alrajhi, Abuljadayel, and Mohammed Alhamed (“Defendant Alhamed”) were each early and

active participants in MiSK programming.        Defendant Alrajhi participated in a “leadership

preparation” program for students organized by MiSK in Boston, Massachusetts in 2015, believed




mit-harvard-saudi-arabia-mohammed-bin-salman (observing that Defendant MiSK’s partnership
with universities, including the Massachusetts Institute of Technology, “normalises MiSK – which
seeks to extend Bin Salman’s reach over educational affairs in Saudi Arabia – by lending it
credibility and a veneer of tech ‘innovation.’”)
58
  Karen Attiah, Opinion: American Institutions Should Withdraw from the Saudi Crown Prince’s
Charity Foundation, Wash. Post (Nov. 10, 2018), https://www.washingtonpost.com/news/global-
opinions/wp/2018/11/10/american-institutions-should-withdraw-from-the-saudi-crown-princes-
charity-foundation/.
59
    About Remote Consulting Internships, MiSK Foundation (last visited Feb. 3, 2021),
https://misk.org.sa/hcd/services/capital-placement/.

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to be the first program by Defendant MiSK for university students in the United States. Defendants

Abuljadayel and Alhamed attended this program in 2016 and 2017, respectively. 60

       75.     On information and belief, Defendant MiSK provides funding and support to Saudi

student groups in the United States via SACM, with which Defendant MiSK entered into a

cooperation agreement in 2018 at Defendant bin Salman’s direction. 61 Defendant Alasaker

executed this agreement on behalf of Defendant MiSk.

U.S.-Based Covert Agent Defendants


       76.     Acting atAs part of the direction of attempted extrajudicial killing, Defendant bin

Salman and relying largely on Defendant MiSK Foundation as a front, Defendant Alasaker

recruited and organized a network of enlisted several agents in the United States and deployed

these individuals (the “U.S.-Based Covert Agent Defendants”), identified in the paragraphs that

immediately follow,”) to carry out an extended, cross-border hunt down and locate for Dr. Saad

and his in the United States, where Defendant bin Salman believed Dr. Saad to be residing.




60
    See Layla Abuljadayel ‫@( ليلىابوالجدايل‬drlaylaaj), Twitter (July 30, 2016, 11:41 PM),
https://twitter.com/drlaylaaj/status/759594914590187520;   Layla    Abuljadayel  ‫ليلىابوالجدايل‬
(@drlaylaaj),          Twitter          (July      30,       2016,        11:49        PM),
https://twitter.com/drlaylaaj/status/759596918196625408;   Layla    Abuljadayel  ‫ليلىابوالجدايل‬
(@drlaylaaj),          Twitter          (Aug.       5,       2017,        12:34       AM),
https://twitter.com/drlaylaaj/status/893691749759164416;        Mohammed          Alhamed
(@M7Alhamed),             Twitter          (Sept.      16,     2017,       1:53       AM),
https://twitter.com/M7Alhamed/status/908931807760011264.
61
    Misk Foundation | ‫@( مسك الخيرية‬MiskKSA), Twitter (Apr. 10, 2018, 6:44 AM),
https://twitter.com/MiskKSA/status/983657083055853568 (Defendant Alasaker, on behalf of
Defendant MiSK, posing with a representative from SACM after signing a cooperation agreement
between the two entities); MiSK and SACM Joint Agreement, supra note 17.

                                               37
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       77.     Central to this hunt were three operatives who interrogated close friends and

family—ultimately members of Dr. Saad in the United States in and around the fall of 2017 in an

effort to locate and obtain valuable information about Dr. Saad’s “pattern-of-life.” 62 These

operatives, described in more detail below, were able to operate in the United States by virtue of

their status as students at universities in the United States, including in the District of Columbia.

In return for their agreement to carry out these and other sensitive operations on behalf of

Defendant bin Salman in the United States, the operatives were handsomely rewarded with access

to powerful individuals, the ability to travel, and other freedoms and professional opportunities far

beyond those typically afforded to Saudi students in the United States, whose behavior is closely

monitored and controlled.

       59.78. Saudi students in the United States are required to show fealty to Defendant bin

Salman, who in turn has the ability to deploy them in furtherance of his extrajudicial killing—in

and around September 2017.63personal objectives. For example, four days after Defendant bin

Salman’s coup, Defendant Alrajhi—then a graduate student at Howard University—signed a




62
   Pattern-of-life surveillance is a method of gathering facts about an operational target’s frequent
locations and activities through visual and online observation. Nina Franz, Targeted Killing and
Pattern-of-Life Analysis: Weaponized Media, 2017 Media, Culture & Soc’y 39(1), 111, 114–15
(2017) (describing pattern-of-life surveillance in the context of a drone-strike program based on
military testimony). Pattern-of-life surveillance allows an operation, such as an extrajudicial
killing, to be carried out by exploiting a target’s predictable activities. Id.
63
  As discussed in more detail above and below, in doing so, Defendants bin Salman and Alasaker
were following a familiar pattern of reaching across borders into the United States to deploy covert
agents with the aim of removing or suppressing purported critics. See supra ¶ 42; infra note 86.
Indeed, Defendants bin Salman and Alasaker orchestrated a similar scheme—one that is now the
subject of a criminal indictment—in 2015. See infra note 86.

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pledge of allegiance to Defendant bin Salman at the Saudi Embassy in Washington, D.C. 64

Defendant Abuljadayel posted a tweet with “#PledgeAllegiance” and a photo of Defendant bin

Salman.65 If a student does not obey Defendant bin Salman, he will face consequences. For

example, one student in the United States had his student allowance “paused” because he made

online comments viewed as “disruptive to the rulers,” with the matter referred to the Crown Prince

for a final decision.

        79.     When Defendant bin Salman wanted to pursue a personal mission in the United

States in 2017, he turned to his top deputy, Defendant Bader Alasaker—head of Defendant bin

Salman’s private office and personal foundation, Defendant MiSK. Defendant Alasaker then

utilized Defendant bin Salman’s personal foundation, Defendant MiSK, as a cover to pursue

Defendant bin Salman’s objectives in the United States. Through Defendant MiSK, Defendants

bin Salman and Alasaker were able to cultivate and consolidate control over a network of deeply

loyal and trusted Saudi students in the United States, all the while maintaining an air of legitimacy

that prevented serious scrutiny of their operations.

        80.     Defendant MiSK (which was itself funded personally by Defendant bin Salman)

served as a key source of funding and support for the Fairfax, Virginia-based SACM, which in

turn directly oversaw an array of Saudi “student clubs” across the United States. This arrangement




64
     Youssef Alrajhi (@YousefAlrajhi1), Twitter (June                  25,   2017,    12:50    PM),
https://twitter.com/YousefAlrajhi1/status/879019014139375617.
65
    Layla Abuljadayel ‫@( ليلى ابوالجدايل‬drlaylaaj), Twitter (June 20, 2017, 11:39 PM),
https://twitter.com/drlaylaaj/status/877370402481352704 (translation from original Arabic
language tweet).

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between Defendant MiSK and SACM was memorialized in a 2018 cooperation agreement,

directed by Defendant bin Salman and signed by Defendant Alasaker on behalf of MiSK and then-

Saudi Cultural Attaché Mohammed Alessa for SACM.66 Thus, while SACM and Mr. Alessa

nominally supervised the activities of Saudi students in the United States, in fact Defendants

Alasaker and bin Salman pulled the strings where it really mattered.

          81.   In calling on the U.S.-based operatives to pursue his personal vendettas, Defendants

bin Salman and Alasaker—through the fronts of Defendant MiSK, SACM, and associated Saudi

student groups—were drawing upon a well-established and deliberately cultivated network of elite

Saudi students in the United States, who rely on the Saudi government for educational funding and

whose conduct in the United States is subject to Orwellian scrutiny. In this case, this strategy

involved leveraging both private and government resources, which were available to Defendant

bin Salman by virtue of his role as a royal, in furtherance of a private objective—namely, the

elimination of Dr. Saad, a perceived obstacle to Defendant bin Salman’s objectives in the United

States.

          82.   Saudi students in the United States have reported that their student clubs are “under

complete control of the embassy,” and that every Saudi student organization has “one or two spies”

charged with reporting on “everything that happened” and “everything that was said.” 67 They are


66
    Misk Foundation | ‫@( مسك الخيرية‬MiskKSA), Twitter (Apr. 10, 2018, 6:44 AM),
https://twitter.com/MiskKSA/status/983657083055853568; see also Press Release, MiSK
Foundation, Misk and MOE Signed Agreement to Send 100 Students to Top International
Universities (Oct. 24, 2017), https://misk.org.sa/hcd/misk-moe-signed-agreement-send-100-
students-top-international-universities/.
67
  Quran, supra note 4. Although several of the students quoted by PBS requested to remain
anonymous “for fear of reprisal,” examples of this type of surveillance of Saudi students abound.

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“not allowed to speak freely,” “too scared to have an opinion[] even in [their] own hangouts.” 68

Every move requires permission—whether they are “reading books or playing soccer” or

organizing a conference.69 Political and religious discussions are prohibited, as is communication

with the media.70

           83.   The draconian consequences of noncompliance with this regime are well-known:

“passport freezes, death threats, intimidation, retraction of scholarships, and attempts to lure [Saudi

students] back to the country.”71

           84.   Defendants bin Salman and Alasaker also maintain a tight grip on their network in

the United States by ensuring that students who arrive in the United States know that, if law

enforcement engages them for any reason whatsoever, they are to immediately report the

interaction to Saudi officials.72 Upon doing so, such students are often sent back to the Kingdom.


For instance, when dissident Omar Abdulaziz was a student in Canada in 2017 and 2018, his
roommate was instructed to regularly report every single detail about Abdulaziz’s political
activities to an official in the Saudi Arabian Cultural Bureau (the analogue in Canada of SACM).
The roommate was threatened if he did not cooperate. These efforts were part and parcel of a larger
effort by Defendant bin Salman and his agents to lure Abdulaziz to a Saudi embassy and ultimately
to silence him. See infra ¶ 232.
68
     Id.
69
     Id.
70
     Id.
71
     Id.
72
   See Sebastian Rotella & Tim Golden, Saudi Fugitives Accused of Serious Crimes Get Help to
Flee While U.S. Officials Look the Other Way, ProPublica (Apr. 26, 2019),
https://www.propublica.org/article/saudi-fugitives-accused-of-serious-crimes-get-help-to-flee-
while-u-s-officials-look-the-other-way (“A list of rules for Saudi students abroad, published by the
Cultural Mission in 2017, forbids any political or religious discussions or any interviews with local
news media. The students are also instructed that if they get into any trouble, or witness another
Saudi student doing so, they must contact the Cultural Mission or one of the students who act as
its semiofficial representatives on many college campuses.”).
                                                  41
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       85.     Defendant bin Salman’s activation of this tightly controlled network in connection

with the attempted extrajudicial killing of Dr. Saad reveals its purpose: to foster a sophisticated,

unofficial network of clandestine operatives in the United States that evades serious scrutiny and

is optimally positioned to advance Defendant bin Salman’s personal objectives. Indeed, by tasking

Defendants Alrajhi, Alhamed, and Albuljadayel with hunting Dr. Saad in the United States,

Defendants bin Salman and Alasaker were able to further their aims without relying on official

government instrumentalities and while taking cover under the apparent legitimacy of MiSK,

SACM, and other student groups of which these Defendants were an active part.

       86.     On information and belief, like other Saudi students in the United States,

Defendants Alrajhi, Alhamed, and Albuljadayel were subject to Defendants bin Salman’s and

Alasaker’s ultimate control and authority.       Unlike other students, however, who required

permission even to participate in mundane campus activities, these students were afforded special

benefits, illustrating both that they were trusted and that their loyalty was rewarded. As reflected

in the graphic below, Defendants Alrajhi, Alhamed, and Abuljadayel regularly rubbed shoulders

with key figures, including Defendant Alasaker and Mr. Alessa. Further, they had extensive

involvement in MiSK programming dating back to 2016, including taking on paid positions and

attending major conferences. They were invited to participate in exclusive events with important

officials—indeed, Defendants Alrajhi and Alhamed were selected to speak at a retirement event

held for Mr. Alessa in late 2019.73 They were also handed leadership positions in other student



73
   Rabi al-Awwal, American Emissaries Bid Farewell to Their Cultural Attaché with Hashtag,
“Thank you Muhammed Alessa,” Ajel (Nov. 13, 2019), https://ajel.sa/r5Kzmp (translation from
original Arabic language).
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and public-relations organizations controlled by Defendant bin Salman and that were established

to further Defendant bin Salman’s objectives.        Indeed, as discussed in more detail below,

Defendants Alhamed and Abuljadayel held leadership positions at organizations including a Saudi

student group called Emissary or “Mbt3th,” the Saudi American Public Relation Affairs

Committee (“SAPRAC”), and Saudi Elite, which holds itself out as a youth advocacy group aimed

at promoting Defendant bin Salman’s vision. Further, they gave media interviews about these

roles and organizations,74 notwithstanding the broad restrictions on Saudi students’ speech and the

SACM policy prohibiting communications with the media. 75           In short, Defendants Alrajhi,

Alhamed, and Abuljadayel were tapped to assist with Defendant bin Salman’s campaign to

extrajudicially kill Dr. Saad because they were distinctly trustworthy—and they were duly

rewarded for their loyal service.

          87.    The information that Defendants Alrajhi, Alhamed, and Abuljadayel discovered

through their collection of information on Dr. Saad in the United States furthered the hunt in

significant and concrete ways. Indeed, on information and belief, this information was passed

along to co-conspirators, including Defendants Hani Hamed (“Defendant Hamed”) and Bijad


74
  “Al-Issa” Extends Thanks to the Saudi Ambassador for Inquiring About his Health, Sabq Online
Newspaper (Apr. 11, 2015), https://sabq.org/KG3gde (professional translation on file with
Plaintiff) (article in widely-circulated Saudi publication featuring quotations from Alhamed,
Abuljadayel, and Alrajhi about visit to Mr. Alessa in hospital); D. Layla Abuljadayl: A sense of
responsibility led me to head the largest Saudi student club in America, Alriyadh (Feb. 14, 2016),
https://www.alriyadh.com/1128474 (article in widely circulated Saudi publication about
Abuljadayel and the Saudi Student Club in Boston, including testimonials from Alhamed);
Mohammed Al-Kinani, Language Initiative Connects Saudi Youth with World Cultures, Arab
News (July 25, 2020), https://www.arabnews.com/node/1709536/saudi-arabia (quoting Defendant
Alhamed about goals of Saudi Elite Group).
75
     Quran, supra note 4.
                                                43
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Alharbi (“Defendant Alharbi”), who escalated the hunt to the point of attempting to access Dr.

Saad directly in the United States (in the case of Defendant Hamed) and in fact meeting with Dr.

Saad (in the case of Defendant Alharbi). For example, after Defendant Alrajhi learned that the

Aljabri family had a residence at the Mandarin Oriental in Boston, Massachusetts—information

that was not public—Defendant Hamed surveilled that location and attempted to access Dr. Saad

there.




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       60.88. Defendant Youssef Alrajhi (“Defendant Alrajhi”) is a Saudi national who resides

in the Washington, D.C. metropolitan area. On information and belief, he is a Ph.D. candidate in

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the Microbiology Department at Howard University, located in Washington, D.C., who has

published articles on topics such as human identification using DNA evidence. 76 Acting at the

direction of Defendants bin Salman and Alasaker, Defendant Alrajhi took steps to track Dr. Saad

in the United States, including interrogating an Aljabri family friend about the location and contact

information of Dr. Saad’s wife, and subsequently traveling from Washington, D.C. to Boston,

Massachusetts to meet with Dr. Saad’s son under false pretenses to locate Dr. Saad and further

Defendant bin Salman’s effort to harm him.

          89.    Defendant Alrajhi’s affiliation with Howard University provided him with cover

to maintain a continuous presence in Washington, D.C., an ideal location to undertake this mission

for Defendant bin Salman.       Indeed, when Defendant Alrajhi met with Dr. Saad’s son, he

represented himself as an affiliate of SACM—an organization closely linked to the activities of

Saudi students in the United States—seeking to organize a medical conference.

          61.90. On information and belief, Defendant Alrajhi works or has worked for Defendant

MiSK Foundation, through which he was recruited for the effort to hunt Dr. Saad in the United

States.    He has been active in MiSK events, including participating in a MiSK-sponsored

Leadership Development Program at Harvard University from June to August 2015. 77 On

information and belief, this was the first such program that Defendant MiSK held in the United


76
  Yousef Alrajhi, Establishing Human Identification by Short Tandem Repeat (STR) and
Mitochondrial DNA (mtDNA), 4 Int’l J. of Bioinformatics & Biomedical Engineering 1, 1 (2018).
77
    Youssef Alrajhi (@Youseef ALrajhi), Facebook (July 31, 2015, 8:28 PM),
https://www.facebook.com/photo?fbid=600340843402632&set=pb.100002801647318.-
2207520000; First Saudi En (@First1Saudi_EN), Twitter (Aug. 3, 2015, 12:06 AM),
https://twitter.com/First1Saudi_EN/status/628054210936868864.

                                                 46
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States, meaning that Defendant Alrajhi was one of the very first Saudi college students selected to

participate in the programming coordinated by Defendant bin Salman’s private foundation.

Defendant Alrajhi has also attended events for the student group Emissary, in which Defendants

Alhamed and Albuljadayel held leadership positions. 78

       91.     In addition, Defendant Alrajhi is connected to and regularly retweets and replies to

other Defendants on Twitter, including other U.S.-Based Covert Agent Defendants, Defendant

Alasaker, and the MiSK Foundation. 79       He has been photographed with other Defendants,

including Defendant Alhamed, as pictured above. Moreover, shortly after Defendant bin Salman

was named Crown Prince, Defendant Alrajhi visited the Saudi Embassy in Washington, D.C. to

swear his allegiance to Defendant bin Salman. 80



78
       Mohammed       Alhamed   (@m7alhamed),              Instagram       (Mar.     30,     2014)
https://www.instagram.com/p/mK6HUILC6T/.
79
    For example, Defendant Alrajhi regularly retweets Defendant Alhamed and Defendant
Abuljadayel, including in and around the September 2017 hunt for Dr. Saad. See, e.g., Youssef
Alrajhi       (@YousefAlrajhi),        Twitter     (Oct.     7,      2017,    8:01      AM),
https://twitter.com/YousefAlrajhi1/status/916634587517849600;          Mohammed AlHamed
(@M7Alhamed),             Twitter        (Sept.      14,        2017,      11:03        AM),
https://twitter.com/M7Alhamed/status/908345550688448512 ; Layla Abuljadayel ‫ليلى ابوالجدايل‬
(@drlaylaaj),         Twitter               (Sept.       13,      2017,      8:01        PM),
https://twitter.com/drlaylaaj/status/908118495531020290;          Mohammed          AlHamed
(@M7Alhamed),             Twitter         (Aug.       22,        2017,      9:57         PM),
https://twitter.com/M7Alhamed/status/900175029962493952;            Mohammed        AlHamed
(@M7Alhamed),              Twitter        (Aug.        8,        2017,      4:20         PM),
https://twitter.com/M7Alhamed/status/895016804267028481. Defendant Alrajhi also retweeted a
flattering photograph of Defendant bin Salman with a heart emoticon on October 24, 2018, soon
after the Khashoggi killing. ‫@( سعود بن سلمان‬HRHPSAUDS), Twitter (Oct. 24, 2018, 11:41 AM),
https://twitter.com/HRHPSAUDS/status/1055122085352271872.
80
     Youssef Alrajhi (@YousefAlrajhi), Twitter (June                 25,    2017,   12:50    PM),
https://twitter.com/YousefAlrajhi1/status/879019014139375617.

                                                47
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       62.92. Defendant Alrajhi occupies a prominent role in Defendant bin Salman’s cadre of

loyal Saudi students in the United States, and his position as a trusted agent gave him exposure to

top Saudi officials. Indeed, because of his trusted status, he was selected to speak at the retirement

party held in late 2019 for Mohammed Alessa, then the head of the Fairfax, Virginia-based SACM,

and another agent deployed by Defendant bin Salman to hunt down Dr. Saad. 81 Defendant

Alhamed was also selected to speak. Defendant Alrajhi had otherwise been in repeated and close

contact with Mr. Alessa, even visiting him in his hospital bed, as pictured above. Further, in his

role as a key intelligence operative for Defendants bin Salman and Alasaker, Defendant Alrajhi

made frequent visits to the Saudi Embassy in Washington, D.C., including on June 25, 2017,

September 1, 2017, and on repeated occasions in the months after this lawsuit was filed.

       93.     Defendant Mohammed Alhamed (“Defendant Alhamed”) is a Saudi national and

the founder and president of Saudi Elite Group (“Saudi Elite”), a public relations organization

closely aligned with Defendant bin Salman. According to his LinkedIn profile, he was a student

at Lasell University in Newton, Massachusetts from 2016 to 2020.

       94.     According to witnesses, Defendant Alhamed is a central figure in U.S. influence

operations orchestrated by Defendants bin Salman and Alasaker. Defendant Alhamed maintains

relationships with senior Saudi political and intelligence figures and takes orders from Defendant

Alasaker. According to his Twitter profile, Defendant Alhamed is based in Washington, D.C. and




81
   Rabi al-Awwal, American Emissaries Bid Farewell to Their Cultural Attaché with Hashtag,
“Thank you Muhammed Alessa,” Ajel (Nov. 13, 2019) (translation from original Arabic
language).

                                                 48
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Riyadh, Saudi Arabia.82 an organization focused on promoting Defendant bin Salman’s plan for

economic and social reform that also employs Defendant Layla Abuljadayel.On information and

belief, Defendant Alhamed previously made frequent trips to Washington, D.C., which often

involved meetings at the Saudi Embassy; as of April 2020, he resides in Riyadh, Saudi Arabia.

       95.     Like Defendant Alrajhi, Defendant Alhamed was privy to sensitive information and

exposed to high-ranking Saudi officials by virtue of his status as a loyal and trusted agent of

Defendants bin Salman and Alasaker, who worked closely with Mr. Alessa when carrying out U.S.

intelligence or influence operations through the network of Saudi students. Along with Defendant

Alrajhi, Defendant Alhamed was selected to deliver a speech at the retirement party for Mr. Alessa

in late 2019.83 He also visited Mr. Alessa in the hospital with Defendant Alrajhi, as pictured above.

On information and belief, this level of access would only be afforded to someone deeply trusted.

       96.     Defendant Alhamed has played a pivotal role in organizations that lie at the center

of Defendant bin Salman’s Saudi influence campaigns in the United States. Defendant Alhamed’s

relationship with Defendants Alasaker and MiSK dates back to at least 2015. 84 Further, as noted

above, he founded Saudi Elite, an organization that holds itself out as a public relations and youth

advocacy organization focused on promoting Defendant bin Salman’s plan for economic and



82
  Mohammed AlHamed (@M7Alhamed), Twitter, https://twitter.com/M7Alhamed (last visited
July 17, 2020Feb. 3, 2021).
83
   Rabi al-Awwal, American Emissaries Bid Farewell to Their Cultural Attaché with Hashtag,
“Thank you Muhammed Alessa,” Ajel (Nov. 13, 2019), https://ajel.sa/r5Kzmp (translation from
original Arabic language).
84
     Mohammed AlHamed (@M7Alhamed), Twitter (Aug.                         1,   2015,    4:58   PM),
https://twitter.com/M7Alhamed/status/627584317862969344.

                                                 49
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social reform.85 On information and belief, Saudi Elite is a front for Defendant bin Salman’s

intelligence operations and is used to monitor Saudi student groups in the United States and to

identify individuals to carry out Defendant bin Salman’s personal objectives. Defendant bin

Salman serves as Chairman of the Board of Directors of Saudi Elite’s partner and project sponsor,

the Royal Commission of Al-Ula.86 Saudi Elite depends on partnerships with Saudi government

agencies to maintain the organization’s viability. 87 It has established relationships with several

U.S. academic institutions.

          97.    Defendant Alhamed also has close ties to the Saudi Arabian Public Relations

Affairs Commission (“SAPRAC”), a District of Columbia-based public relations firm purportedly

focused on the United States-Saudi Arabia relationship but that in fact promotes the agenda of

Defendant bin Salman. SAPRAC was founded by Salman Alansari, a close associate of Defendant

Alasaker. On information and belief, SAPRAC is substantially funded by Defendant bin Salman

and also operates as a front for Defendant bin Salman in the United States. 88 Defendant Alhamed

has served as Event Manager at SAPRAC since January 2018.



85
     Al-Kinani, supra note 72.
86
   About RCU, Royal Commission for Al Ula, https://www.rcu.gov.sa/en/about-us/about-rcu/ (last
visited July 29, 2020Feb. 3, 2021); Saudi Elite, http://saudielite.org/ (last visited July 29, 2020Feb.
3, 2021).
87
   Saudi Elite Group Organization Launches Global Language Initiative, Levant News (July
2020),             https://the-levant.com/saudi-elite-group-organization-launches-global-language-
initiative/./; Al-Kinani, supra note 72 (reporting that Defendant Alhamed stated that Saudi Elite
operates through “partnerships with several [Saudi] government agencies”).
88
   See Ali AlAhmed, Is SAPRAC a Wolf in Sheep’s Clothing?, Gulf Inst. (May 20, 2018),
https://www.gulfinstitute.org/is-saprac-a-wolf-in-sheeps-clothing/ (alleging that SAPRAC is
funded by Defendant bin Salman).

                                                  50
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          98.    Defendant Alhamed also served as Vice President of Emissary, a student group

closely linked to Saudi Elite, from approximately January 2016 through December 2019. 89

Defendant Alhamed has additionally served as “Events specialist and management consultant,”

and as “Advisor to the President,” at the Boston University Saudi Culture Club, a SACM student

club subject to the control and authority of Defendants bin Salman and Alasaker. 90

          99.    Defendant Alhamed has been widely quoted in the media and has published articles

about these roles and organizations, notwithstanding the prohibition from engaging in such

conduct that applies to ordinary Saudi students. 91 For example, on May 5, 2016 he was quoted in

the prominent Saudi publication Al Riyadh in a feature on Defendant Abuljadayel. 92 On June 8,

2018, Defendant Alhamed posted on Facebook about an article he had written for Al Ain Emirati

News.93 More recently, in July 2020, he was quoted in an Arab News article about Saudi Elite. 94


89
    Mohammed AlHamed, LinkedIn,                https://www.linkedin.com/in/mohammed-alhamed-
930279140 (last visited Feb. 3, 2021).
90
        Mohammed        Alhamed,       LinkedIn     (last      visited   Feb.     3,     2021),
https://www.linkedin.com/in/mohammed-alhamed-930279140; Mohammed Alhamed, Facebook,
About              (last             visited              Feb.             3,             2021)
https://www.facebook.com/profile.php?id=100001887977581&sk=about; see also D. Layla
Abuljadayl: A sense of responsibility led me to head the largest Saudi student club in America,
Alriyadh (Feb. 14, 2016), https://www.alriyadh.com/1128474 (describing Alhamed as a member
of the Saudi Student Club’s administrative body).
91
     Quran, supra note 4.
92
   D. Layla Abuljadayl: A Sense of Responsibility Led Me to Head the Largest Saudi Student Club
in America, Alriyadh (Feb. 14, 2016), https://www.alriyadh.com/1128474 (translation from
original Arabic language).
93
        Mohammad        Alhamed,      Facebook        (June    8,     2018,     6:03      AM),
https://www.facebook.com/photo.php?fbid=2078337848905794&set=ecnf.100001887977581&t
ype=3&theater.
94
     Al-Kinani, supra note 72.

                                                51
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       100.      Defendant Alhamed’s positions at Saudi Elite, SAPRAC, Emissary, and the Boston

University Saudi Culture Club are each in service of his work as a key U.S.-based operative to

implement taskings from Defendant bin Salman and his agents. Indeed, Defendant Alhamed acts

as a conduit between these organizations in order to optimally position him to provide intelligence

to Defendants bin Salman and Alasaker. Each of these organizations is subject to Defendant bin

Salman’s ultimate authority.

       63.101.          In his role as a key U.S.-based operative, Defendant Alhamed provided

assistance in connection with a visit by Defendant Alassiri to Washington, D.C., and has been

tasked with handling sensitive matters for Defendant bin Salman’s brother, Khalid bin Salman.

According to his Twitter profile, Defendant Alhamed is based in Washington, D.C. and Riyadh,

Saudi Arabia.95

       64.102.          Acting at the direction of Defendants bin Salman and Alasaker, Defendant

Alhamed, acting under false pretenses, sought to extract information about the whereabouts of Dr.

Saad’s wife fromthrough repeated contact with Aljabri family friends in Boston, Massachusetts.

that was coordinated with Defendant Alrajhi. Just one month earlier, Defendant Alhamed publicly

declared his loyalty to Defendant Alasaker. 96




95
  Mohammed AlHamed (@M7Alhamed), Twitter, https://twitter.com/M7Alhamed (last visited
July 17, 2020Feb. 3, 2021).
96
     Mohammed Alhamed (@M7Alhamed), Twitter (Aug. 8, 2017, 4:20 PM),
https://twitter.com/M7Alhamed/status/895016804267028481?s=20; see also Mohammed
Alhamed (@M7Alhamed), Instagram (Aug. 13, 2017), https://instagram.com/p/BXuifHVB7VX/.

                                                 52
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       65.103.        On information and belief, shortly thereafter, Defendant Alhamed was

rewarded by Defendant bin Salman with support for his organization Saudi Elite and employment

with the Saudi American Public Relation Affairs Committee.SAPRAC. 97

       66.104.        Defendant Alhamed regularly participated in MiSK events hosted by

Defendant MiSK in Washington, D.C. and Boston, Massachusetts from at least May 2015 through

September 2017, and, by 2017, he was, in his own words, “work[eding] with” aDefendant MiSK

program in 2017, through, which, upon information and belief, he was recruited provided a cover

for the hunt to locate Dr. Saad in the United Statesregular contact with Defendant Alasaker and

co-agents Defendants Alrajhi and Abuljadayel.98 Additionally, Defendant Alhamed is connected

to and regularly retweets, replies to, and mentions other Defendants on Twitter, including other

U.S.-Based Covert Agent Defendants, Defendant Alasaker, and the MiSK Foundation. 99


97
   This pattern of rewarding agents with positions in organizations affiliated with Defendant bin
Salman is consistent with the actions of Defendants bin Salman and Alasaker in the scheme to
recruit Twitter employees as agents, where they rewarded an agent, once discovered and returned
to Saudi Arabia, with a position at Defendant MiSK Foundation, identified as “Organization-1.”
Superseding Indictment ¶ 26(u), United States v. Abouammo, No. 3:19-cr-00621-EMC (N.D. Cal.
July 28, 2020), ECF No. 53.
98
       Mohammed        Alhamed       (@m7alhamed), Instagram   (Aug.     13,    2017),
http://www.instagram.com/p/BXuifHVB7VX/ (quotation professionally translated from the
original Arabic language post on Instagram).
99
   For example, from May 2017 through at least May 2020, Defendant Alhamed regularly
retweeted, mentioned, and replied to Defendant Abuljadayel. See, e.g., Mohammed AlHamed
(@M7Alhamed), Twitter (Aug. 29, 2017, 7:32 PM), https://twitter.com/M7Alhamed
M7Alhamed/status/902675299925680130; Mohammed AlHamed (@M7Alhamed), Twitter (May
20, 2017, 3:48 AM), https://twitter.com/M7Alhamed/status/865836509030731780. Defendant
Alhamed has been pictured with Defendant Abuljadayel as early as 2014. Mohammed AlHamed
(@m7alhamed), Instagram (Nov. 23, 2014), https://www.instagram.com/p/vweih4LCwN/. He
was pictured with Defendant Alrajhi at an event in Washington, D.C. in October 2016.
Mohammed         Alhamed       (@m7alhamed),       Instagram       (Oct.    23,   2016),

                                               53
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       67.       On information and belief, in January 2018, soon after Defendant Alhamed

provided assistance to Defendant bin Salman and Defendant Alasaker in the form of hunting Dr.

Saad, Defendant Alhamed was rewarded with support for his organization Saudi Elite, which

supports Defendant bin Salman’s policy agenda, and employment with the Saudi American Public

Relation Affairs Committee, a District of Columbia-based public relations firm focused on the

United States-Saudi Arabia relationship.100

       68.105.         Defendant Layla Abuljadayel (“Defendant Abuljadayel”) is a Saudi

national and a 2017 graduate of the Boston University School of Dental Medicine. On information

and belief, Defendant Abuljadayel resided in or around Boston, Massachusetts during times

relevant to the allegations contained herein. Acting at the direction of Defendants bin Salman and

Alasaker, Defendant Abuljadayel sought to extract information about the whereabouts of Dr.

Saad’s wife from Dr. Saad’s son Khalid’s wife, whom she had previously met in Boston.



https://www.instagram.com/p/BLh2lbjhrfW/. Likewise, he posted an article in September 2016,
which quoted both him and Defendant Alrajhi. Mohammed AlHamed (@M7Alhamed), Twitter
(Sept. 23, 2016, 1:59 PM), https://twitter.com/M7Alhamed/status/779379796128239616.
According to social media posts, Defendant Alhamed also met Defendant Alasaker at MiSK
Foundation events in at least August 2017 and September 2017, where Defendant Alasaker further
cultivated Defendant Alhamed for the hunt for Dr. Saad in the United States. Mohammed
AlHamed          (@M7Alhamed),        Twitter     (Sept.    18,     2017,     2:40      AM),
https://twitter.com/M7Alhamed/status/909668394743554052;           Mohammed         AlHamed
(@M7Alhamed),             Twitter        (Aug.        8,        2017,       4:20         PM),
https://twitter.com/M7Alhamed/status/895016804267028481.
100
   This pattern of rewarding agents with positions in organizations affiliated with Defendant bin
Salman is consistent with Defendants bin Salman’s and Alasaker’s actions in the scheme to recruit
Twitter employees as agents, where they rewarded an agent, once discovered and returned to Saudi
Arabia, with a position at Defendant MiSK Foundation, identified as “Organization-1.”
Superseding Indictment ¶ 26(u), United States v. Abouammo, No. 3:19-cr-00621-EMC (N.D. Cal.
July 28, 2020), ECF No. 53.

                                               54
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          106.      Notwithstanding her dental training, Defendant Abuljadayel serves as “Head of

International Communications” at Saudi Elite, the public relations organization allied with

Defendant bin Salman that is run by Defendant Alhamed. 101 On information and belief, Defendant

AbuljadayelAbuljadayel’s affiliation with Defendant MiSK dates to at least February 2016, and

she has been paid for work for the MiSK Foundation and supported its programming in the United

States, through which she was recruited for the effort to hunt Dr. Saad in the United States. 102Saad

in the United States.103 Defendant Abuljadayel also served as Assistant General Supervisor at

Emissary and as president of the Boston University Saudi Cultural Club, which was the largest

Saudi student club in the United States—both organizations in which Defendant Alhamed also

held prominent roles.104 Boston University Saudi Cultural Club was overseen by SACM, which,

as described above, was controlled by Defendants bin Salman and Alasaker.

          69.107.          Defendant Abuljadayel’s relationship with Defendants MiSK, bin Salman,

and Alasaker predates the U.S. hunt described herein; indeed, she participated in a “leadership

preparation” program for students organized by Defendant MiSK in Boston, Massachusetts, in

2016 and 2017. In July 2017, Defendant Abuljadayel publicly thanked Defendants Alasaker and




101
   Layla Abuljadayel ‫@(ليلى ابوالجدايل‬drlaylaaj), Twitter, https://twitter.com/drlaylaaj (last visited
July 29, 2020).
102
         ‫مبتعث‬     (@Mbt3thOnline),      Twitter   (Aug.    5,             2017,      4:04      AM),
https://twitter.com/Mbt3thOnline/status/893744555660627968.
103
         ‫مبتعث‬     (@Mbt3thOnline),      Twitter   (Aug.    5,             2017,      4:04      AM),
https://twitter.com/Mbt3thOnline/status/893744555660627968.
104
      Abuljadayl, supra note 90.

                                                  55
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bin Salman “for everything that MiSK has provided.” 105 Defendant Abuljadayel is connected to

and regularly retweets and replies to other Defendants on Twitter, including other U.S.-Based

Covert Agent Defendants, Defendant Alasaker, and theDefendant MiSK Foundation. .106

          108.      On information and belief, law enforcement officials investigating the conduct

alleged herein have sought to interview Defendant John Doe 1, whose exact name and identity

are, despite diligent efforts, presently unknown,Abuljadayel and her family members about her

participation in the attempt to kill Dr. Saad.

          70.109.          Defendant Hani Fakri Hamed is an individual residing in the Boston,

Massachusetts area who acted as an agent of Defendants bin Salman and Alasaker in connection

with the hunt for Dr. Saad.107 On or around November 27, 2017, after Defendant Alrajhi learned


105
     Layla Abuljadayel ‫@( ليلى ابوالجدايل‬drlaylaaj), Twitter (July 23, 2017, 9:00 PM),
https://twitter.com/drlaylaaj/status/889289115904225281.
106
    For example, Defendant Abuljadayel promoted theDefendant MiSK Foundation in at least six
separate tweets from July through November 2017, and in July 2017 she tweeted an image
thanking Defendant bin Salman and Defendant Alasaker on behalf of the students of MiSK “for
all that MiSK has provided.”. See, e.g., Layla Abuljadayel ‫@( ليلى ابوالجدايل‬drlaylaaj), Twitter
(Nov. 15, 2017, 8:52 AM), https://twitter.com/drlaylaaj/status/927171805332328448; Layla
Abuljadayel ‫ليلى ابوالجدايل‬        (@drlaylaaj), Twitter (Sept. 22, 2017, 7:25 PM),
https://twitter.com/drlaylaaj/status/911370821154885632;        Layla      Abuljadayel      ‫ليلى‬
‫ابوالجدايل‬       (@drlaylaaj),      Twitter      (Aug.      23,      2017,      4:43      AM),
https://twitter.com/drlaylaaj/status/900277411190898688; ‫@(صحيفة مبتعث‬Mbt3thOnline), Twitter
(Aug. 5, 2017, 4:04 AM), https://twitter.com/Mbt3thOnline/status/893744555660627968; Layla
Abuljadayel ‫ليلى ابوالجدايل‬        (@drlaylaaj), Twitter (July 23, 2017, 8:43 PM),
https://twitter.com/drlaylaaj/status/889284841669357568; ‫@(مبادرات مسك الخيرية‬MiSKinitiatives),
Twitter               (Aug.              4,            2017,            10:51             AM),
https://twitter.com/MiSKinitiatives/status/893665621325623301; Layla Abuljadayel ‫ليلى ابوالجدايل‬
(@drlaylaaj),           Twitter         (July        23,        2017,         9:00        PM),
https://twitter.com/drlaylaaj/status/889289115904225281. In addition, on information and belief,
Defendant Abuljadayel’s husband Abdulraheem al-Wafi has also been paid for work for the MiSK
Foundation and served as its student activity supervisor.
107
      Defendant Hamed was identified in the original Complaint as John Doe 1.
                                                  56
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that the Aljabris maintained an apartment in the Mandarin Oriental in Boston, Massachusetts,

Defendant Hamed conducted physical surveillance of a family apartment of Dr. Saad at the

Mandarin Oriental in Boston, Massachusetts in or around September 2017, the site and attempted

to access Dr. Saad’s residenceSaad there during this. At the time. John Doe 1’s of Defendant

Hamed’s surveillance effort began only after Defendant Alrajhi came to believe, as a result of his

efforts to extract information from sources in the United States (as described in paragraph 169),

that Dr. Saad lived in the Mandarin Oriental in Boston, Massachusetts . On information and belief,

the, the Mandarin Oriental was not publicly linked to Dr. Saad. The Federal Bureau of

Investigation has investigated the identity and activities of Defendant John Doe 1Hamed.

       71.110.         Defendant Bijad Alharbi (“Defendant Alharbi”) is a Saudi national and

former founding chairman of the Technology Control Company, through which he formed a

closeprofessional relationship with Mr. bin Nayef, Dr. Saad, and other officials in the Saudi

Ministry of Interior. Notably, Defendant Alharbi remained free to travel throughout 2017 and

2018 notwithstanding Defendant bin Salman’s seizure of power, even as the rest of bin Nayef’s

close associates were imprisoned.108 Using thathis longstanding close associationconnection with

Dr. Saad as cover, Defendant Alharbi—acting at the direction of Defendant bin Salman—took

steps to track Dr. Saad in the United States, including traveling to Boston, Massachusetts, to meet

with Dr. Saad’s son and extract information about Dr. Saad, and subsequently traveling to Toronto

to meet with Dr. Saad himself in order to confirm his location and convince him to travel to Turkey,



108
   Martin Chulov, How Saudi Elite Became Five Star Prisoners at the Riyadh Ritz-Carlton,
Guardian (Nov. 6, 2017), https://www.theguardian.com/world/2017/nov/06/how-saudi-elite-
became-five-star-prisoners-at-the-riyadh-ritz-carlton.
                                                57
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where he could be more easily accessed by Defendant bin SalmanSaad and a close acquaintance

to confirm Dr. Saad’s location and pattern of movements. In service of Defendant bin Salman’s

goal of locating Dr. Saad so that he could be killed, Defendant Alharbi arranged meetings with Dr.

Saad in which he sought to convince him to travel to Turkey, where he would be easier prey for

Defendant bin Salman. Through these meetings with Dr. Saad, Defendant Alharbi was able to

uncover valuable information relevant to Defendant bin Salman’s objective—namely, the location

of Dr. Saad’s office and several nearby locales that Dr. Saad regularly visited. To shore up his

efforts, Defendant Alharbi also questioned Dr. Saad’s close acquaintance, insisting that the

acquaintance share personal information about Dr. Saad, including his home address and the

location of other places he frequented.

Tiger Squad Defendants

       72.111.        The “Tiger Squad,” or “Firqat el-Nemr,” is a private death squad made up

of approximately 50 intelligence, military, and forensic operatives recruited from different

branches of the Saudi government with one unifying mission: loyalty to the personal whims of

Defendant bin Salman. Its members have carried out numerous covert killings and attempted

killings at Defendant bin Salman’s behest. Members of the Tiger Squad possess a variety of

experience and expertise relevant to locating and executing a target and covering up the murder.

The Tiger Squad’s activities are directed and supervised by Defendant bin Salman, Defendant

Alqahtani, and Defendant Alassiri, and supported by Defendant Alasaker.

       73.112.        Defendant bin Salman formed the Tiger Squad as a personal hit team in or

around September 2015—the same month that Dr. Saad was terminated from the Saudi

government. The Tiger Squad was created only after Dr. Saad refused Defendant bin Salman’s
                                               58
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request to deploy the Mabahith—then still part of the Ministry of Interior controlled by Mr. Bin

Nayef and Dr. Saad—in an extrajudicial operation of retribution against a Saudi prince living in

Europe who criticized Defendant bin Salman’s father on social media. had sent a personal message

to Defendant bin Salman showed online criticism made by the Saudi prince to Dr. Saad and

demandedvia WhatsApp threatening to publicly expose salacious conduct of Defendant bin

Salman.    Dr. Saad told Defendant bin Salman that the Mabahith—then a counterterrorism

agency—forcibly render the prince from Europe to Saudi Arabia would play no role in

orderDefendant bin Salman’s overseas, expeditionary adventures in personal cruelty simply

because Defendant bin Salman wished to halt public criticism of the Saudi government. Dr. Saad

refused to support Defendant bin Salman’s proposed extraterritorial rendition because it was

immoral, unlawful, and would damage Saudi Arabia’s interests in Europe and other western

countries. suppress embarrassing information about himself. Without the ability to call upon the

Mabahith to carry out his personal vendetta, Defendant bin Salman created the so-called “Tiger

Squad”—a team of loyal operatives from disparate Saudi government agencies—who were willing

to do as they were told. The newly-created Tiger Squad kidnapped the prince from France via

private jet and rendered him back to Saudi Arabia, where he was tortured at the hands of Defendant

Alqahtani.109 Defendant bin Salman and Defendant Alqahtani subsequently bragged that they

were able to accomplish Defendant bin Salman’s objective even without the support of official

ministries, including the Ministry of the Interior.




109
    See Reda El Mawy, Saudi Arabia’s Missing Princes, BBC,              News (Aug. 16, 2017,),
https://www.bbc.com/news/magazine-40926963.
                                                 59
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       74.113.         Since then, upon information and belief, the Tiger Squad has been used to

carry out numerous personal vendettas of Defendant bin Salman, including having

abductedabducting additional Saudi royals; poisoned from Europe; poisoning a judge who

expressed opposition to Defendant bin Salman’s Vision 2030 economic plans; torturedkidnapping,

torturing, and sodomizedsodomizing a religious cleric using a broomstickwho had been on

pilgrimage   in   Mecca;    and   personally    tortured,   executedtorturing,     executing,      and

dismembereddismembering Jamal Khashoggi in the Saudi consulate in Istanbul in October

2018.110

       75.114.        As   described   more    fully   below,    acting   at     the   direction    of

DefendantDefendants bin Salman, Defendant Alqahtani, and Defendant Alassiri, and with the

support of Defendant Alasaker, the members of the Tiger Squad identified in the following

paragraphs were assembled to kill Dr. Saad, and obtained Canadian tourist visas in May 2018 for

the purpose of killing Dr. Saad (except for the team member who held a diplomatic passport), and

some of the Tiger Squad members in fact traveled to Canada in October 2018 in an attempt to kill

Dr. Saad.

       76.115.        Considering the nature of the Tiger Squad, the composition of the team

assembled to kill Dr. Saad, and the purposes for which its members had been deployed in the past,



110
    See, e.g., ‫صحيفة روسية‬: ‫الخاصة السعودية؟ "فرقة النمر"من هم ضحايا‬, Al Jazeera, Nov. 11, 2018,
https://www.aljazeera.net/news/presstour/2018/11/4/%D8%B5%D8%AD%D9%8A%D9%81%
D8%A9-%D8%B1%D9%88%D8%B3%D9%8A%D8%A9-%D9%85%D9%86-
%D9%87%D9%85-%D8%B6%D8%AD%D8%A7%D9%8A%D8%A7-
%D9%81%D8%B1%D9%82%D8%A9-%D8%A7%D9%84%D9%86%D9%85%D8%B1. See,
e.g., Russian Newspaper: Who Are the Victims of the Private Saudi Tiger Squad?, Al Jazeera (Nov.
11, 2018), https://bit.ly/36E1o4u (translation from original Arabic language).
                                               60
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and Dr. Saad’s personal knowledge of Defendant bin Salman’s prior deployment of Tiger Squad

teams, these Tiger Squad Defendants knew precisely what they were doing when they prepared to

kill Dr. Saad. Indeed, on information and belief, they knew Defendant bin Salman sought to

consolidate power and remove perceived obstacles to his legitimacy in the United States,

particularly among top-ranking U.S. intelligence officials. On information and belief, the Tiger

Squad Defendants also knew that Dr. Saad was a significant partner of the U.S. Intelligence

Community and that he possessed highly sensitive information about Defendant bin Salman—and

in turn, that Dr. Saad posed a threat to Defendant bin Salman’s objectives. Further, they knew that

their mission was to extrajudicially kill Dr. Saad.

       77.116.         Defendant Mishal Fahad Alsayed (“Defendant Alsayed”) is a Saudi

national and a member of the Tiger Squad. On information and belief, Defendant Alsayed is

regularly employed as a senior forensic DNA technician in the General Department of Criminal

Evidence at the Ministry of Interior at the rank of lieutenant colonel. Defendant Alsayed also has

taught on the subject of victim identification following a natural disaster at the Naif Arab

University for Security Sciences University in Riyadh, Saudi Arabia. 111 In an academic course

focused on collecting and identifying “dead bodies and body parts from disasters,” Defendant


111
    Naif Arab University for Security Sciences, College of Forensic Sciences, Laboratory Course
Guide: Laboratory Techniques in the Examination of Disaster Victims at 11 (Feb. 2016),
https://repository.nauss.edu.sa/bitstream/handle/123456789/63548/%D8%A7%D9%84%D8%A
A%D9%82%D9%86%D9%8A%D8%A7%D8%AA%20%D8%A7%D9%84%D9%85%D8%AE
%D8%A8%D8%B1%D9%8A%D8%A9%20%D9%81%D9%8A%20%D8%A7%D9%84%D9%
83%D8%B4%D9%81%20%D8%B9%D9%86%20%D8%B6%D8%AD%D8%A7%D9%8A%D
8%A7%20%D8%A7%D9%84%D9%83%D9%88%D8%A7%D8%B1%D8%AB.pdf?sequence=
3&isAllowed=y (title and quotation professionally translated from the Arabic language
syllabus).2016), https://bit.ly/3cEjVSf.

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Alsayed served on the academic panel alongside Dr. Salah Mohammed Tubaigy, who used a bone

saw to dismember Khashoggi.112 On information and belief, Defendant Alsayed obtained a

Canadian tourist visa in May 2018 for the purpose of traveling to Canada to kill Dr. Saad.

Thereafter, Defendant Alsayed traveled to Canada in October 2018 in an attempt to kill Dr. Saad.

          78.117.        Defendant Khalid Ibrahim Abdulaziz Algasem (“Defendant Algasem”)

is a Saudi national and a member of the Tiger Squad. On information and belief, he is regularly

employed as a Forensic DNA Technician in the General Department of Criminal Evidence at the

Ministry of Interior. On information and belief, Defendant Algasem obtained a Canadian tourist

visa in May 2018 for the purpose of traveling to Canada to kill Dr. Saad. Thereafter, on

information and belief, Defendant Algasem traveled to Canada in October 2018 in an attempt to

kill Dr. Saad.

          79.118.        Defendant Saud Abdulaziz Alsaleh (“Defendant Alsaleh”) is a Saudi

national and a member of the Tiger Squad. On information and belief, Defendant Alsaleh is

regularly employed as a senior military intelligence officer in the Intelligence Department of the

Ministry of Defense.113 On information and belief, Defendant Alsaleh served as a coordinator or

leader of the Tiger Squad Defendants and obtained a Canadian tourist visa in May 2018 for the

purpose of participating in the attempt to extrajudicially kill Dr. Saad.




112
      Id. at 13–14 (quotation translated from the Arabic language syllabus).
113
   For example, in 2019, Defendant Alsaleh attended a program for “senior military officers” in
the Asia-Pacific region hosted by the Nanyang Technical University in Singapore. See 21st Asia
Pacific Programme for Senior Military Officers (APPSMO), Nanyang Technological U. Sing. 55
(2019), https://www.rsis.edu.sg/wp-content/uploads/2019/12/ER191204_APPSMO-2019.pdf.

                                                  62
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       80.119.        Defendant Bandar Saeed Alhaqbani (“Defendant Alhaqbani”) is a Saudi

national and a member of the Tiger Squad. On information and belief, Defendant Alhaqbani is

regularly employed by the Ministry of Interior in Riyadh, Saudi Arabia. On information and

beliefDefendant Alhaqbani is an expert in forensic evidence who has made public presentations in

this capacity.114 Defendant Alhaqbani obtained a Canadian tourist visa in May 2018 for the

purpose of traveling to Canada to kill Dr. Saad. Thereafter, Defendant Alhaqbani traveled to

Canada in October 2018 in an attempt to kill Dr. Saad.

       81.120.        Defendant Ibrahim Hamad Abdulrahman Alhomid (“Defendant

Alhomid”) is a Saudi national and a member of the Tiger Squad. On information and belief,

Defendant Alhomid is regularly employed by the Ministry of Foreign Affairs in Riyadh, Saudi

Arabia. On information and belief,As part of his work for the Ministry of Foreign Affairs, he has

served as the Assistant Director for the Affairs of Saudi Citizens Abroad. 115 Defendant Alhomid

traveled to Canada in October 2018 in an attempt to kill Dr. Saad.

       121.      Defendant John Does 2-11Defendant Ahmed Abdullah Fahad Albawardi

(“Defendant Albawardi”) is a Saudi national and a member of the Tiger Squad. On information

and belief, Defendant Albawardi is regularly employed as an engineer by the National Information

Center in Riyadh, Saudi Arabia. On information and belief, Defendant Albawardi obtained a

Canadian tourist visa in May 2018 for the purpose of traveling to Canada to kill Dr. Saad.


114
    Public Security Director Inaugurates a Workshop on “The Technical Portfolio of IP
Procedures,” Saudi Press Agency (Jan. 23, 2011), https://www.spa.gov.sa/858495 (translation
from original Arabic language).
115
    The [Ministry of] Foreign Affairs Calls on the Emissaries to Maintain the Consistency of Their
Data When Providing Information, Alriyadh (Nov. 17, 2013), https://www.alriyadh.com/884594
(translation from original Arabic source).
                                                 63
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Thereafter, on information and belief, Defendant Albawardi traveled to Canada in October 2018

in an attempt to kill Dr. Saad.

       122.      Defendant Bader Mueedh Saif Alqahtani (“Defendant Bader Alqahtani”) is a

Saudi national and a member of the Tiger Squad. On information and belief, Defendant Bader

Alqahtani is regularly employed as an engineer by the National Information Center in Riyadh,

Saudi Arabia.116 Defendant Bader Alqahtani obtained a Canadian tourist visa in May 2018 for the

purpose of traveling to Canada to kill Dr. Saad. Thereafter, Defendant Bader Alqahtani traveled

to Canada in October 2018 in an attempt to kill Dr. Saad.

       82.123.         Defendants John Does 1-8 are Saudi nationals and members of the Tiger

Squad who—in addition to Defendants Alsayed, Algasem, Alsaleh, Alhaqbani, and Alhomid,

Albawardi, and Bader Alqahtani—took actions for the purpose of extrajudicially killing Dr. Saad.

Their exact names and identities, and the precise number of such John Does, are, despite diligent

efforts, presently unknown to Plaintiff Dr. Saad. 117




116
    Bader Al-Qahtani, LinkedIn, https://www.linkedin.com/in/bader-q-alqahtani/ (last visited Feb.
3, 2021).
117
   The individuals designated as John Does 1, 2 and 3 in Plaintiff’s original Complaint have since
been identified and named herein as Hani Fakri Hamed, Ahmed Abdullah Fahad Albawardi, and
Bader Mueedh Saif Alqahtani, respectively.
                                                 64
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       83.124.         The following chart depicts each Defendant’s role in the attempted

extrajudicial killing of Dr. Saad:




       The Defendants and their Role in the Attempted Extrajudicial Killing of Dr. Saad



                                             65
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                                 JURISDICTION AND VENUE

       84.125.          This Court has subject matter jurisdiction over this action under 28 U.S.C.

§ 1331 because the action arises under the Torture Victim Protection Act (“TVPA”), Pub. L. No.

102-256, 106 Stat. 73 (1992) (codified at 28 U.S.C. § 1350 et seq.), and the Alien Tort Statute

(“ATS”), 28 U.S.C. § 1350. The Court has supplemental jurisdiction over Dr. Saad’s common

law claim under 28 U.S.C. § 1367.

       85.126.          The exercise of subject matter jurisdiction over Dr. Saad’s claim under the

ATS is proper because the conduct giving rise to his claim touches and concerns the United States.

Indeed, Defendant bin Salman’s attempt to extrajudicially kill Dr. Saad involved substantial

conduct inside the United States, including deploying covert agents who resided in the United

States to hunt him down and plotting to reach Dr. Saad in Canada through travel within the United

States and across the United States’ border with Canada. Further, the conduct was aimed at the

United States insofar as it was designed to remove a crucial partner to the U.S. Intelligence

Community and maximize Defendant bin Salman’s standing with and support from top U.S.

government officials.

       86.127.          The exercise of personal jurisdiction over Defendant bin Salman, Defendant

Alasaker, Defendant Alqahtani, Defendant Alassiri, Defendant Alharbi, Defendant Alrajhi,

Defendant Alhamed, Defendant Abuljadayel, Defendant John Doe 1, and the Tiger Squad

Defendants for purposes of Dr. Saad’s claims under the TVPA and ATS is proper pursuant to

Federal Rule of Civil Procedure 4(k)(2) because these Defendants engaged in intentional, tortious

conduct directed at the United States, and this action arises out of that conduct.



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       87.128.         In particular, Defendant bin Salman attempted to extrajudicially kill Dr.

Saad because of his longstanding close and trusted partnership with the U.S. Intelligence

Community. The attempt to extrajudicially kill Dr. Saad is intended to eliminate the U.S.

Intelligence Community’s access to a deeply knowledgeable source about issues central to the

national security of the United States, a source who could use his knowledge to undermine

Defendant bin Salman’s influence and support from the Trump White House.                 Dr. Saad’s

knowledge extends to Defendant bin Salman’s creation of the Tiger Squad (as described further

below) and its use of extrajudicial killings and torture (including activities carried out within the

territory of close U.S. allies); Defendant bin Salman’s covert political scheming within the Royal

Court, including attempts to harm other royals; Defendant bin Salman’s corrupt financial dealings;

Defendant bin Salman’s personal misconduct; and Defendant bin Salman’s communications with

foreign governments, including U.S. adversaries.

       88.129.         Dr. Saad established a close partnership with the U.S. Intelligence

Community through counterterrorism operations that have been crucial to U.S. national security.

In the years since the horrific terrorist attacks on September 11, 2001, the United States has

invested tremendous resources into creating and building a homeland security and

counterterrorism apparatus designed to protect American lives and advance U.S. interests. 118 A

core part of this counterterrorism architecture has been premised on strategic partnerships with

foreign governments and security agencies, and Saudi Arabia represented perhaps the single most


118
   Julia Donheiser, The United States Has Spent At Least $2.8 Trillion on Counterterrorism Since
9/11 (May 18, 2018), https://publicintegrity.org/national-security/the-united-states-has-spent-at-
least-2-8-trillion-on-counterterrorism-since-9-11/.

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important partner in this effort.119 Dr. Saad himself, as a leader of Saudi Arabia’s counterterrorism

apparatus, was that partner.120 Thus, the attempt to extrajudicially kill Dr. Saad is designed to end

the U.S. Intelligence Community’s access to a uniquely knowledgeable partner vital to U.S.

national security, and in turn, to eliminate any threat posed to Defendant bin Salman by virtue of

that partnership.

       89.130.         The Defendants acted in concert, at the direction of Defendant bin Salman,

to achieve this objective aimed at the United States. On information and belief, each Defendant

was well aware of Defendant bin Salman’s desire to maximize his support from top U.S.

government officials, and to remove anyone that stood in his way; each Defendant also knew that

Dr. Saad, by virtue of his unique access to the Saudi Royal Court and partnership with the U.S.

Intelligence Community forged through years of counterterrorism efforts, was viewed by

Defendant bin Salman as posing perhaps the most significant obstacle.

       90.131.         Additionally, Defendant bin Salman’s attempt to extrajudicially kill Dr.

Saad has included significant physical conduct within the United States. For example:

           a. Defendants hosted events and programs in the United States through Defendant bin

                 Salman’s personal charitable foundation, theDefendant MiSK Foundation, with

                 aims that included cultivating a network of covert agents to hunt down Dr.

                 Saad. These events included: a MiSK Leadership Development Program at


119
    Daniel Byman, The U.S.-Saudi Arabia Counterterrorism Relationship, Brookings (May 24,
2016),           https://www.brookings.edu/testimonies/the-u-s-saudi-arabia-counterterrorism-
relationship/.
120
   Frank Gardner, Family of Exiled Top Saudi Officer Saad Al-Jabri ‘Targeted’, BBC, (May 25,
2020,), https://www.bbc.com/news/world-middle-east-52790864.
                                                 68
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              Harvard University in Boston, Massachusetts in August 2016, in which Defendants

              Abuljadayel and Alhamed participated; a MiSK Leadership Development Program

              at Harvard University in Boston, Massachusetts in August 2017, at which

              Defendants Abuljadayel and Alhamed worked, and the closing ceremonies of

              which Defendant Alasaker attended; a MiSK-United Nations Development

              Program event in New York, New York, in September 2017, which Defendants

              Alhamed and Alasaker attended; a series of “MiSK Talks” in March and April

              2018, in Washington, D.C., New York, New York, Los Angeles, California, San

              Francisco, California, and Houston, Texas; a “New York Arab Art Festival” in

              October and November 2018 consisting of a citywide program in collaboration

              with New York City-area cultural institutions; and a December 2018 program in

              which Saudi artists traveled between San Francisco, California, Yosemite National

              Park, and Los Angeles, California.121


121
   Beyond events to recruit and cultivate potential agents for Defendant bin Salman in the United
States, Defendant MiSK Foundation also transacted significant business in the United States,
which furthered its platform and legitimacy in the United States. For example, Defendant MiSK
Foundation entered into partnerships with the Massachusetts Institute of Technology, U.S.
technology firm Virgin Hyperloop One, and financial information company Bloomberg. See Press
Release, Bloomberg, Misk Foundation and Bloomberg Collaborate on Education Initiatives to
Support        the      Advancement       of      Saudi       Youth      (Apr.     9,      2019),
https://www.bloomberg.com/company/press/misk-training-youth/;             MiSK        Foundation
Collaborates       With    MIT    Media      Lab,     MiSk      Found.     (Apr.   23,     2017),
https://misk.org.sa/en/blog/misk-foundation-collaborates-mit-media-lab/; Press Release, Virgin
Hyperloop, Vision 2030 Commitment Continues in the Kingdom as MISK and Virgin Hyperloop
One Create New Program To Train Saudi Engineers (Feb. 21, 2018),
https://virginhyperloop.com/press/misk-program. Additionally, during a June 2016 visit to the
United States, Defendant bin Salman signed a cooperation agreement with the Bill and Melinda
Gates Foundation on behalf of Defendant MiSK Foundation. Saudi Arabia’s Misk Foundation

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          b. Defendant Alassiri coordinated operations while physically present in the United

              States and made trips to Washington, D.C. on at least three occasions.          On

              information and belief, Defendant Alhamed, using his position as a student at a

              university in the United States as cover, assisted with some of Defendant Alassiri’s

              activities in the United States, building a bridge between the team pursuing the

              United States hunt to locate Dr. Saad and the team deployed to kill Dr. Saad.

          b.c. Defendant bin Salman’s brother, Khalid bin Salman, attempted to extract

              information from Dr. Saad’s son Khalid in Boston, Massachusetts regarding Dr.

              Saad’s location in an attempt to locate Dr. Saad while he was in the United States.

          c.d. Mohammed Alessa, acting at the direction of Defendant bin Salman, attempted to

              extract information regarding Dr. Saad’s location from an Aljabri family friend at

              a MiSK-sponsored event in New York, New York regarding Dr. Saad’s location..




Inks Deal With Bill Gates for Charity, Al Arabiya,                        (June 26, 2016,),
https://english.alarabiya.net/en/News/middle-east/2016/06/26/Saudi-Arabia-s-MiSK-Foundation-
inks-deal-with-Bill-Gates-for-charity.html. After Jamal Khashoggi’s killing was inescapably
linked to Defendant bin Salman, many of these partnerships with Defendant MiSK Foundation fell
apart, including those with the Gates Foundation and Virgin Hyperloop. Nicolas Parasie, Gates
Foundation Suspends Future Work With Saudi Crown Prince’s Charity, Wall St. J., . (Nov. 1,
2018,), https://www.wsj.com/articles/gates-foundation-suspends-future-work-with-saudi-crown-
princes-charity-1541076176; Saudi Arabia Cancels Hyperloop Deal in Response to Branson’s
Khashoggi        Protest,     Global    Construction    Rev.,     .    (Oct.   18,    2018,),
https://www.globalconstructionreview.com/news/saudi-arabia-cancels-hyperloop-deal-response-
brans/. Upon information and belief, inIn 2018 Defendant MiSK Foundation also filed an
application for the name “MiSK Foundation of America” to be reserved with the Texas Secretary
of State.
                                               70
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   d.e. Defendant Alrajhi, based in the Washington, D.C. metropolitan area, attempted to

      extract information from anthe same Aljabri family friend located in Boston,

      Massachusetts about Dr. Saad’s location.

   e.f. Defendant Alrajhi demanded a meeting with the same Aljabri family friend and

      offered to fly from Washington, D.C. to Boston, Massachusetts to meet, all in an

      effort to obtain Dr. Saad’s location.

   f.g. Similarly, Defendant Alhamed, based at the time in the Boston, Massachusetts

      metropolitan area, contacted anthe same Aljabri family friend to try to extract

      information from him regarding the location of Dr. Saad’s family and to persuade

      him to take a meeting with Defendant Alrajhi. Defendant Alhamed’s reward for

      his work included a position at the Saudi American Public Relation Affairs

      Committee, based in Washington, D.C.

   g.h.Defendant Alrajhi flew from his home in the Washington, D.C. metropolitan area

      to Boston, Massachusetts to meet with Dr. Saad’s son Khalid and attempt to extract

      information about Dr. Saad’s location.

   h.i. Defendant Alhamed, based Abuljadayel contacted Dr. Saad’s daughter-in the-law

      in Boston, Massachusetts metropolitan area,and attempted to extract information

      from an Aljabri family friend regarding Dr. Saad’s about the location of Dr. Saad’s

      family.

   i.j. Defendant Abuljadayel, based in the Boston, Massachusetts metropolitan area,

      attempted to extract information from Dr. Saad’s daughter-in-law in an effort to

      obtain Dr. Saad’s location.
                                       71
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   k. Defendant John Doe 1Hamed surveilled the Mandarin Oriental Hotel in Boston,

      Massachusetts and requested entry into.

   j.l. Defendant Hamed attempted to access the Aljabri family apartment in the

      hotelBoston, Massachusetts.

   k.m.      Defendant Alharbi met with Dr. Saad’s son in Boston, Massachusetts and

      attempted to extract information from him about Dr. Saad’s location.

   l.n. Defendant bin Salman suspended Saudi Arabian government services to the Aljabri

      family in the United States, including denying a request by Dr. Saad’s son to renew

      his Saudi Arabian passport in New York, New York.

   m.o.      Defendant bin Salman diffused baselessunspecified corruption charges

      against Dr. Saad through INTERPOL—an intergovernmental organization of

      which the United States is a member—to U.S. law enforcement, among other

      member nations.

   p. In May 2020, Defendant bin Salman directed a hit squad to travel from Saudi

      Arabia to the United States and thereafter to Canada in an intensified effort to kill

      Dr. Saad. Defendant bin Salman intentionally directed his agents to travel by land

      through the United States in an effort to evade detection of airport security that

      thwarted the Tiger Squad’s October 2018 mission.

   n.q.Defendant bin Salman’s agents made misleading statements to journalists in the

      United States to create misimpressions in the United States about Dr. Saad’s

      activities and undermine Dr. Saad’s support from U.S. government officials. These

      statements have resulted in the publication of misleading articles in U.S.
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              newspapers. For example, on July 17, 2020, the Wall Street Journal published an

              article relying heavily on baseless allegations from Defendant bin Salman. 122

           o.r. In July 2020, the Al Arabiya TV network, founded by members of the Saudi royal

              family and with an office in Washington, D.C., seized on misleading statements to

              journalists in the Wall Street Journal articleUnited States to further smear Dr. Saad

              and his supporters in the U.S. Intelligence Community. For example, Al Arabiya’s

              coverage has referred to Dr. Saad as an “international fugitive” and a “thief” who

              has caused a “scandal” implicating not only Dr. Saad but also former U.S.

              intelligence officials who support him.123

           s. Between July 2020 through at least January 2021, upon information and belief,

              Defendant Alqahtani—at the direction of Defendant bin Salman—orchestrated an

              online campaign to smear and threaten Dr. Saad on Twitter, a company

              incorporated in Delaware and headquartered in San Francisco, California. The

              smear campaign has featured Dr. Saad alongside former U.S. Secretary of State

              Hillary Clinton, drawing on the trope of explosive information purportedly hidden

              in Secretary Clinton’s emails in the weeks leading up to the U.S. Presidential

              Election.


122
   Bradley Hope, Justin Scheck & Warren P. Strobel, Saudi Arabia Wants its Fugitive Spymaster
Back, Wall St. J., July 17, 2020, https://www.wsj.com/articles/a-spymaster-ran-off-after-saudis-
say-billions-went-missing-they-want-him-back-11595004443.
123
         Al       Arabiya,       Facebook    (July 18,   2020,       8:00     PM        ET),
https://m.facebook.com/AlArabiya/videos/2492096491089290/; Fahad Ibrahim Aldagheethr,
Aljabri…The Big Breach, Al Arabiya, https://www.alarabiya.net/ar/politics/2020/07/22/ -‫الجبري‬
‫الكبير‬-‫( اﻻختراق‬last visited July 29, 2020).
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           p.t. Defendant bin Salman transmitted threatening text messages to Dr. Saad over

                 WhatsApp’s U.S.-based servers.

       91.132.         Further, Defendant bin Salman’s attempt to extrajudicially kill Dr. Saad was

part of a broader campaign to eliminate those who could undermine Defendant bin Salman’s

support from the U.S. government. That campaign has included, as further described herein, the

use of Defendant Alasaker and Defendant MiSK to cultivate U.S.-based agents inside Twitter, Inc.,

a company incorporated in Delaware and headquartered in San Francisco, California, for the

purposes of discovering personal information about and ultimately eliminating critics of Defendant

bin Salman.124 The campaign also included offering employment with the MiSK Foundation as a

reward to those who covertly aided Defendant bin Salman and Defendant Alasaker within the

United States.125 Further, Defendant bin Salman’s campaign to consolidate power in the United

States included the extrajudicial killing of Washington Post columnist Jamal Khashoggi, who was

initially banned from working as a journalist in Saudi Arabia because of public criticism in

Washington, D.C. of Donald Trump at a time when Defendant bin Salman was working to win

Trump’s support.126 Finally, the campaign involved the arrest and detention of Mr. bin Nayef,

who, along with Dr. Saad, has worked closely with the U.S. Intelligence Community.



124
   This scheme to infiltrate Twitter is the subject of a criminal indictment brought in the Northern
District of California. See United States v. Abouammo et al., No. 3:19-cr-00621-EMC (N.D. Cal.);
infra note 86179.
125
   See Superseding Indictment ¶ 26(u), United States v. Abouammo, No. 3:19-cr-00621-EMC
(N.D. Cal. July 28, 2020), ECF No. 53.
126
   Samuel Osborne, Saudi Arabia Bans Journalist for Criticising Donald Trump, Independent,
(Dec. 5, 2016,), https://www.independent.co.uk/news/world/middle-east/saudi-arabia-donald-
trump-journalist-banned-for-criticising-us-president-elect-a7456956.html.
                                                  74
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       92.133.        This Court also has pendent personal jurisdiction over Defendant bin

Salman, Defendant Alasaker, Defendant Alqahtani, Defendant Alassiri, Defendant Alharbi,

Defendant Alrajhi, Defendant Alhamed, Defendant Abuljadayel, Defendant John Doe 1, and the

Tiger Squad Defendants in regards to Dr. Saad’s common law claim for intentional infliction of

emotional distress, because it arises out of the same nucleus of operative facts as Dr. Saad’s TVPA

and ATS claims.

       93.134.        The courtThis Court has personal jurisdiction over Defendant MiSK

Foundation under D.C. Code § 13--423. Defendant MiSK Foundation, which operates as a front

organization for Defendant bin Salman and Defendant Alasaker, has purposefully availed itself of

this forum by transacting business in Washington, D.C., and Dr. Saad’s claims against it arise out

of those contacts. On information and belief, one of the MiSK Foundation’sDefendant MiSK’s

primary purposes was to recruit and, develop, fund, and legitimize a network of agents in the

United States to carry out acts in furtherance of Defendant bin Salman’s objectives—including

hunting, trapping, and undertaking to kill Dr. Saad. Accordingly, on information and belief, all of

its events and programming —in addition to a series of covert operations it sponsored—were

designed and executed for this purpose. A substantial portion of these recruiting events occurred

in the District of Columbia.127 As the “Secretary-General” of Defendant MiSK Foundation,


127
    For example, according to public sources, Defendant MiSK Foundation hosted two “MiSK
Talks,” modeled off of TED Talks, in Washington, D.C. (held in conjunction with Defendant bin
Salman’s visit to the United States); a “MiSK Art” panel discussion and tour of the Newseum; the
sponsorship of an exhibit of Saudi art at the Kennedy Center; a “Leadership Bootcamp” designed
to facilitate networks of Saudi national students in the Washington, D.C. metropolitan area, which
included a partnership with Uber to provide rides in Washington, D.C.; and a training workshop,
in cooperation with Bloomberg and LinkedIn and hosted at Bloomberg’s Washington D.C. offices

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Defendant Alasaker planned and coordinated these programs and, on information and belief,

personally attended some or all of these events. 128

       94.135.         In particular, Defendant MiSK Foundation signed contracts in the District

of Columbia, including a June 2016 agreement with Babson College and Lockheed Martin, which

established the Prince Mohammad bin Salman College of Business and Entrepreneurship. 129



(after Defendant MiSK executed a memorandum of understanding with Bloomberg). See, e.g.,
The Misk Foundation - the Saudi Arabian Youth Empowerment Nonprofit Established by H.R.H.
Crown Prince Mohammed bin Salman - Announces Events in Six U.S. Cities in Conjunction With
Royal Visit, PR Newswire, (Mar. 21, 2018,), https://www.prnewswire.com/news-releases/the-
misk-foundation--the-saudi-arabian-youth-empowerment-nonprofit-established-by-hrh-crown-
prince-mohammed-bin-salman--announces-events-in-six-us-cities-in-conjunction-with-royal-
visit-300617789.html; Saudi Contemporary Art in D.C.: Kennedy Center, Edge of Arabia,
http://edgeofarabia.com/exhibitions/saudi-contemporary-art-in-d.c-kennedy-center (last visited
July 12, 2020); ‫@(الخيرية مبادرات مسك‬MiSKinitiatives), Twitter (June 28, 2018, 11:53 AM),
https://twitter.com/MiSKinitiatives/status/1012363258236456963; Press Release, Bloomberg,
Bloomberg and the MiSK Foundation To Explore Multi-Year Financial Education and Business
Journalism        Training      Initiative    for  Young    Saudis     (Nov.     15,   2016),
https://www.bloomberg.com/company/press/bloomberg-misk-foundation-journalism-training;
‫مبادرات مسك‬           ‫@(الخيرية‬MiSKinitiatives), Twitter (Apr. 11, 2018 11:00 AM),
https://twitter.com/MiSKinitiatives/status/984083824073232384; MiSK Initiatives ‫مبادرات مسك‬
‫الخيرية‬      (@MiSKinitiatives),          Twitter   (Apr.    6,      2018,      8:03     PM),
https://twitter.com/MiSKinitiatives/status/982408530878717952; Bader Al Asaker ‫بدر العساكر‬
(@Badermasaker),              Twitter        (Mar.      22,      2018,        9:37       PM),
https://twitter.com/Badermasaker/status/976996313211506688; Misk Foundation ‫مسك الخيرية‬
(@MiskKSA),               Twitter          (Mar.      21,       2018,        8:17        PM),
https://twitter.com/MiskKSA/status/976613691138433024.
128
    See, e.g., Bader Al Asaker ‫@( بدر العساكر‬Badermasaker), Twitter (Mar. 22, 2018, 9:37 PM),
https://twitter.com/Badermasaker/status/976996313211506688; Bader Al Asaker ‫بدر العساكر‬
(@Badermasaker),          Twitter          (Mar.     21,        2018,        7:08        PM),
https://twitter.com/Badermasaker/status/976596561928040448.
129
     Press Release, KAEC, Prince Mohammad Bin Salman College of Business and
Entrepreneurship      To      Be     Launched    at     KAEC       (June     22,     2016),
https://www.kaec.net/press_releases/prince-mohammad-bin-salman-college-of-business-and-
entrepreneurship-to-be-launched-at-kaec/.

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Defendant Alasaker executed this agreement and Defendant bin Salman attended the signing

ceremony in the District of Columbia in June 2016.130 On information and belief, Defendant MiSK

Foundation’sMiSK’s transaction of business in the District of Columbia with these U.S. entities

furthered its platform and legitimacy in the United States, which it used to recruit and, develop,

fund, and deploy a network of Saudi agents in the United States to pursue Defendant bin Salman’s

objectives, including the hunt for Dr. Saad.

       95.136.         Additionally, in or around May 2017, Defendant MiSK Foundation donated

money to the Women Entrepreneurs Finance Initiative, a Washington, D.C.-headquartered

initiative that is a project of Ivanka Trump, then-Advisor and Assistant to the President of the

United States.131 On information and belief, Defendant MiSK Foundation’sMiSK’s donation

furthered the Defendants’ goal of influencingwas intended to further influence senior U.S.

government officials to support Defendant bin Salman and undermine Dr. Saad.

       96.137.         Additionally, on March 21, 2018, Defendant MiSK Foundation held an

event at the Willard Intercontinental Hotel in the District of Columbia, in connection with a visit

from Defendant bin Salman to the United States. On information and belief, the event featured




130
      Id.; Prince Mohammad bin Salman College of Business, Babson Global,
https://babsonglobal.org/2016/02/10/philanthropreneurship-forum-london/ (last visited July 30,
2020).
131
    Al Asaker, Mohammed bin Salman’s Invisible Hand, Intelligence Online, (Oct. 18, 2017,),
https://www.intelligenceonline.com/government-intelligence/2017/10/18/al-asaker-mohammed-
bin-salman-s-invisible-hand,108276602-
art#:~:text=Al%20Asaker%20is%20not%20officially,the%20crown%20prince's%20personal%2
0foundation.
                                                77
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talks from Saudi students in the United States, furthering the cultivation of agents in the United

States who could be deployed for Defendant bin Salman’s objectives.

       138.    To the extent Defendant Alrajhi and/or Defendant Alhamed is subject to

jurisdiction in a state’s court of general jurisdiction, theThe exercise of personal jurisdiction over

them Defendant Alrajhi is proper under D.C. Code § 13-423(a)(1) because they each havehe has

purposefully availed themselveshimself of this forum by transacting business in Washington, D.C.,

and Dr. Saad’s claims risearise out of those contacts. On information and beliefIn particular,

Defendant Alrajhi regularly traveled to the District of Columbia as a graduate student in a medical

field at Howard University. These contacts created a pretext for his meeting with Dr. Saad’s son

Khalid (who had just completed a medical fellowship) that did not arouse suspicion when he

questioned Dr. Saad’s friends and family members. For example, when Defendant Alrajhi flew to

Boston to meet with Dr. Saad’s son, Defendant Alrajhi presented himself as a representative of

SACM—which, as described above, oversees Saudi students in the United States and is controlled

by Defendants bin Salman, Alasaker, and MiSK. This cover was only plausible because he was

in fact a university student in a medical field in the District of Columbia; in other words, his

activities in the District of Columbia were essential to his ability to schedule and carry out a

meeting with Dr. Saad’s son, and that meeting ultimately resulted in valuable information about

the hunt for Dr. Saad that was shared with other U.S.-Based Covert Agent Defendants. In addition,

Defendant Alrajhi actively attended programming in the District of Columbia in which he




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strengthened ties with the network of covert agents who targeted Dr. Saad. 132 Indeed, Defendant

Alrajhi’s status as a Saudi student at a university in the District of Columbia in close proximity to

the Saudi Embassy in the District of Columbia and the SACM in Fairfax, Virginia (both of which

Defendant Alrajhi visited on numerous occasions) positioned him within a small network of

students whom Defendants bin Salman and Alasaker could and did easily exploit to pursue

Defendant bin Salman’s personal objectives. Moreover, on information and belief, Defendant

Alrajhi purchased a plane ticket in Washington, D.C. and travelled from Washington, D.C. to

Boston, Massachusetts for the purpose of hunting down Dr. Saad’s location and obtaining other

valuable information, which was an essential step in carrying out Defendant bin Salman’s plan to

extrajudicially kill Dr. Saad. Defendants Alrajhi and Alhamed were also active in Saudi-sponsored

programming in the District of Columbia, attending various events aimed at developing a network

of covert agents to target individuals, including Dr. Saad, who undermine Defendant bin

Salman.133 On information and belief, Defendant Alhamed also used those events in the District

of Columbia to develop connections for later business use, specifically for his organization Saudi




132
          See      Youseef       Alrajhi,        Facebook      (Sept.      1,  2017),
https://www.facebook.com/yousef.alrajhi.5/posts/1029162850520427;     Youseef ALrajhi,
Facebook                       (June                       25,                 2017),
https://www.facebook.com/photo/?fbid=975583669211679&set=pcb.975584075878305.
133
          See       Youseef        Alrajhi,      Facebook       (Sept.        1,    2017),
https://www.facebook.com/yousef.alrajhi.5/posts/1029162850520427;      Youseef     ALrajhi,
Facebook (June 28, 2017), https://www.facebook.com/yousef.alrajhi.5/posts/978017905634922;
Youseef            ALrajhi,          Facebook            (June          25,         2017),
https://www.facebook.com/photo/?fbid=975583669211679&set=pcb.975584075878305;
Mohammed         Alhamed        (@m7alhamed),       Instagram      (Sept.      6,   2016),
https://www.instagram.com/p/BKAGP6ThV1A;          Mohammed     Alhamed       (@m7alhamed),
Instagram (May 29, 2015), https://www.instagram.com/p/3SY_R_LC0W/.
                                                 79
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Elite and his employment, beginning in January 2018, with the Saudi American Public Relation

Affairs Committee (“SAPRAC”), a District of Columbia-based public relations firm focused on

the United States-Saudi Arabia relationship. These business connections motivated Defendant

Alhamed to act as agentSaad.

       97.139.         The exercise of personal jurisdiction over Defendant Hamed is proper

because he engaged in purposeful contacts with the District of Columbia through the overt acts of

his co-conspirators undertaken within the District of Columbia and subject to jurisdiction under

D.C. Code § 13-423. In particular and as discussed in more detail below, Defendant Hamed

participated in a conspiracy orchestrated by Defendant bin Salman and aimed at locating and

extrajudicially killing Dr. Saad. As part of that conspiracy, Defendant Hamed learned information

about Dr. Saad’s alleged location that was obtained from co-conspirator Defendant Alrajhi and/or

other co-conspirators, and proceeded to undertake surveillance at that location in furtherance of

the conspiracy.     As discussed immediately above, Defendant Hamed’s co-conspirators,

Defendants Alrajhi and MiSK, took actions in furtherance of the conspiracy within the District of

Columbia that subject them to personal jurisdiction under D.C. Code § 13-423. Indeed, Defendant

Alrajhi’s daily contact with the District of Colombia in his position as a Howard University student

was central to his role in the conspiracy insofar as it provided him with a cover as he undertook to

interrogate Dr. Saad’s friends and family members at the behest of Defendants bin Salman and

Alasaker. For its part, Defendant MiSK maintained a continuous presence in the District of

Columbia for Defendant bin Salman and Defendant Alasaker in hunting for Dr. Saad. Relatedly,

on information and belief, Defendant Alhamed regularly attends SAPRAC events in the District

of Columbia. Defendant Alhamed also indicates on his personal Twitter profile that he is based in
                                                80
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Washington, D.C.the purpose of funding, cultivating, supervising, and tasking student operatives

to pursue Defendant bin Salman’s personal objectives in the United States.

            98.140.      Venue is proper in this Court under 28 U.S.C. § 1391(b)(3).




                                   FACTUAL ALLEGATIONS

I.          Dr. Saad’s Close Partnership with the U.S. Intelligence Community and Intimate
            Knowledge of Defendant bin Salman Make Him Defendant bin Salman’s Top Target
            .


            99.141.      This case involves the attempted extrajudicial killing of a critical U.S.

intelligence partner—Dr. Saad—in an attempt to influence and harm U.S. intelligence interests

and foreign policy.

            100.142.     Dr. Saad came to be recognized as a “hero” in the U.S. Intelligence

Community over the course of a decades-long career in the Saudi government, as he worked

closely with officials in the U.S. Intelligence Community on counterterrorism and security

projects.134 At the same time, his perch in the Saudi government gave him a direct window into

the inner workings of the Saudi Royal Court, including the personal, political, and business

dealings of Defendant bin Salman. As a result of the knowledge he gained and his close

partnership with U.S. intelligence officials, he is now at the very top of Defendant bin Salman’s

hit list.




134
      Ignatius, supra note 410.
                                                 81
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            101.143.     In particular, Dr. Saad is widely regarded for thwarting a bombing attack on

the United States by an al-Qaeda affiliate, saving hundreds—if not thousands—of American

lives.135 Former Acting Director of the CIA Michael Morell stated that Dr. Saad’s “work saved

Saudi and American lives, in the kingdom and outside.” 136 U.S. Senators Marco Rubio, Chris Van

Hollen, Patrick Leahy, and Tim Kaine, while urging President Trump to personally engage to

protect Dr. Saad, have emphasized that Dr. Saad was “a highly valued partner of our Intelligence

agencies and the Department of State during the past two decades,” noting his work discovered

and prevented terrorist plots and “was of vital importance to U.S. counterterrorism efforts in the

post 9/11 era.”137 The U.S. Department of State affirmed that Dr. Saad “has been a valued partner

to the U.S. government, working closely with us to ensure the safety of Americans and Saudis,”

and emphasized that “[t]he United States appreciates Dr. Aljabri’s contributions to keeping our

citizens safe.”138 These contributions included Dr. Saad’s role “[f]or years” as “the U.S. Embassy

in Riyadh’s counterpart on shared counterterrorism efforts,” in which he “responded around the

clock to threats against [the U.S.] Mission and personnel.” 139




135
      Id.
136
      Id.
137
   Letter from Senator Patrick Leahy, Senator Marco Rubio, Senator Tim Kaine & Senator Chris
Van        Hollen      to     President      Donald     Trump        (July     7,       2020),
https://twitter.com/SenatorLeahy/status/1281281725499408386/photo/1. [hereinafter July 7, 2020
Letter to President Trump].
138
      Aug. 6, 2020 State Dep’t Letter, supra note 7, at 1.
139
      Id.
                                                   82
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       102.144.        Dr. Saad’s career in government began in 1976 and concluded in 2015.

During that time, he occupied numerous public positions in Saudi Arabia’s Ministry of Interior,

including State Minister and Chief of Staff.

       103.145.        In these positions, Dr. Saad gained substantial insight into the operations of

the Saudi Royal Court. He was a close confidante of former Crown Prince Mohammad bin Nayef

and, of critical importance to Defendant bin Salman, was privy to sensitive information about

Defendant bin Salman’s covert political scheming within the Royal Court and, corrupt business

dealings, and creation of a personal hit squad later known as the Tiger Squad. Dr. Saad also heard

and witnessed firsthand Defendant bin Salman’s communications with foreign governments,

including his overtures to U.S. adversaries.

       104.146.        In his official capacity with the government of Saudi Arabia, Dr. Saad also

worked at the highest levels on counterterrorism partnerships and operations, in particular with the

United States.

       105.147.        For example, beginning in 2003, in cooperation with then-CIA Director

George Tenet, Dr. Saad led efforts to build a modernized Saudi security system that could combat

al-Qaeda and penetrate “al-Qaeda in the Arabian Peninsula,” the terror group’s affiliate in Yemen.

As an outgrowth of that project, Dr. Saad oversaw a network of informants who identified a 2010

plot by al-Qaeda in the Arabian Peninsula to bomb two United States-bound cargo airplanes

through packages with explosive-laden computer printer cartridges. The packages—addressed to

synagogues near Chicago, Illinois and sent by FedEx and UPS—were timed to blow up over the

United States, but were intercepted only after a team supervised by Dr. Saad arranged for the

information to be shared with then-White House Homeland Security Advisor John Brennan. Dr.
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Saad is widely credited with thwarting the attacks, saving hundreds—if not thousands—of

American lives.140 He is considered by the U.S. Intelligence Community to be “dynamic, truthful

and competent.”141

       106.148.        Under the leadership of Dr. Saad and Mr. bin Nayef, Saudi Arabia became

one of the United States’ key partners in counterterrorism, a partnership that has increasingly

formed the backbone of the historic American-Saudi relationship. 142 As a group of former senior

intelligence and defense officials wrote in an open letter, the United States’ “strategic alliance with

Saudi Arabia has formed the core element of the geopolitical architecture of the modern Middle

East. Over time, the Kingdom has evolved into one of Washington’s most important and reliable

partners in counterterrorism, both globally and within the region.” 143 This is true largely because

of Dr. Saad.

       107.149.        Through his work in the Saudi government, Dr. Saad developed a strong

reputation, influence, and network of connections within the U.S. Intelligence Community—a

network that he has maintained at all relevant times. While in office, he maintained regular contact



140
   Mark Mazzetti & Robert Worth, U.S. Sees Complexity of Bombs as Link to Al Qaeda, N.Y.
Times, (Oct. 30, 2010,), https://www.nytimes.com/2010/10/31/world/31terror.html; Ignatius,
supra note 410.
141
   The Prince’s Shadow: The Struggle for the Throne in Saudi Arabia, Alaraby TV (Sept. 14,
2020), https://www.youtube.com/watch?v=F2RTphfgmiI (transcript on file with Plaintiff’s
counsel) [hereinafter The Prince’s Shadow].
142
   Keith Johnson & Robbie Gramer, How the Bottom Fell Out of the U.S.-Saudi Alliance, Foreign
Policy (April 23, 2020), https://foreignpolicy.com/2020/04/23/saudi-arabia-trump-congress-
breaking-point-relationship-oil-geopolitics//.
143
   Letter from William S. Cohen, Former Sec’y of Def., Michael Morell, Former Acting Dir. of
the Cent. Intelligence Agency, et al. to the President of the U.S. & Members of Cong., supra note
3. Aug. 6, 2020 State Dep’t Letter, supra note 7, at 1.
                                                  84
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with the White House, State Department, and officials from the U.S. Intelligence Community on

an almost-daily basis, working closely on joint projects to combat global terrorism.

       108.150.       Importantly, it was Dr. Saad’s close cooperation with the U.S. Intelligence

Community—and Defendant bin Salman’s perception that such cooperation undermined

Defendant bin Salman’s own efforts to consolidate power in the Saudi Royal Court through

augmenting his influence in the United States—that ultimately led to Dr. Saad’s termination.

       109.151.       Specifically, shortly before Dr. Saad’s September 2015 termination, he

participated in two official meetings with then-CIA Director John Brennan. After one such

meeting in or around July 2015, Defendant bin Salman became angry that Dr. Saad raised—and

Brennan rebuked—Defendant bin Salman’s recent communications with Russian President

Vladimir Putin. Brennan expressed concern that Defendant bin Salman was encouraging Russian

intervention in Syria, at a time when Russia was not yet a party to the war in Syria. Dr. Saad

passed Brennan’s message to Defendant bin Salman, who responded with fury.

       110.152.       At another official meeting between Dr. Saad and then-CIA Director

Brennan in or around August 2015, Brennan told Dr. Saad—who had offered his resignation

because of disagreement with Defendant bin Salman about the Saudi intervention in Yemen—that

the CIA could not afford to lose Dr. Saad because he was too important to U.S. national security.

       111.153.       Soon after the meetings with Brennan, on or around September 10, 2015,

King Salman—acting at the behest of Defendant bin Salman—stripped Dr. Saad of his positions

in the Saudi government by royal decree. A formal government cable sent to Dr. Saad stated

explicitly that he was terminated because of his allegedly unauthorized meetings with CIA Director

John Brennan.
                                                85
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          112.154.      Few individuals hold as great an insight into the Kingdom of Saudi Arabia

and its leadership, or possess as close and trusted a relationship with the United States, as Dr. Saad.

On information and belief, his longstanding partnership with the United States, coupled with his

intimate knowledge of Defendant bin Salman’s most damning information, was perceived as an

urgent threat by Defendant bin Salman. Indeed, according to U.S. officials, Defendant bin Salman

feels an “existential threat” from the close relationship to the United States of Mr. bin Nayef—and

by extension Dr. Saad.144

II.       Defendant bin Salman’s CampaignSalman Campaigns for White House Support and
          Targeting ofTargets Dr. Saad Causes Dr. Saad to Flee Saudi Arabia Consolidate
          Support from the U.S. Government.


          113.155.      After the removal of Dr. Saad from his formal post in the Saudi government,

Defendant bin Salman continued his campaign to build support for his ascension within the U.S.

government.      This included public glad-handing with members of the incoming Trump

administration (even as U.S. intelligence officials remained skeptical about Defendant bin

Salman’s ascent) and setting the stage for Defendant bin Salman’s forthcoming coup. 145

          114.156.      After the November 2016 U.S. Presidential election, Dr. Saad was informed

about negotiations between President-elect Donald Trump’s transition team and private

representatives of Defendant bin Salman involving significant and suspicious promises made to



144
      The Prince’s Shadow, supra note 134.
145
   Peter Bergen, Trump'sTrump’s Uncritical Embrace of MBS Set the Stage for Khashoggi Crisis,
CNN, (Nov. 16, 2018,), https://www.cnn.com/2018/10/15/opinions/how-the-saudis-played-
trump-bergen/index.html; Addiction and Intrigue: Inside the Saudi Palace Coup, Reuters, July 19,
2017, https://www.reuters.com/article/us-saudi-palace-coup/addiction-and-intrigue-inside-the-
saudi-palace-coup-idUSKBN1A41IS.
                                                  86
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the incoming Trump administration. At that time, Defendant bin Salman was Deputy Crown

Prince of Saudi Arabia, second in line for the throne behind Mr. bin Nayef, then Crown Prince of

Saudi Arabia. Dr. Saad understood that key allies of the United States had concerns that Mr. bin

Nayef—depended upon by the U.S. Intelligence Community for its counterterrorism efforts—

could be sidelined as a result of these private negotiations.146

       115.157.         The validity of such concerns soon became apparent. It was reported that,

soon after the Trump administration took office, Jared Kushner—a senior adviser to President

Trump who had begun direct communicationscommunicating with Defendant bin Salman’s

representatives in November 2016, and directly with Defendant bin Salman soon thereafter—

began inquiring about the White House’s ability to influence the succession of the next king of the

Saudi Royal Court.147

       116.158.         Like Defendant bin Salman, President-elect Trump feared his lack of

support from the U.S. Intelligence Community—fear that manifested into public attacks. 148 For



146
    The Brookings Institute has referred to Mr. bin Nayef as “the darling of America’s
counterterrorism and intelligence services.” Bruce Riedel, The Prince of Counter-Terrorism,
Brookings (Sept. 29, 2015), http://csweb.brookings.edu/content/research/essays/2015/the-prince-
of-counterterrorism.html.
147
    David D. Kirkpatrick, et al., The Wooing of Jared Kushner: How the Saudis Got a Friend in
the        White        House,          N.Y.        Times       (Dec.        8,       2018,),
https://www.nytimes.com/2018/12/08/world/middleeast/saudi-mbs-jared-kushner.html.
148
    Tom McCarthy, Why is Donald Trump Attacking the US Intelligence Community?, Guardian,
(Aug. 19, 2018,), https://www.theguardian.com/us-news/2018/aug/18/why-is-donald-trump-
attacking-the-us-intelligence-community; Aaron Blake, Trump Won’t Believe His Own
Intelligence    Community       —   Again,    Wash.    Post,         (Nov.      17,   2018,),
https://www.washingtonpost.com/politics/2018/11/15/trump-administration-is-trying-hard-not-
blame-saudi-crown-prince-khashoggis-death/.

                                                 87
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instance, President Trump publicly suggested that U.S. intelligence agencies were leaking

information about him and repeatedly criticized them, for example asking, “Are we living in Nazi

Germany?”149

          117.159.       Notwithstanding the Trump administration’s negotiations with Defendant

bin Salman, the U.S. Intelligence Community continued to send important and public signals of

support for Mr. bin Nayef as late as February 2017. CIA Director Mike Pompeo presented Mr.

bin Nayef with the George Tenet Medal for his “excellent intelligence performance” in the domain

of counterterrorism.150

          118.160.       On March 14, 2017, President Trump hosted Defendant bin Salman in the

Oval Office and for a formal meal in the State Dining Room at the White House, his first visit to

the new Trump administration.151 Such visits are usually reserved for foreign heads of state, and

would thus not typically be offered to a person with Defendant bin Salman’s role, which, at the

time, was Deputy Crown Prince.152 According to Politico, the formal visit “raised eyebrows”




149
     Donald J. Trump (@realDonaldTrump), Twitter (Jan. 11, 2017, 7:48 AM),
https://twitter.com/realDonaldTrump/status/819164172781060096. (copy on file with Plaintiff’s
counsel).
150
   Bethan McKernan, CIA Awards Saudi Crown Prince With Medal for Counter-Terrorism Work,
Independent, (Feb. 13, 2017,), https://www.independent.co.uk/news/world/middle-east/cia-saudi-
arabia-crown-prince-muhammed-bin-naye-medal-counter-terrorism-work-intelligence-
a7577221.html.
151
   Hirschfeld Davis, supra note 8. Julie Hirschfeld Davis, Trump Meets Saudi Prince as U.S. and
Kingdom       Seek     Warmer       Relations,      N.Y.     Times     (Mar.     14,     2017),
https://www.nytimes.com/2017/03/14/world/middleeast/ mohammed-bin-salman-saudi-arabia-
trump.html.
152
      Kirkpatrick et al., supra note 66140.

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among U.S. foreign policy circles and signaled a White House preference for Defendant bin

Salman in the Saudi succession to the throne.153

         119.161.      By the spring of 2017, Defendant bin Salman was successfully cultivating

the support of senior White House officials, but the U.S. Intelligence Community remained

resistant and continued to rely upon their longstanding partner Mr. bin Nayef, supported by Dr.

Saad. Around this time period, Defendant bin Salman told Kushner that he had developed close

relationships with all U.S. agencies “except three”—a reference to the CIA, Federal Bureau of

Investigation (“FBI”), and National Security Agency (“NSA”).

         120.162.      In early May 2017, President Trump announced that he would visit Saudi

Arabia during the first foreign trip of his new administration. 154

         121.163.      On May 17, 2017—shortly before President Trump’s visit to Saudi Arabia,

and during the peak of Defendant bin Salman’s winning campaign to gain White House

influence—Politico reported that the Saudi Ministry of Interior, led by Mr. bin Nayef, signed a

lobbying contract with a Washington, D.C. lobbying firm with ties to the Trump administration. 155




153
  Kenneth P. Vogel & Theodoric Meyer, Trump Drawn into Saudi Game of Thrones, Politico,
(May 17, 2017,), https://www.politico.com/story/2017/05/17/donald-trump-saudi-arabia-238464.
154
    Mark Landler & Peter Baker, Saudi Arabia and Israel Will Be on Itinerary of Trump’s First
Foreign            Trip,         N.Y.          Times           (May           4,         2017),
https://www.nytimes.com/2017/05/04/us/politics/trump-to-visit-saudi-arabia-and-israel-in-first-
foreign-trip.html; see also Donald Trump, U.S. Pres., Remarks by President Trump at the National
Day of Prayer Event and Signing of the Executive Order on Promoting Free Speech and Religious
Liberty (May 4, 2017), https://www.whitehouse.gov/briefings-statements/remarks-president-
trump-national-day-prayer-event-signing-executive-order-promoting-free-speech-religious-
liberty/.
155
      Vogel & Meyer, supra note 72146.
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       122.164.        The very same day, fearing Defendant bin Salman’s assumption that Dr.

Saad was involved in Mr. bin Nayef’s efforts in the United States, Dr. Saad fled Saudi Arabia for

Turkey, concerned for his safety after having received credible intelligence from a reliable partner

that he and Mr. bin Nayef’s lives were at risk because of the threat Defendant bin Salman believed

theyhe posed to his efforts to consolidate personal political support in the United States.

       123.165.        Dr. Saad’s fears were well founded. By the evening of May 17, 2017,

Defendant bin Salman demanded the arrest of anyone associated with the Ministry of Interior’s

U.S. lobbying effort. Defendant Alqahtani ordered the arrest of the Ministry of the Interior’s

signatory of the U.S. lobbying contract, who was detained for approximately one week and

aggressively questionedinterrogated about the contract. The captors asked about Dr. Saad’s role

in the U.S. lobbying contract and demanded he pay a price too. Dr. Saad was later warned in a

WhatsApp message from his former colleague, General Abdulaziz Howairini, that the captors

“were very eager” to get Dr. Saad. 156

       124.166.        A few days later, from May 20 to 21, 2017, the Trump Administration,

including President Trump and Kushner, visited Saudi Arabia. During the visit, the White House

announced an agreement in which Saudi Arabia would invest more than $350 billion in U.S.

defense manufacturers, the largest arms deal in U.S. history. 157 The announcement marked a



156
  WhatsApp message from Gen. Abdulaziz Howairini to Dr. Saad (June 17, 2017, 7:07 PM
AST)).
157
   Javier E. David, US-Saudi Arabia Seal Weapons Deal Worth Nearly $110 Billion Immediately,
$350 Billion Over 10 Years, CNBC, (May 20, 2017,), https://www.cnbc.com/2017/05/20/us-
saudi-arabia-seal-weapons-deal-worth-nearly-110-billion-as-trump-begins-visit.html.;  Bonnie
Kristian, Trump Signs Largest Arms Deal in American History with Saudi Arabia, The Week (May

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months-long campaign by Defendant bin Salman to win the personal support of the new Trump

administration.

          125.167.     Dr. Saad’s fears about what would follow from Defendant bin Salman’s

newfound White House support proved well-founded. Since Dr. Saad’s departure, Defendant bin

Salman has engaged in a global campaign—including in the United States—to find and kill Dr.

Saad, as part of a larger effort to remove any threats to the White House support Defendant bin

Salman had so carefully cultivated.

III.      Defendant bin Salman Attempts to Lure Dr. Saad Back to Saudi Arabia, Where He
          Could Easily Be Killed.


          126.168.     In the immediate aftermath of Dr. Saad’s escape from Saudi Arabia, and in

the years since, Defendant bin Salman has been engaged in a continued attempt to extrajudicially

kill Dr. Saad. The first part of that attempted extrajudicial killing consisted of Defendant bin

Salman’s attempts to lure Dr. Saad back to Saudi Arabia, where he could easily be killed.

Defendant bin Salman has personally sent Dr. Saad threatening written messages, making clear

his intent to use “all available means” to compel Dr. Saad’s return. 158 Further, Defendant bin

Salman has detained and “disappeared” Dr. Saad’s children and, relatives, and associates, using

them as a crude form of human bait in an effort to lure Dr. Saad to Saudi Arabia so that he can be

killed.




20, 2017), https://theweek.com/speedreads/700428/trump-signs-largest-arms-deal-american-
history-saudi-arabia.
158
      WhatsApp messages from Defendant bin Salman to Dr. Saad (Sept. 10, 2017, 4:56 PM AST).
                                               91
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       A.      Defendant bin Salman Attempts to Lure Dr. Saad Into Returning to Saudi
               Arabia from Turkey to Facilitate His Extrajudicial Killing.

       127.169.       After Dr. Saad fled Saudi Arabia, Defendant bin Salman tried to bait him

into returning to the country, where he would be at the mercy of Defendant bin Salman and his

henchmen.

       128.170.       In particular, beginning on June 18, 2017, Defendant bin Salman sentused

the messaging program WhatsApp to send messages to Dr. Saad—, who had fled to Turkey—via

the messaging program WhatsApp.159 Defendant bin Salman attempted to convince Dr. Saad to

return to Saudi Arabia under the pretext of a reconciliatory meeting among Defendant bin Salman,

Mr. bin Nayef, and Dr. Saad. After Defendant bin Salman inquired about Dr. Saad’s return, Dr.

Saad—seeking an excuse to delay any return—advised that he could not return sooner than June

24, 2017 because of ongoing medical care and offered instead to meet. Defendant bin Salman

outside of Saudi Arabia. Defendant bin Salman urgently insisted on Dr. Saad’s return to Saudi



159
    WhatsApp, incorporated in Delaware, is headquartered in California. Contact WhatsApp,
WhatsApp, https://www.whatsapp.com/contact/ (last visited July 30, 2020). Feb. 2, 2021). It is
owned by Facebook, also headquartered and incorporated in the United States. How We Work with
the Facebook Companies, WhatsApp, https://faq.whatsapp.com/general/security-and-
privacy/how-we-work-with-the-facebook-companies?eea=1 (last visited Feb. 2, 2021); Company
Info, Facebook, https://fb.com/company-info (last visited Feb. 2, 20201). Before June 2017,
WhatsApp’s servers were located in the United States; after June 2017, they were reportedly hosted
on Facebook’s servers, which have multiple locations in the United States. Candace Carlisle,
Facebook'sFacebook’s Fort Worth, U.S. Data Centers Contributing Nearly $6B in GDP Growth,
Study        Says,       Dall.       Bus.        J.,         .      (Mar.         1,       2018,),
https://www.bizjournals.com/dallas/news/2018/03/01/facebooks-fort-worth-u-s-data-centers-
contributing.html; Tanwen Dawn-Hiscox, Facebook Toto Move Whatsapp Workloads From
IBM'sIBM’s Cloud to its Own Data Centers, Data Ctr. Dynamics, (June 13, 2017,),
https://www.datacenterdynamics.com/en/news/facebook-to-move-whatsapp-workloads-from-
ibms-cloud-to-its-own-data-centers/.

                                               92
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Arabia sooner than that, writing, “If you could come a few days earlier, it would be very

convenient, if you can.”160 On information and belief, Defendant bin Salman knew that days later

he would stage a violent coup, and wanted Dr. SaadSaad, as one of Mr. Bin Nayef’s key associates,

within his grasp before Defendant bin Salman’s intentions became apparent.

          129.171.      A few days later, on June 20, 2017, Defendant bin Salman orchestrated a

coup in which he ousted Mr. bin Nayef from power and assumed the mantle of Crown Prince of

Saudi Arabia. After being detained overnight in the Royal Court, armed guards placed Mr. bin

Nayef under house arrest.161 Upon information and belief, Defendant bin Salman considered Mr.

bin Nayef a particular impediment to the throne because, like Dr. Saad, he had a strong partnership

with the U.S. Intelligence Community. 162 After the coup, the U.S. Intelligence Community feared

that the ouster of Mr. bin Nayef would interrupt the United States’ access to valuable intelligence

from Saudi Arabia.163

          130.172.      On June 20, 2017, Defendant bin Salman sent additional WhatsApp text

messages to Dr. Saad, again relying on U.S.-based servers, in which he continued to pressure Dr.

Saad to return to Saudi Arabia. Dr. Saad again cited his ongoing need for medical treatment to



160
      WhatsApp messages from Defendant bin Salman to Dr. Saad (June 18, 2017, 5:28 PM AST).
161
   Dexter Filkins, A Saudi Prince’s Quest to Remake the Middle East, New Yorker, (Apr. 2,
2018,), https://www.newyorker.com/magazine/2018/04/09/a-saudi-princes-quest-to-remake-the-
middle-east.
162
      Addiction and Intrigue, supra note 64138.
163
    Ben Hubbard & Eric Schmitt, Saudi Official Who Was Thought To Be Under House Arrest
Receives      a      Promotion,     N.Y.       Times,            (July      20,      2017,),
https://www.nytimes.com/2017/07/20/world/middleeast/saudi-arabia-abdulaziz-al-huwairini-
salman-cia.html.

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justify his inability to return. Specifically, Dr. Saad told Defendant bin Salman that he was “setting

out for Boston at dawn today” to seek medical treatment. 164           As described further below,

knowledge of Dr. Saad’s ties to Boston, Massachusetts caused Defendant bin Salman to launch a

months-long effort to deploy covert agents in the United States to hunt him there.

         131.173.      Defendant bin Salman’s attempts to bait Dr. Saad’s return soon turned into

demands. Demands soon turned into threats. Threats turned into cold-blooded determination:

Defendant bin Salman promised to “use all available means” and “take measures that would be

harmful to you.”165

         132.174.      On September 7, 2017, Dr. Saad—desperately hoping to secure the safe

departure of Omar and Sarah from Saudi Arabia after the imposition of a travel ban targeting

them—made a personal plea to Defendant bin Salman using WhatsApp, begging for Defendant

bin Salman’s permission for their travel to the United States to resume their studies. 166 Defendant

bin Salman refused and responded tersely, focused singularly on Dr. Saad’s return to Saudi Arabia:

“When I see you I will explain everything to you.”167

         133.175.      Two days later, on September 9, 2017, Defendant bin Salman sought to

deploy his newfound leverage against the begging father. Defendant bin Salman demanded that

Dr. Saad—who was still in Turkey—immediately return to Saudi Arabia. Defendant bin Salman




164
      WhatsApp message from Dr. Saad to Defendant bin Salman (June 20, 2017, 6:10 PM AST).
165
      WhatsApp message from Defendant bin Salman to Dr. Saad (Sept. 10, 2017, 4:56 PM AST).
166
      WhatsApp message from Dr. Saad to Defendant bin Salman (Sept. 7, 2017, 11:21 AM AST).
167
      WhatsApp message from Defendant bin Salman to Dr. Saad (Sept. 7, 2017, 9:46 PM AST).

                                                 94
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suggested he wanted “to come to an understanding with you regarding your future situation.” 168

Over the course of a five-hour text message exchange, Defendant bin Salman repeatedly demanded

Dr. Saad’s immediate return, insisting that “I want you to come back tomorrow”:




      September 9, 2017 WhatsApp exchange between Defendant bin Salman and Dr. Saad

         134.176.      Notwithstanding Defendant bin Salman’s demands, Dr. Saad did not agree

to return to Saudi Arabia.




168
      WhatsApp message from Defendant bin Salman to Dr. Saad (Sept. 9, 2017, 11:05 PM AST).
                                              95
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         135.177.      The next day, on September 10, 2017, Defendant bin Salman, with the

assistance of Defendant Alasaker, attempted to secure the return of Dr. Saad by private jet.

Defendant bin Salman began a new WhatsApp exchange with Dr. Saad by asking, “Doctor, where

should we dispatch the airplane to fetch you?”169 After Defendant bin Salman sent that message,

Defendant Alasaker repeatedly phoned and sent WhatsApp messages to Dr. Saad, attempting to

coordinate the time and place of a private jet that would bring Dr. Saad back to Saudi Arabia. 170

Dr. Saad—well aware that Defendant bin Salman had previously accomplished the extrajudicial

rendition of his targets through use of a private jet, only for them to face detention and torture in

Saudi Arabia at the hands of the Tiger Squad—refused to cooperate.

         136.178.      On September 10, 2017, Defendant bin Salman determined that demands

for cooperation were not enough.        In another WhatsApp message, Defendant bin Salman

threatened that he would use “all available means” to silence Dr. Saad. 171 Defendant bin Salman

warned of a coming escalation, in which he would personally “take legal measures, as well as

other measures that would be harmful to you” (emphasis added).                  Referencing bogus




169
      WhatsApp message from Defendant bin Salman to Dr. Saad (Sept. 10, 2017, 8:19 AM AST).
170
   Defendant Alasaker’s role in attempting to return Dr. Saad to Saudi Arabia was consistent with
his role as Defendant bin Salman’s right-hand man responsible for achieving Defendant bin
Salman’s personal goals in his position as both the head of Defendant bin Salman’s private office
and Secretary-General of Defendant bin Salman’s private foundation, through which he funded
and cultivated a network of covert agents in the United States that he deployed to target Dr. Saad.
Defendant bin Salman himself made Defendant Alasaker’s import explicit: on one occasion,
Defendant bin Salman explicitly directed Dr. Saad to communicate with Defendant bin Salman by
delivering a message to Defendant Alasaker.
171
      WhatsApp message from Defendant bin Salman to Dr. Saad (Sept. 10, 2017, 4:56 PM AST).

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allegations172 Alleging that Dr. Saad was “involved in many large cases of corruption, that have

been proven,” Defendant bin Salman threatened Dr. Saad with “two choices”: either.” First, Dr.

Saad could “return to the Kingdom, where you will be placed under house arrest,” or until you

answer some questions that relate to issues of corruption.”173 (Days later, Dr. Saad’s son-in-law

was made to do exactly that, while blindfolded, handcuffed, and repeatedly lashed and beaten with

a metal bar, until his body was bloodied, black, and blue. See infra ¶¶ 197–203.) Defendant bin

Salman’s second choice was that Dr. Saad could become the target of a worldwide manhunt, in

which Dr. Saad would be pursued “using all available means,” beginning with the filing of

bogusunspecified corruption allegations through INTERPOL in an attempt to “turn you over” to

his men.174 “There is no state in the world that would refuse to turn you over,” Defendant bin

Salman insisted. “You have one hour to decide,” Defendant bin Salman wrote, promising

ominously that “we shall certainly reach you.”175




172
      Id.
173
      Id.
174
      Id.
175
      Id.
                                               97
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      September 10, 2017 WhatsApp message from Defendant bin Salman to Dr. Saad
              (translated excerpts from original Arabic language message)

       137.179.        On or around September 11, 2017, while still residing in Turkey, Dr. Saad

learned that Defendant bin Salman was pressuring the Government of Turkey to formally

extraditeforcibly return Dr. Saad to Saudi Arabia. On information and belief, in or around

September 2017, Defendant bin Salman’s agents sent a list of extradition requestsindividuals they

wanted to the Government ofbe returned from Turkey to Saudi Arabia. Were there any doubts as

to Defendant bin Salman’s intentions for Dr. Saad, the fate of the other individuals on that list

resolved it: the list included Dr. Saad as well as several individuals who, upon their later return to

Saudi Arabia, were each subsequently “disappeared.”




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         138.180.      Dr. Saad fled Turkey on or around September 12, 2017, and traveled in

secret to Toronto, Canada. For his safety, Dr. Saad had last told Defendant bin Salman that he was

heading to Boston, Massachusetts.

         B.     Defendant bin Salman KidnapsTargets Dr. Saad’s Children in Saudi Arabia
                to Lure His Return so that He Can Be Killed.


         139.181.      In addition, Defendant bin Salman has waged an all-out effort to use Dr.

Saad’s children “as leverage to try to force their father’s return to the kingdom,” as described by

U.S. Senators Leahy, Rubio, Kaine, and Van Hollen. 176

         140.182.      On June 21, 2017, Defendant bin Salman prohibited two of Dr. Saad’s

children, Omar and Sarah, from leaving Saudi Arabia to attend school in the United States, even

though both held valid U.S. F-1 student visas.immigration documents showing they were eligible

to study in the United States. Defendant bin Salman imposed the prohibition one day after ousting

Mr. bin Nayef from power. At the time, Omar was eighteen years old and Sarah was seventeen

years old. Omar and Sarah went to the King Khalid International Airport in Riyadh to board a

flight to Boston, Massachusetts (via Turkey), but were told by border security that they were not

permitted to leave the country because they were subject to a travel ban..

         141.183.      That same day, again through WhatsApp text messages, Dr. Saad pled with

Defendant bin Salman to allow his children to leave Saudi Arabia. 177 Defendant bin Salman

ignored the request.



176
   July 7, 2020 Letter from Senator Patrick Leahy, Senator Marco Rubio, Senator Tim Kaine &
Senator Chris Van Hollen to President Donald Trump, supra note 60130.
177
      WhatsApp message from Dr. Saad to Defendant bin Salman (June 21, 2017, 2:42 PM AST).
                                                99
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         142.184.      Several months later, in a WhatsApp message to Dr. Saad on September 9,

2017, Defendant bin Salman explicitly linked the travel ban on Dr. Saad’s children with Dr. Saad’s

return to Saudi Arabia: he said that “I want to resolve this problem of your son and daughter,” but

that Dr. Saad needed to return to Saudi Arabia for him to do so.178 Dr. Saad did not take the bait,

and to this day, Dr. Saad’s son and daughter remain trapped in Saudi Arabia.

         143.185.      As a result of Defendant bin Salman’s travel banactions, Omar and Sarah

were unable to resume their educationseducation in the United States, as had been long planned.

Omar had already taken classes in Boston, Massachusetts, while Sarah had just finished high

school exams in Saudi Arabia. Both children had already been accepted to educational institutions

in Boston, Massachusetts and paid tuition. Omar was to study towards an undergraduate degree

at Suffolk University and Sarah in the two-year International Baccalaureate Program at the British

International School of Boston. On information and belief, their absence caused each educational

institution to contact U.S. immigration authorities about their whereabouts.

         186.   In or around September 2018, Defendant bin Salman—not content with only two

Aljabri children under his control—attempted to lure Dr. Saad’s daughter, Hissah Almuzaini, to

the Saudi consulate in Istanbul only several weeks before Defendant bin Salman had the Tiger

Squad kill Jamal Khashoggi at the very same consulate. At the time, Hissah’s husband, Salem

Almuzaini, was prohibited from leaving Saudi Arabia and was periodically ordered to report to a

close aide to Defendant bin Salman—Salah Aljotaili—for interrogations about Dr. Saad and the

Aljabri family. Hissah and their children were living in Istanbul, Turkey. Aljotaili began asking



178
      WhatsApp message from Defendant bin Salman to Dr. Saad (Sept. 9, 2017, 11:05 PM AST).
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Salem about Hissah and their children, and started pressuring Salem to return his family to Saudi

Arabia. Aljotaili specifically asked Salem about Hissah’s expired Saudi passport and why she had

not renewed it. At a series of interrogations in September 2018, days and weeks before Jamal

Khashoggi’s killing, Aljotaili repeatedly pressured Salem to convince Hissah to enter the Saudi

consulate in Istanbul to renew her passport. Even after Salem informed Aljotaili that she had no

intention of returning to Saudi Arabia, Aljotaili continued to plead that Hissah should nonetheless

enter the Saudi consulate in Istanbul to “fix” her papers in such an insistent manner that, at the

time, Salem and Hissah viewed as puzzling. Fortunately for Hissah, she never went to the

consulate. After Jamal Khashoggi entered the very same consulate days later, Hissah learned the

fate awaiting her if she had obeyed Aljotaili’s demands.

       144.187.        In March 2020, having still been unable to lure Dr. Saad or his daughter

Hissah back to Saudi Arabia, Defendant bin Salman went further, kidnapping theDr. Saad’s

children Omar and Sarah in a dawn raid.

       145.188.        Specifically, on March 9, 2020, a close aide to Defendant bin Salman

calledAljotaili sent a WhatsApp message to a relative of Dr. Saad living in Saudi Arabia and

requested an in-person meeting with Omar (then age twenty--one) and Sarah (age twenty), which

took place that afternoon. At the time, Omar and Sarah—prohibited by Defendant bin Salman

from leaving the country since June 2017—were living in a house in Riyadh, Saudi Arabia. At

the meeting, aides to Defendant bin Salman pressured Omar and Sarah to convince Dr. Saad to

return to Saudi Arabia and advised Omar that he and Sarah would not be able to leave Saudi Arabia

until Dr. Saad returned.



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                            Dr. Saad’s Children Omar and Sarah

       146.189.       In the early morning hours of March 16, 2020, more than fifty armed men

in unmarked cars and dressed in civilian clothes raided the Aljabri residence and seized Omar and

Sarah from their beds. On information and belief, they were acting under the supervision of a

close aide to Defendant bin Salman, Salah Aljotaili. The armed men also took eight bags of

household effects, the memory drive with the household’s CCTV footage, and the keys to the

house. The men provided no reason for Omar and Sarah’s arrest, nor did they furnish any

document authorizing their removal. Dr. Saad has not seen or spoken to his children, Sarah or

Omar, since.

       147.    Dr. Saad has not seen his children, Sarah or Omar, since. Dr. Saad does not know

if they are safe. His inquiries with the head of Saudi State Security have gone unanswered.

       190.    For six months Omar and Sarah were “disappeared” with no information about their

status or whereabouts available. That only changed after Dr. Saad filed this instant action before

this Court. Approximately one month after Dr. Saad filed his initial complaint in this Court,

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Defendant bin Salman orchestrated pretextual criminal proceedings against Omar and Sarah—and

then used those criminal proceedings to argue that this action should be dismissed because the

prosecution of Dr. Saad’s children constitutes a sovereign act entitling Defendant bin Salman to

immunity from suit. Dkt. 58 at 35. Defendant bin Salman failed to mention that the proceedings

were conducted in a manner wholly inconsistent with Saudi law. Consistent with the extrajudicial

nature of their detention, the charging documents that the attorney for Omar and Sarah received in

connection with the criminal proceedings were unnamed, unsigned, undated, and printed on paper

without any formal letterhead.179 Following the completion of these sham proceedings, the judges

and clerks involved in the case have disappeared, and all Ministry of Justice court records

regarding the case have been deleted. Although Omar and Sarah exercised their right to appeal,

records pertaining to the appeal have disappeared, and there is no indication that the appeal will in

fact be considered. Defendant bin Salman’s aides are also now intimidating Omar and Sarah’s

lawyer, aggressively interrogating him about the representation of his clients. Defendant bin

Salman also further restricted Omar and Sarah’s already limited contact with the outside world. 180

Defendant bin Salman’s orchestration of these pretextual proceedings in Saudi Arabia reflects an

obvious attempt to escape justice in the courts of the United States and continue his persecution of

Dr. Saad and his family members.

       191.    Dr. Saad and his family reasonably fear that Omar and Sarah are in grave danger.




179
    See Saudi L. Crim. P., Art. 126(7) (requiring that charge sheet contain “the name and signature
of the member of the Bureau of Investigation and Public Prosecution”).
180
   Article 116 of the Saudi Law of Criminal Procedure provides detainees with the right to contact
a person of their choice. See Saudi L. Crim. P., Art. 116.
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          148.192.       On information and belief, the continued detention and disappearance of

Omar and Sarah is nowbeing supervised and enforced by Aljotaili at the direction of Defendant

bin Salman.

          193.    The incommunicado detention of Omar and Sarah has been sharply criticized by

neutral observers. A bipartisan group of respected U.S. senators formally expressed their deep

concern to the President of the United States about the use of Omar and Sarah “as leverage to try

to force their father’s return to the kingdom.”181 The U.S. Department of State has declared “[a]ny

persecution of Dr. Aljabri’s family members is unacceptable” and stressed “the importance of

respect for the rule of law and freedom from arbitrary detention.” 182

          149.194.       As soon as Dr. Saad learned about the kidnapping on March 16, 2020, —

and recognized that Defendant bin Salman may torture or kill his children unless he returns to

Saudi Arabia or is himself killed—he suffered severe and intense emotional distress. Haunted, Dr.

Saad could not sleep.        He met with his primary care physician and obtained prescription

medication.      Dr. Saad’s hypertension and glucose levels became out of control, requiring

additional medication, and he experienced severe headaches and fatigue. Dr. Saad’s wife could

not stop crying. Dr. Saad was and remains tormented by what is happening to his young son and

daughter. and his fear that Defendant bin Salman will not relent until Dr. Saad is dead.




181
    July 7, 2020 Letter to President Trump; see also Nick Wadhams & Vivian Nereim, Senators
Press Trump to Help Free Children of Saudi Ex-Official, Bloomberg (July 9, 2020),
https://www.bloomberg.com/news/articles/2020-07-09/senators-press-trump-to-help-free-
children-of-saudi-ex-official.
182
      Aug. 6, 2020 State Dep’t Letter, supra note 5, at 1.

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         150.195.      Based on Defendant bin Salman’s conduct to date, Dr. Saad has significant

reason to fear for his children’s safety. Indeed, Defendant bin Salman has made clear—in fact has

stated explicitly—that he will use “all available means,” including extrajudicial “measures that

would be harmful,” to extract information about Dr. Saad and coerce his return to Saudi Arabia so

that he can be arrested, tortured and ultimately put to death.183

         C.     Defendant bin Salman Arrests and Tortures Additional Relatives of Dr. Saad
                to Lure Dr. Saad Back to Saudi Arabia So That He Can Be Killed.


         151.196.      In addition to the direct personal threats and kidnapping of Dr. Saad’s

children Omar and Sarah, Defendant bin Salman continued to search for additional sources of

leverage to coerce Dr. Saad’s return to Saudi Arabia. With international borders no hindrance,

Defendant bin Salman sought Dr. Saad’s relatives wherever they could be found.

         152.197.      On or around September 26, 2017, a relative of Dr. SaadSaad’s son-in-law,

Salem Almuzaini, was arrested on the streets of Dubai, in the Saudi-allied United Arab Emirates,

and promptlyforcibly rendered to Saudi Arabia.

         198.   Saudi agents of Defendant bin Salman imprisoned the relative in the maximum-

security al-Ha’ir prison in Riyadhdisappeared Salem for more than one month and subjected him

to severe physical and psychological torture.       The Saudi agentsMembers of Defendant bin

Salman’s Tiger Squad team lashed Salem hundreds of times with a belt and battered his head and

body. They brutally beat his feet with a metal bar hundreds of times, turning his feet black and

blue, splitting open his skin, and creating a river of blood flowing down his legs. Most of the time,



183
      WhatsApp messages from Defendant bin Salman to Dr. Saad (Sept. 10, 2017, 4:56 PM AST).
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Salem was blindfolded and handcuffed. He was forced to touch an electric stick that electrocuted

him. One time, food was thrown on the floor and he was told to eat it off the floor with his mouth,

like a dog; they threatened to beat him if he did not do so. The Tiger Squad team explicitly told

the relativeSalem he was being tortured as a proxy for Dr. Saad.

       199.    During one torture session, after reviewing text messages on Salem’s phone, one of

the Tiger Squad team members hit Salem in the face, asking, “Why do you insult the Crown

Prince?”

       153.200.       During and between bouts of the harrowing torture, the Tiger Squad team

interrogated Salem about Dr. Saad’s location. The Tiger Squad team also interrogated Salem about

why Dr. Saad. would not return to Saudi Arabia, and whether Dr. Saad would return to Saudi

Arabia once he learned that Salem was being detained. The Tiger Squad team even asked for

Salem’s advice on who they should detain to successfully coerce Dr. Saad’s return to Saudi Arabia.

       201.    Dr. Saad’s relativeSalem was later transferred to the Ritz Carlton in Riyadh, which

Defendant bin Salman had turned into a makeshift prison. While there, Salem was escorted to an

area where he heard beatings and screaming. As his interrogation began, he was asked if he wanted

to do this “the hard way or the easy way.”

       202.    Under direct threats of further torture, Salem was coerced into signing documents

that he barely glimpsed which concerned the financial activities of Dr. Saad and others.

       203.    Defendant Alqahtani personally participated in the torture of Salem and directed a

team of Tiger Squad members to carry it out. Salem’s torturers and interrogators also included at

least eight members of the Tiger Squad team who carried out the killing of Jamal Khashoggi one



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year later: Maher Mutreb, Badr Lafi Alotaibi, Meshal Albostani, Mohamed Alzahrani, Saif Saad

Alqahtani, Abdulaziz Alhawsawi, Mustafa Almadani, and Fahad Shabib Albalawi.

       154.204.        Salem was eventually released in January 2018, but since that time has had

to wear an ankle bracelet and report periodically to Saudi agents for —usually Defendant bin

Salman’s close aid Salah Aljotaili—for questioning, which has focused on Dr. Saad and his family.

He cannot leave Saudi Arabia and cannotFor example, Aljotaili would ask for Dr. Saad’s location,

his activities, and his future intentions. Salem was specifically told that he was being released so

that he could serve as a contact with Dr. Saad and his family—but he was prohibited from leaving

Saudi Arabia and could not be reunited with his family in Turkey. wife and children.

       205.    In addition, in May 2020, Defendant bin Salman’s henchmen arrested Dr.On

August 24, 2020, little more than two weeks after Dr. Saad filed the instant lawsuit against

Defendants in this Court, Defendant bin Salman’s close aide Aljotaili summoned Salem to his

office. He has not been seen since. He has not been charged with any crime. Dr. Saad and his

family do not know Salem’s condition but reasonably fear that Salem is again being tortured, as

he was during his prior disappearance.

       206.    Over the past year, Defendant bin Salman has continued to ratchet up his efforts to

create additional sources of leverage to force Dr. Saad to return to Saudi Arabia.           In all,

approximately twenty of Dr. Saad’s family, friends, and business associates have been kidnapped

by Defendant bin Salman’s henchmen and held incommunicado in secret locations without any

charges, in blatant violation of both Saudi and international law. Nine of these individuals were

detained only after Dr. Saad filed his initial complaint in this Court. With few exceptions, each of

these individuals remains in detention today, without charges or legal process.
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       207.   In March 2020, Defendant bin Salman’s henchmen detained Sadig Makrad, Dr.

Saad’s house caretaker, and Hasan Alshihri, an Aljabri family friend, in Riyadh.

       155.208.       In May 2020, Defendant bin Salman’s henchmen detained Dr. Saad’s

brother, Abdulrahman Aljabri (“Abdulrahman”) in Riyadh, Saudi Arabia. In a dawn raid, an

armed team wearing masks stormed Abdulrahman’s house, seized money, and took him into

custody, where he remains to this day.

       209.   Moreover, inThat same month, Defendant bin Salman’s henchmen detained the

Aljabri family doctor, Dr. Abdulrahman N. Alghazi.

       156.210.       In June 2020, Defendant bin Salman’s henchmen arrested and detained Dr.

Saad’s nephew, Majid Almuzaini (“Majid”), in Riyadh, Saudi Arabia. Defendant bin Salman’s

agents interrogated Majid about Dr. Saad. They also inquired about recent media coverage in the

United States about the kidnapping of Omar and Sarah.

       211.   In July 2020, Defendant bin Salman’s henchmen detained two former business

associates of Dr. Saad and Mr. bin Nayef, Abdullah Alsuwailem and Abdullah S. Alhammad.

       212.   In August 2020—after the filing of the instant action—Defendant bin Salman’s

henchmen detained two individuals who were former members of Dr. Saad’s staff when he worked

in the Saudi government, Mansor Albogami and Torki Albogami.

       213.   On or around September 6, 2020, Defendant bin Salman’s henchmen detained a

relative of Dr. Saad while he was working his shift at his place of employment in Saudi Arabia.

       214.   On or around September 13, 2020, Defendant bin Salman’s henchmen detained the

former Undersecretary of the Saudi Ministry of Interior and a friend of Dr. Saad, Hamad K.

Alrashid.
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       215.    Also in September 2020, Defendant bin Salman’s henchmen arrested and detained

a former employee in Dr. Saad’s office, Bander A. Albogami, and the son of a friend of Dr. Saad

who lives in exile.

       216.    In October 2020, Defendant bin Salman’s henchmen arrested and detained a

prominent businessman and professional associate of Dr. Saad, Abdulhakeem Alsaadi, in Jeddah,

Saudi Arabia, as well as a banker of Dr. Saad, Mishal N. Alhamidi.

       217.    In November 2020, Defendant bin Salman’s henchmen arrested a former business

associate of one of Dr. Saad’s sons, Ahmed Althekair, releasing him several weeks later only to

ambush him at a mall and detain him again soon thereafter.

       D.      Defendant bin Salman Attempts to Coerce the Return of Dr. Saad’s Son from
               the United States in an Effort to Lure Dr. Saad to Return So That He Can be
               Killed.


       157.218.        Defendant bin Salman further used one of Dr. Saad’s sons in the United

States, Khalid Aljabri (“Khalid”), as a pawn in his efforts to drawlure Dr. Saad back to Saudi

Arabia by interfering with Khalid’s ability to studylegal status in the United States.

       219.    TheAs discussed in detail supra ¶¶ 76–108 and infra ¶¶ 225–46, Defendant bin

Salman has repeatedly used Saudi students in the United States as tools to advance his own private

objectives.    This clandestine network serves as an alternative to official government

instrumentalities, and using it allows Defendant bin Salman to take cover under the veneer of

seemingly legitimate front organizations, such as Defendant MiSK.




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       220.    Defendant bin Salman’s control over Saudi students in the United States extends to

making decisions about the funding of their education in the United States. See supra ¶¶ 81–84;

infra ¶¶ 227–33.

       158.221.        Like many other Saudi students in the United States, Dr. Saad’s son Khalid

relied on funding ultimately controlled by Defendant bin Salman to study—and therefore maintain

legal residence—in the United States. Indeed, the Saudi Ministry of Interior had previously

authorized a scholarship for Khalid to continue his studies in the United States by

completingthrough an MBA program at the Massachusetts of Technology (“MIT”).”), after Khalid

had already completed an extensive medical education. In July 2017—soon after Dr. Saad fled

Saudi Arabia—Defendant bin Salman’s agents suddenly cut off Khalid’s scholarship, which was

necessaryessential to continue his studies in the United States.

       159.222.        On information and belief, Defendant bin Salman’s agents believed that by

cuttingCutting off Khalid’s scholarship, he would no longer could have deprived him of a basis

for legal residence in the United States. On information and belief, Defendant bin Salman believed

that if he could force Khalid’s return to Saudi Arabia—where he could be detained, tortured, or

worse—his father would soon follow.

       E.      Defendant bin Salman Attempts to Lure Dr. Saad to Territory Where He Can
               More Easily Kill Dr. Saad .


       160.223.        In addition to the efforts to coerce Dr. Saad’s return to Saudi Arabia,

Defendant bin Salman and his agents also made several attempts in December 2017 to lure Dr.

Saad to return to Turkey, where they knew he would be more vulnerable to attack—as the killing

of Jamal Khashoggi in Turkey proved correct. These efforts—undertaken by one of Defendant

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bin Salman’s agents who pursued Dr. Saad in the United States and as part of an effort to deploy

INTERPOL to restrict the movements of the Aljabri family—are described further below at

paragraphs 174252 and 177254.

IV.      Defendant bin Salman Hunts Dr. Saad in the United States and Deploys “All
         Available Means” to Trap Him So That He Can Be Killed.


         161.224.      Defendant bin Salman’s attempted extrajudicial killing also involved efforts

to hunt and trap Dr. Saad so that he could be located and susceptible to attack. In parallel to his

attempts to coerce Dr. Saad’s return to Saudi Arabia, Defendant bin Salman took measures to track

Dr. Saad down in the United States and Canada, and to trap him in place. These measures included

deploying a coordinated team of covert agents on the ground in the United States to locate Dr.

Saad, restricting Dr. Saad’s movement through the issuance of INTERPOL notices, and abruptly

cutting off access to financial resources. All of this conduct All of this conduct—which occurred

at the same time that the Tiger Squad, at the behest of Defendant Alqahtani, was torturing Dr.

Saad’s son-in-law in Saudi Arabia to find Dr. Saad—was undertaken in an effort to tighten

Defendant bin Salman’s grip on Dr. Saad and line him up for a hit squad.

         A.     Defendants bin Salman and Alasaker Orchestrate a Hunt for Dr. Saad in the
                United States Using Trusted Operatives.


         162.225.      Beginning in September 2017—within days of Defendant bin Salman’s

September 10 threat to usecome after Dr. Saad using “all available means” to get Dr. Saad,,”

including non-legal “measures that would be harmful to you”—[him],”184 and continuing at least



184
      WhatsApp message from Defendant bin Salman to Dr. Saad (Sept. 10, 2017, 4:56 PM AST).
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through December 2017, Defendants bin Salman and Alasaker orchestrated a hunt to track down

Dr. Saad in the United States. Determined to kill Dr. Saad, and having been told by Dr. Saad in

June 2017 that he was “setting out for Boston at dawn,” 185 Defendant bin Salman deployed agents

in the United States to hunt him down.

         163.226.      On information and belief, Defendant bin Salman’s agents in the United

States—including the U.S.-Based Covert Agent Defendants—had been recruited and were

cultivated and given a veneer of legitimacy by Defendant Alasaker through theDefendant MiSK

Foundationand other affiliated student organizations, and Defendant Alasaker, the “Secretary-

General” of the Defendant MiSK Foundation, directed their activities in the United States. In

recruiting and deploying these covert agents in the United States, Defendants bin Salman and

Alasaker were following a similar playbook to that which they had used two years earlier, when,

using a shell company financed through Defendant MiSK, they orchestrated a scheme to infiltrate

Twitter via U.S.-based employees, whom theywho had come to the United States as university

students and were tasked with obtaining personal information about critics of Defendant bin

Salman.186


185
      WhatsApp message from Dr. Saad to Defendant bin Salman (June 20, 2017 6:10 PM AST).
186
    That scheme is the subject of a criminal indictment brought in the Northern District of
California. See United States v. Abouammo, No. 3:19-cr-00621-EMC (N.D. Cal. filed Nov. 19,
2019). In both schemes, Defendant Alasaker, acting on behalf of Defendant bin Salman, reached
out to Saudi individuals living in the United States in order to recruit them as agents for Defendant
bin Salman. Superseding Indictment ¶ 26, United States v. Abouammo, No. 3:19-cr-00621-EMC
(N.D. Cal. July 28, 2020), ECF No. 53. He did this through a variety of means in both cases,
including by personally contacting would-be covert agents, reaching out to them via trusted
intermediaries, and using Saudi organizations in the United States for legitimacy (including, in Dr.
Saad’s case, using Defendant MiSK Foundation as a front). See id. Once the individuals in each
case had been contacted, Defendant Alasaker used reassurances of patriotism and monetary

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       227.     On information and belief, each Furthermore, Defendant bin Salman’s deployment

of the U.S.-Based Covert Agent Defendants was aware that their orders came from Defendant

Alasaker, and thus ultimately from Defendant Bin Salman, and —several of whom were students

at U.S. universities with leadership roles in Saudi student “clubs” and public relations

organizations allied with Defendant bin Salman—reflected the realization of deliberate efforts on

Defendant bin Salman’s part to cultivate and control a cadre of loyal operatives on the ground in

the United States. Like other Saudi students in the United States, these student operatives were

subject to the ultimate control and authority of Defendant bin Salman, who is personally involved

in decisions around the funding and discipline of Saudi students. However, these operatives were

distinct from ordinary Saudi students in critical ways that underscore their significance to

Defendant bin Salman and his mission. In particular, they regularly interacted with members of

Defendant bin Salman’s inner circle (including Defendant Alasaker and the head of SACM,

Mohammed Alessa), were handed key public-facing roles in prominent public relations

organizations controlled by Defendant bin Salman, and allowed other freedoms not typically

afforded to Saudi students in the United States.

       228.    The critical mission of cultivating, supervising, and tasking these student operatives

in the United States fell to Defendant bin Salman’s right-hand man and head of his private

foundation, Defendant Alasaker. Using Defendant MiSK as a cover, Defendant Alasaker set his

sights on a few key students who could be trusted to carry out this sensitive operation. In carrying

this out, Defendant Alasaker exploited Defendant MiSK directly—for example, by utilizing


rewards to maintain the relationship while the agents carried out their work in the United States in
furtherance of Defendant bin Salman’s objectives. See id.
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MiSK-sponsored events to interrogate people familiar with Dr. Saad and his whereabouts. Further,

Defendant Alasaker extended Defendant MiSK’s reach by asserting control over the Saudi Arabian

Cultural Mission (“SACM”), which was responsible for coordinating Saudi student clubs at

universities across the United States. This relationship was formalized in a 2018 cooperation

agreement executed by Defendant Alasaker and then-Saudi Cultural Attaché Mohammed Alessa,

who headed SACM.187 This agreement was entered into at the direction of Defendant bin

Salman.188

             229.   Defendant bin Salman’s use of SACM and the Saudi student groups within its

purview to monitor and control students is documented in public reports. Indeed, PBS has reported

that each Saudi student organization contains one or two spies, who are charged with reporting

back on all events to their handler, and that “the government under Crown Prince Mohammed bin

Salman . . . ensures [Saudi students in the United States] know they are being watched.” 189

             230.   Defendant bin Salman, operating through Defendants Alasaker and MiSK,

maximizes and consolidates control over these students by imposing harsh penalties, including

“passport freezes, death threats, intimidation, retraction of scholarships, and attempts to lure them

back to the country.”190 One Saudi university student in the United States observed that Saudi




187
       Misk Foundation (@MiskKSA), Twitter (Apr.                      10, 2018, 6:44 AM),
https://twitter.com/MiskKSA/status/983657083055853568?s=20            (translation from original
Arabic language tweet).
188
      MiSK and SACM Joint Agreement, supra note 18.
189
      Quran, supra note 4.
190
      Id.

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students “can’t risk even moderate criticisms” and that, “if you’re an explicit critic, I feel like you

could end up in prison.”191 Defendant bin Salman prohibits Saudi students in the United States

from speaking with the media or with law enforcement for any purpose, and the consequences of

doing so are dire. When students do report contact with law enforcement, they are often returned

to the Kingdom so as not to compromise the network and reveal the true purpose and activities of

Defendant MiSK and the Saudi student clubs it sponsors.

       231.    The purpose of Defendant bin Salman’s consolidation of control over elite Saudi

students is simple: they are tools Defendant bin Salman can and does draw upon to pursue personal

ends, and their status as students provides a convenient cover when they undertake a mission such

as attempting to extrajudicially kill Dr. Saad.

       232.    The use of these student operatives to pursue Dr. Saad is not unique. To the

contrary, Defendant bin Salman has leveraged this network of clandestine operatives to go after

other adversaries. For example, Defendant bin Salman’s agents enlisted a roommate of online

dissident Omar Abdulaziz in Canada, who was dependent on a scholarship from Defendant bin

Salman, to gather and report information about Abdulaziz’s political activities and movements in

Canada over a several year period. The roommate faced threats if he refused. 192


191
   Michael Sokolove, Why Is There So Much Saudi Money in American Universities?, N.Y. Times
Magazine (July 3, 2019), https://www.nytimes.com/2019/07/03/magazine/saudi-arabia-american-
universities.html.
192
    The use of students to surveil Abdulaziz was ultimately a precursor to intensified efforts to lure
him to Saudi Arabia; indeed, Defendant bin Salman sent agents to Canada in May 2018 who sought
to lure Abdulaziz to a Saudi embassy, and when Abdulaziz refused, his family and friends were
detained and tortured in Saudi Arabia. See Stephanie Kirchgaessner, Exclusive: Saudi Dissident
Warned by Canadian Police He is a Target, Guardian (June 21, 2020),
https://www.theguardian.com/world/2020/jun/21/exclusive-saudi-dissident-warned-by-canadian-

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          233.   Operating within this framework, Defendants bin Salman and Alasaker tasked

Defendants Alrajhi, Alhamed, and Abuljadayel with hunting Dr. Saad in the United States to

complement parallel efforts of the Tiger Squad to locate and collect valuable information about

Dr. Saad through torturing his son-in-law in Saudi Arabia. These student operatives were subject

to the same regime of control and monitoring as other Saudi students in the United States. Indeed,

on information and belief, they depended on funding that Defendant bin Salman controlled in order

to continue their education in the United States. In other ways, these operatives were far from

ordinary. Indeed, they were entrusted with sensitive missions and in turn were bestowed distinct

privileges and freedoms.

          234.   Defendants Alrajhi, Alhamed, and Abuljadayel occupied the upper echelon of the

network of Saudi students in the United States. They regularly interacted with key stakeholders

who had a direct line to Defendants Alasaker and bin Salman, such as former head of the Fairfax,

Virginia-based SACM Mohammed Alessa. See supra ¶¶ 86, 92, 95. Unlike a typical Saudi

student, who required permission to even attend a public event, 193 these were the individuals

organizing the events, in their capacities as leaders of Saudi student and public relations

organizations. See supra ¶¶ 15, 86. They were early and significant participants in MiSK

programming, see supra ¶¶ 74, 86, and thus had a longstanding track record of loyal service by the




police-he-is-a-target; Rosie Perper, A Canadian Political Refugee Made Videos Criticizing Saudi
Arabia – Now Saudi Authorities Have Arrested His Friends and Family, Bus. Insider (Aug. 24,
2018), https://www.businessinsider.com/canadian-refugee-activist-family-arrested-saudi-arabia-
feud-2018-8.
193
      Quran, supra note 4.
                                               116
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time they were called upon by Defendants bin Salman and Alasaker to undertake the hunt for Dr.

Saad beginning in September 2017.

       235.    On information and belief, by virtue of their status within Defendant bin Salman’s

network of student operatives, close contact with Defendant Alasaker and Mr. Alessa, and roles in

key student clubs and public relations organizations, Defendants Alrajhi, Alhamed, and

Abuljadayel enjoyed unusual visibility into the machinations of Defendants bin Salman and

Alasaker and were privy to sensitive information about the mission they were tasked with

undertaking. Even absent any such information, each was aware of the harm that would result to

Dr. Saad should their efforts to locate him be successful. Further, on information and belief,of the

U.S.-Based Covert Agent Defendants were aware of would have known that an investigation by

Defendant bin Salman’s campaign to targetSalman into the whereabouts of Dr. Saad—a close

associate of Mr. bin Nayef—was intended to locate and Dr. Saad in order to harm them. On

informationhim, and belief, the U.S. Agent Defendants were also aware that Defendant bin Salman

had, in the past, arrested, imprisoned, and tortured those previously done the same to others who

stood in the way of his path to power. Nevertheless, they still sought out the Aljabri family and
194




194
   Addiction and Intrigue, supra note 138; Ben Hubbard et al., Saudi King’s Son Plotted Effort to
Oust         His        Rival,        N.Y.          Times         (July       18,        2017),
https://www.nytimes.com/2017/07/18/world/middleeast/saudi-arabia-mohammed-bin-nayef-
mohammed-bin-salman.html; David D. Kirkpatrick, Saudi Arabia Arrests 11 Princes, Including
Billionaire     Alwaleed      bin     Talal,      Boston     Globe      (Nov.      4,    2017),
https://www.bostonglobe.com/news/world/2017/11/04/senior-saudi-royal-ousted-princes-
reportedly-arrested/YmQyEGWytozbbSmYcL6FSL/story.html; Samia Nakhoul et al., A House
Divided: How Saudi Crown Prince Purged Royal Family Rivals, Reuters (Nov. 10, 2017),
https://www.reuters.com/article/us-saudi-arrests-crownprince-insight/a-house-divided-how-

                                                117
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           164.236.    As described more fully below, Defendants Alhamed, Alrajhi, and

Abuljadayel each learned specific, valuable information when they questioned close friends to

assist Defendants bin Salman and Alasaker with their plan.and family members of Dr. Saad in an

effort to learn his location so that he could be killed, and this information was shared with other

co-Defendants, including Defendant Hamed, for purposes of furthering the attempted extrajudicial

killing.

           165.237.    The series of attempts to locate Dr. Saad began on or around September 6,

2017, when Khalid bin Salman—the brother of Defendant bin Salman—sent WhatsApp messages

to Dr. Saad’s son, Khalid. Khalid bin Salman planned to travel soon to New York to attend the

United Nations General Assembly. In the messages, Khalid bin Salman—under the impression

that Dr. Saad was in the United States after Dr. Saad had texted Defendant bin Salman that he was

“setting out for Boston at dawn”—”195—inquired about the location of Dr. Saad.

           166.238.    Next, on September 15, 2017, Defendants bin Salman and Alasaker

deployed then-head of the Fairfax, Virginia-based SACM Mohammed Alessa—another agent

deployed by Defendant bin Salman to continue the hunt down Dr. Saad—. As discussed above,

see supra ¶¶ 80, 86, 92, 95, 234–35, Mr. Alessa headed up SACM, which was subject to Defendant

bin Salman’s and Defendant Alasaker’s control and, like Defendant MiSK, was used to cultivate




saudi-crown-prince-purged-royal-family-rivals-idUSKBN1DA23M; Fayez Nureldine, How Saudi
Crown Prince Mohammed Bin Salman Purged Rivals, NBC News (Nov. 13, 2017),
https://www.nbcnews.com/news/world/how-saudi-crown-prince-mohammed-bin-salman-purged-
rivals-n820141.
195
      WhatsApp message from Dr. Saad to Defendant bin Salman (June 20, 2017 6:10 PM AST).

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student operatives and to provide cover for Defendant bin Salman’s illicit activities. Mr. Alessa

interrogated a close acquaintance of Dr. Saad’s family (“Friend 1”)196 at an event organized by

Defendant MiSK Foundation in New York, an event. Defendants Alasaker and Alhamed also

attended by Defendant Alasaker. Alessa had previously and publicly pledged his allegiance to

Defendant bin Salman during a June 2017 event in Washington, D.C. and was actively involved

in MiSK Foundation programming. 197this event. On information and belief, during the MiSK

event, Mr. Alessa repeatedly inquired about Dr. Saad’s son Khalid’s U.S. immigration status. On

information and belief, Defendant Alasaker was seated at the same table as Mr. Alessa and Friend

1 when this questioning occurred. When Mr. Alessa was told by Friend 1 that Khalid had a

greenpermanent resident card, Mr. Alessa became visibly upset. On information and belief, Mr.

Alessa was upset about the information Friend 1 provided about Khalid’s lawful

residenceimmigration status in the United States because it removed an avenue for Defendant bin

Salman to coerce Khalid back to Saudi Arabia, and thereby gain leverage to lure Dr. Saad back to

Saudi Arabia as well.

        239.    Soon after the inquiry from Alessa, another agent of Defendant bin Salman,

Defendant Youssef Alrajhi, contacted the same Aljabri family acquaintance questioned by Alessa

out of the blue and attemptedShortly thereafter, in or around the week of September 25, 2017, two

other agents of Defendant bin Salman, Defendant Mohammed Alhamed and Defendant Youssef




196
    Names of certain individuals affiliated with Dr. Saad have been anonymized for their
protection.
197
   ‫الملحق الثقافي يبايع اﻷمير محمد بن سلمان بالبصمة " خﻼل حفل معايدة المبتعثين بالملحقية في واشنطن‬, GarbNews
(June 29, 2017), https://garbnews.net/news/s/24292.
                                                   119
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Alrajhi made multiple calls to Friend 1 out of the blue, exploiting their mutual association with

Defendant MiSK. On information and belief, they were directed to do so by Defendant Alasaker,

or by Mr. Alessa or one of his close associates acting at the behest of Defendant Alasaker. As

discussed in more detail above, Defendants Alhamed and Alrajhi interacted with Mr. Alessa

frequently, even visiting him at the hospital and being selected to speak at his retirement party. 198

See supra ¶¶ 80, 86, 92, 95, 234–35.199




198
   Rabi al-Awwal, American Emissaries Bid Farewell to Their Cultural Attaché with Hashtag,
“Thank you Muhammed Alessa,” Ajel (Nov. 13, 2019), https://ajel.sa/r5Kzmp (translation from
original Arabic language).
199
    Defendant Alrajhi tweeted in 2015 that Mr. Alessa has an “open door” and in 2017 that Mr.
Alessa “never fails to serve his fellow scholarship students,” an apparent reference to Saudi
students in the United States who are receiving scholarships from the Saudi government. Youssef
Alrajhi       (@YousefAlrajhi1),       Twitter      (July      14,      2015,       1:15    AM),
https://twitter.com/YousefAlrajhi1/status/620823877342621697;             Youssef          Alrajhi
(@YousefAlrajhi1),            Twitter       (Jan.        5,         2017,         2:40      PM),
https://twitter.com/YousefAlrajhi1/status/817093363241521152. Moreover, Defendant Alrajhi’s
Facebook page shows him photographed next to Mr. Alessa during at least three separate events
in June and September 2017, and an Instagram post pictures him visiting Mr. Alessa in the hospital
in 2015, accompanied by Defendant Alhamed, in 2015. Youseef ALrajhi, Facebook (June 25,
2017), https://www.facebook.com/photo/?fbid=975583669211679&set=pcb.975584075878305;
Youseef              ALrajhi,           Facebook             (June            28,          2017),
https://www.facebook.com/yousef.alrajhi.5/posts/978017905634922; Youseef ALrajhi, Facebook
(Sept. 1, 2017), https://www.facebook.com/yousef.alrajhi.5/posts/1029162850520427. Defendant
Alhamed regularly posts pictures of himself and other Defendants at events sponsored by
Defendant MiSK and other related organizations. See Mohammed Alhamed (@M7Alhamed),
Instagram (Apr. 12, 2015), https://www.instagram.com/p/1Yz_ZjrC8F/; Mohammed AlHamed
(@M7Alhamed),              Twitter        (Aug.         8,         2017,         4:20       PM),
https://twitter.com/M7Alhamed/status/895016804267028481;              Mohammed           AlHamed
(@M7Alhamed),             Twitter        (Sept.        18,         2017,        2:40        AM),
https://twitter.com/M7Alhamed/status/909668394743554052;              Mohammed           Alhamed
(@m7alhamed), Instagram (May 30, 2015), https://www.instagram.com/p/3UpHxhLC6s/; Saudi
Elite ‫@( النخبة السعودي‬SaudiEliteG), Twitter (Nov. 25, 2018, 3:29 PM),
https://twitter.com/SaudiEliteG/status/1066790900238622720.

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       167.240.       Like their co-agent Mr. Alessa, Defendants Alhamed and Alrajhi

questioned Friend 1 about Khalid’s visa status. Additionally, they concocted a new pretext,

seeking to extract information about the location and contact information of Dr. Saad’s wife on

the false pretext of arranging a marriage with Dr. Saad’s daughter. Public sources indicate that

Defendant Alrajhi, a graduate student at Howard University in Washington, D.C., is a close

affiliate with co-agents Mohammed Alessa and Defendant Mohammed Alhamed. 200By adopting

this pretext, Defendants Alhamed and Alrajhi were able to obscure their intentions and avoid

asking about Dr. Saad directly, which would have given away their true intent and aroused

suspicion. On information and belief, Defendants Alhamed and Alrajhi were advised that Dr.

Saad’s wife was not in Saudi Arabia and thus was likely with Dr. Saad. Thus, asking about her

location provided an indirect way of learning the location of Dr. Saad.

       241.    Not satisfied with phone calls and text messages, DefendantDefendants Alrajhi

demanded an in-person meeting with the Aljabri family friend and said he would fly from


200
   See Alrajhi, supra note 25, at 1. Defendant Alrajhi tweeted in 2015 that Alessa has an “open
door” and in 2017 that Alessa “never fails to serve his fellow scholarship students,” an apparent
reference to Saudi students in the United States who are receiving scholarships from the Saudi
government. Youssef Alrajhi (@YousefAlrajhi1), Twitter (July 14, 2015, 1:15 AM),
https://twitter.com/YousefAlrajhi1/status/620823877342621697;            Youssef          Alrajhi
(@YousefAlrajhi1),            Twitter      (Jan.         5,        2017,         2:40       PM),
https://twitter.com/YousefAlrajhi1/status/817093363241521152. Moreover, Defendant Alrajhi’s
Facebook page shows him photographed next to Alessa during at least three separate events in
June and September 2017, and an Instagram post pictures him visiting Alessa in the hospital in
2015, accompanied by Defendant Al Hamed, in 2015. Youseef ALrajhi, Facebook (June 25,
2017), https://www.facebook.com/photo/?fbid=975583669211679&set=pcb.975584075878305;
Youseef              ALrajhi,          Facebook              (June           28,           2017),
https://www.facebook.com/yousef.alrajhi.5/posts/978017905634922; Youseef ALrajhi, Facebook
(Sept.     1,     2017),   https://www.facebook.com/yousef.alrajhi.5/posts/1029162850520427;
Mohammed           Alhamed        (@M7Alhamed),         Instagram      (Apr.       12,     2015),
https://www.instagram.com/p/1Yz_ZjrC8F/.
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Washington, D.C. to Boston, Massachusetts for the meeting. After the family friend refused to

Alhamed each proceeded to contact Friend 1 repeatedly on or around September 28 and 29, 2017,

demanding that Friend 1 meet with Defendant Alrajhi in person. These coordinated demands came

just two days after Dr. Saad’s son-in-law Salem was detained and began to be interrogated about

Dr. Saad’s location. Defendant Alrajhi told Friend 1 that he would fly to Boston, Massachusetts

for the meeting.

       168.    Instead, however, Defendant Mohammed Alhamed contacted the friend and

attempted to persuade him to take the meeting. The effort did not work.

       242.    After his attempts to set up Alrajhi obtained from Friend 1 a meeting with the

Aljabri family friend were rebuffed, onphone number for Dr. Saad’s son Khalid. On September

29, 2017, Defendant Alrajhi contacted Khalid directly to set up an in-person meeting for the next

day. On information and belief, Defendant Alrajhi then contacted Khalid directly and flew from

Washington, D.C. to Boston, Massachusetts to meet with him. Wanting to learn more aboutKhalid

on September 30, 2017. Although suspicious of Defendant Alrajhi’s suspicious intentions, Khalid

agreed to meet with Defendant Alrajhi at Bar Boloud, a restaurant inside the Mandarin Oriental

building in Boston, Massachusetts, where the Aljabri family owned an apartment. Even though

Dr. Saad and other family members did not live there at the time, Khalid wanted to misdirect

Defendant Alrajhi and the larger ongoing hunt for Dr. Saad by creating the impression that the

Aljabri family were current residents. Thus, for example, Khalid entered the restauranthotel lobby

using an entrance reserved for residents, causing Defendant Alrajhi to inquire about the Aljabri

family’s residence in the building. During the dinner meeting, Defendant Alrajhi alsoAs discussed

below, this valuable information about a connection between the Aljabri family and the Mandarin
                                               122
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Oriental was later shared with Defendant Alrajhi’s co-agents, who used it to conduct surveillance

on and attempt to access Dr. Saad at the Mandarin Oriental.

       169.243.       During the dinner meeting with Khalid, Defendant Alrajhi exploited his

position as a Howard University student pursuing a medical education and leader within student

clubs associated with the SACM as a cover. Specifically, he presented himself as an affiliate of

SACM and indicated to Khalid—who had just completed a medical fellowship in Boston—that he

wanted to discuss a medical conference organized by SACM. Defendant Alrajhi then attempted

to extract information about Khalid’s U.S. immigration status and contact information for Dr.

Saad’s wife. Defendant Alrajhi said he wanted to locate Dr. Saad’s wife to propose a marriage to

one of Dr. Saad’s daughters. Saad’s wife. In response to questions from Defendant Alrajhi, Khalid

revealed that members of his family were residing in London—a fact that was then passed along

to his co-agent, Defendant Abuljadayel, to continue the hunt. As he did previously in his contacts

with Friend 1, Defendant Alrajhi also adopted the same pretext as his co-agent Defendant

Alhamed, telling Khalid that he wanted to locate Dr. Saad’s wife to propose a marriage to one of

Dr. Saad’s daughters. Further, Defendant Alrajhi used his meeting with Khalid as an opportunity

to inquire about Khalid’s immigration status, as his co-agent Mr. Alessa had previously. In

response to this questioning, Khalid informed Defendant Alrajhi that he was not a U.S. citizen.

This information was significant for purposes of the hunt for Dr. Saad insofar as it meant that

Defendant bin Salman could control Khalid’s legal status and in turn use him as a tool to lure Dr.

Saad back to Saudi Arabia.

       170.    Also in the fall ofJust days later, on October 2, 2017, Defendant bin Salman’s agent

Defendant Mohammed Alhamed attempted to extract from Aljabri family friends in Boston,
                                               123
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Massachusetts the location and contact information of Dr. Saad’s wife on the false pretext of

arranging a marriage with Dr. Saad’s daughter, just as Defendant Alrajhi had done. Defendant

Alhamed also had connections to Defendant Alasaker and Alessa, as well as Defendant Alrajhi. 201

In 2017, Defendant Alhamed worked for the MiSK Foundation’s Leadership Development

program in Boston, where he interacted with Defendant Alasaker, as evidenced by the photograph

of the two of them included below.202




201
    See, e.g., Mohammed AlHamed (@M7Alhamed), Twitter (Aug. 8, 2017, 4:20 PM),
https://twitter.com/M7Alhamed/status/895016804267028481;         Mohammed        AlHamed
(@M7Alhamed),              Twitter      (Sept.       18,       2017,      2:40       AM),
https://twitter.com/M7Alhamed/status/909668394743554052;          Mohammed        Alhamed
(@m7alhamed), Instagram (May 30, 2015), https://www.instagram.com/p/3UpHxhLC6s/; Saudi
Elite    ‫السعودي‬    ‫النخبة‬  (@SaudiEliteG),    Twitter   (Nov.    25,  2018,   3:29   PM
EThttps://twitter.com/SaudiEliteG/status/1066790900238622720.
202
   Moreover, Defendant Alhamed’s LinkedIn profile identifies him as a “Volunteer” at the Saudi
Arabian Cultural Mission in Fairfax, Virginia since October 2013, where he would have interacted
with Alessa.      Mohammed AlHamed, LinkedIn, https://www.linkedin.com/in/mohammed-
alhamed-930279140/ (last visited June 19, 2020). They were sufficiently connected by 2015 that
Defendant Alhamed posted a photograph of him and Defendant Alrajhi visiting Alessa at the
hospital after an accident. Mohammed Alhamed (@m7alhamed), Instagram (Apr. 12, 2015),
https://www.instagram.com/p/1Yz_ZjrC8F/.

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                  Defendant Alhamed (L) pictured with Defendant Alasaker (R)
                      at an August 2017 MiSK Foundation event in Boston

       171.244.        Around the same time period, an additional covert agent of Defendant bin

Salman, Defendant Layla Abuljadayel—who, on information and belief, was a dentistry student

at Boston University at the time—, continued the effort to hunt and track down Dr. Saad.

Defendant Abuljadayel contacted Khalid’s wife in Boston, Massachusettshad recently completed

a dentistry program at Boston University.203 During her time in Boston, she resided near Friend

1, from whom she obtained the contact information for Khalid’s wife. Defendant Abuljadayel’s

outreach to Khalid’s wife—who was in Boston at the time—came entirely out of the blue and.

After Khalid told Defendant Alrajhi that Khalid’s family was in London, Defendant Abuljadayel

contacted Khalid’s wife over WhatsApp, writing that she had recently arrived in London and

purportedly suddenly thought of Khalid’s wife. Using the pretext of getting together in London,




203
   Layla Abuljadayel, LinkedIn, https://www.linkedin.com/in/layla-abuljadayel-94859162/ (last
accessed Feb. 2, 2021).
                                              125
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Defendant Abuljadayel attempted to extract the whereabouts and contact information of Dr. Saad’s

wife. Like Defendant Alrajhi and Defendant Alhamed, Defendant Abuljadayel falsely claimed to

know someone who wanted to make a marriage proposal to the Aljabri family, notwithstanding

the fact that the Aljabri family had no daughters pursuing marriage at the time. On information

and belief, Defendant Abuljadayel—as well as her husband Abdulraheem al-Wafi—had been paid

for her work with Defendant MiSK Foundation through bank accounts in Saudi Arabia

(notwithstanding her residence in the U.S. on student visas) and attended events with Defendant

Alasaker in Boston. Defendant Abuljadayel participated in MiSK’s 2016 Boston leadership

development program and thereafter worked for MiSK to support the same program in 2017, while

her husband served as MiSK’s student activity supervisor. 204Saad’s wife.

       172.245.       InOn or around November 27, 2017—shortlysoon after Defendant Alrajhi

came to believe that the Aljabri family lived in the Mandarin Oriental in Boston, Massachusetts—

Defendant bin Salman and Defendant Alasaker orchestrated a surveillance mission of that very

same building using agent Defendant John Doe 1. OnHani Hamed, who sought to physically

access Dr. Saad directly. There are no public records of the Aljabri family’s association with the

Mandarin Oriental. Accordingly, on information and belief, the concierge and security personnel

for the Aljabri only way Defendant Hamed could have learned that Dr. Saad or his family residence

at the Mandarin Oriental observed Doe surveilling the hotel several times. On information and

belief, Doe ultimatelyresided there was through the efforts of his co-agent, Defendant Alrajhi.



204
     Layla Abuljadayel ‫@( ليلى ابوالجدايل‬drlaylaaj), Twitter (July 30, 2016, 11:41 PM),
https://twitter.com/drlaylaaj/status/759594914590187520; ‫@( صحيفة مبتعث‬Mbt3thOnline), Twitter
(Aug. 5, 2017, 4:04 AM), https://twitter.com/Mbt3thOnline/status/893744555660627968.
                                               126
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Defendant Hamed approached the front desk and said he was there to visit Dr. Saad. The concierge

connected DoeDefendant Hamed by telephone with Khalid, who . As pretext, Defendant Hamed

stated that he was attempting to contact Dr. Saad to obtain financial assistance for cataract surgery.

Khalid advised that Dr. Saad was not presently at the Boston, Massachusetts home.                 On

information and belief,, allowing Defendant Hamed to confirm Dr. Saad’s affiliation with the

apartment. The concierge and security personnel for the Mandarin Oriental observed Defendant

Hamed surveilling the hotel on numerous occasions thereafter. On information and belief,

Defendant Hamed’s activities have been a subject of interest for the FBI has investigated the

identity of the John Doe..

       246.    Finally, inCritically, these attempts to hunt down Dr. Saad in the United States were

simultaneous with other efforts to locate Dr. Saad. Indeed, this hunt took place at precisely the

same time that Defendant bin Salman’s agents, including Defendant Alqahtani and members of

Defendant bin Salman’s Tiger Squad, were torturing Dr. Saad’s son-in-law, Salem Almuzaini, in

Saudi Arabia and interrogating him about Dr. Saad’s location.

       B.      Defendants’ Hunt Continues Through Additional Efforts in the United States
               and Canada.

       247.    In December 2017, Defendant bin Salman’s agent, Defendant Bijad Alharbi

traveled to Boston, Massachusetts and arranged a , took further steps to pinpoint Dr. Saad’s

location so that the Tiger Squad would know where to find its target, meeting with Dr. Saad’s son

Mohammed in Boston, Massachusetts. At the time, the Aljabri family trusted and, ultimately, with

Dr. Saad in Toronto.




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           173.248.    That Defendant Alharbi because he had worked for many years in Saudi

Arabia in was permitted to travel to Canada and the United States is itself significant. Unlike

Defendant bin Salman’s other agents named as Defendants herein, Defendant Alharbi was

previously a close cooperation with Dr. Saad and professional associate of Mr. bin Nayef. As has

been widely reported, individuals in that position, along with Mr. bin Nayef himself, were detained

and subject to travel bans by Defendant bin Salman following his seizure of the Crown Prince

post.205     Thus, Defendant bin Salman made an exception for Defendant Alharbi, whose

longstanding professional relationship with Dr. Saad made him a valuable agent in the mission to

extrajudicially kill Dr. Saad. On information and belief, Defendant Alharbi would only have been

permitted to travel outside of Saudi Arabia with express permission from Defendant bin Salman.

Moreover, on information and belief, Defendant Alharbi was motivated to obey Defendant bin

Salman’s directives to demonstrate his loyalty to Defendant bin Salman during this time in anthe

new Crown Prince and thereby attempt to avoid the same fate as other associates of Mr. bin Nayef:

arrest, detention, or worse. During the dinner with Dr. Saad’s son, Defendant Alharbi asked highly

intrusive and unusual questions about Dr. Saad, causing Mohammed to become suspicious and

fearful of his intentions. For example, Defendant Alharbi requested information about the precise

locations of Dr. Saad and his family members and about Dr. Saad’s travel patterns. Mohammed

subsequently warned his father about Defendant Alharbi.




205
   David D. Kirkpatrick & Ben Hubbard, Saudi Prince Detains Senior Members of Royal Family,
N.Y. Times (Mar. 6, 2020), https://www.nytimes.com/2020/03/06/world/middleeast/saudi-royal-
arrest.html; Michael Stephens, Saud Royal Arrests: Why Top Princes Have Been Silenced, BBC
News (Mar. 9, 2020), https://www.bbc.com/news/world-middle-east-51800964.
                                             128
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       249.   Continuing Defendants’ efforts to locate Dr. Saad in the United States, Defendant

Alharbi first met with Dr. Saad’s son Mohammed in Boston, Massachusetts on or around October

7, 2017. At the time, the Aljabri family trusted Defendant Alharbi because he had worked for

many years in Saudi Arabia in close cooperation with Dr. Saad and Mr. bin Nayef.

       250.   Defendant Alharbi met Dr. Saad’s son Mohammed for dinner at the Oceanaire

Seafood Room in Boston. Defendant Alharbi focused the discussion on Dr. Saad and his family

members. Defendant Alharbi asked highly intrusive and unusual questions about Dr. thenSaad,

including about his health and doctors’ appointments and whether he was attending checkups. He

also requested information about Mohammed’s siblings, travel of the Aljabri family from Turkey

to the United States, and about whether his family remained in Turkey. On top of these unusual

questions given the nature of their relationship, Defendant Alharbi was visibly uncomfortable

during the meeting and his demeanor caused Mohammed to be suspicious. Recognizing that

Defendant Alharbi was attempting to locate Dr. Saad or obtain other valuable information about

him, Mohammed warned his father about Defendant Alharbi after the meeting.

       251.   Following this meeting with Dr. Saad’s son, Defendant Alharbi set his sights on

Dr. Saad in Canada. On information and belief, Defendant Alharbi traveled to Canada on a tourist

visa and stayed in the Toronto and confirmed forarea from December 4, 2017 to December 10,

2017. Defendant bin Salman the current location ofAlharbi arranged several meetings with Dr.

Saad. during this period. Initially, Defendant Alharbi unexpectedly appeared at Dr. Saad’s office

as an investor in the telecommunications company that employed Dr. Saad. Notwithstanding his

son’s warning, Dr. Saad believed at the time that he could trust his long-time former associate,

although he took precautions to ensure that Defendant Alharbi did not learn his home address.
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Defendant Alharbi met with Dr. Saad and and warned a colleague and friend not to disclose

information about him to Defendant Alharbi. In addition to meeting at Dr. Saad’s office, the two

met at a local mosque, restaurant, and other venues regularly frequented by Dr. Saad. Through

these meetings, Defendant Alharbi learned the names and locations of places regularly visited by

Dr. Saad—information that was undoubtedly of great interest to Defendant bin Salman.

       174.252.        During these meetings, Defendant Alharbi repeatedly tried to convince Dr.

Saad to travel to Turkey, under the pretext that Dr. Saad was lonely in Toronto and should visit

his family there. Dr. Saad, at this point himself becoming intensely suspicious notwithstanding

his past professional relationship with Defendant Alharbi, refused to do so. As an agent of

Defendant bin Salman, Defendant Alharbi knew that Dr. Saad would be more vulnerable to

Defendant bin Salman’s Tiger Squad—and an attempt to render or execute him—as the murder of

Khashoggi later proved. And Defendant Alharbi finally succeeded in the mission of the hunt:

pinpointing Dr. Saad’s location so that Defendant bin Salman’s Tiger Squad knew where to find

its target.killing of Khashoggi later proved.

       253.    In addition to pressuring Dr. Saad to travel to Turkey, Defendant Alharbi also tried

to extract information about Dr. Saad—including his home address—from a close acquaintance of

Dr. Saad (“Friend 2”). Specifically, on December 5, 2017, Friend 2 drove Defendant Alharbi from

Dr. Saad’s office (where he had met with Dr. Saad) to The Edward Hotel, where Alharbi was

purportedly staying. During the ride, Defendant Alharbi peppered Friend 2 with invasive and

personal questions about Dr. Saad. For example, Defendant Alharbi asked Friend 2 where Dr.

Saad lives, where Dr. Saad may move, and the locations from which Friend 2 has picked Dr. Saad

up in the past. When Friend 2 declined to disclose any information in response to these inquiries,
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Defendant Alharbi kept pushing, insistent that Friend 2 must know where Dr. Saad lives and where

he normally picks up Dr. Saad. Friend 2 was disturbed by Defendant Alharbi’s transparent attempt

to obtain information about Dr. Saad. In fact, he found Defendant Alharbi’s questions so

disconcerting that he communicated his concerns contemporaneously to both his wife and to Dr.

Saad.

         254.   Defendant Alharbi’s attempts to lure Dr. Saad to Turkey did not stop after he left

Toronto. On December 15, 2017, Defendant Alharbi advised Dr. Saad that he was in Istanbul and

asked Dr. Saad where he was. A few days later, on December 19, 2017, Defendant Alharbi wrote

to Dr. Saad, “You didn’t travel?”

         255.   Defendant Alharbi made additional visits to Toronto in the months that followed,

leading up to the dispatching of the Tiger Squad Defendants to Canada in October 2018. In

particular, Defendant Alharbi traveled to Toronto again in February, June, and July of 2018.

During his June and July trips, Defendant Alharbi contacted Dr. Saad and was able to obtain further

information about Dr. Saad’s movements. Thus, Defendant Alharbi obtained valuable intelligence

confirming that Dr. Saad remained in Toronto as of a few months before Defendant bin Salman

sent the Tiger Squad Defendants to kill him there.

         B.C.   Defendant bin Salman Attempts to Physically Constrain Dr. Saad’s
                Movements through INTERPOL.


         175.256.      Defendant bin Salman ultimately made good on his September 2017 threat

to make Dr. Saad the target of a worldwide manhunt that would restrict Dr. Saad’s movements,

leaving him vulnerable to be killed. “There is no state in the world that would refuse to turn you

over,” Defendant bin Salman insisted in a September 10, 2017 WhatsApp message to Dr. Saad.

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       176.257.       When Dr. Saad refused to return to Saudi Arabia, Defendant bin Salman

arranged for the filing of a notice about Dr. Saad and his family with INTERPOL—an

intergovernmental law enforcement agency of which the United States is a member—founded on

baseless corruptionunspecified allegations. of “embezzlement of public funds, abuse of power and

money laundering.” Dkt. 58-3 ¶ 7. Indeed, on information and belief, Defendant bin Salman

caused an arrest warrant to be issued on or around September 12, 2017— just two days after

Defendant bin Salman’s threat—and requested the issuance of a diffusionred notice by

INTERPOL based on the warrant wassoon thereafter filed with INTERPOL.                As a result,

Defendant bin Salman put law enforcement in more than 190 countries, including the United

States, on the lookout for Dr. Saad and his family should they attempt to enter or exit their

country.206 It was an attempt to trap Dr. Saad, making him more vulnerable to Defendant bin

Salman’s attempt to extrajudicially kill him.

       177.258.       Indeed, Defendant bin Salman’s campaign to trap Dr. Saad and his family

had some success. In late 2017, Dr. Saad’s wife Nadyah and their sons Sulaiman Saad K. Aljabri

and Mohammed Aljabri attempted to travel from Istanbul, Turkey to re-unite with Dr. Saad, but

they were prohibited from leaving the country at the airport, and thus trapped in Turkey. As such,

they served as yet another point of leverage for Defendant bin Salman to coerce Dr. Saad to travel




206
    Defendant bin Salman caused the filing of a diffusion notice with INTERPOL. Such a notice
asks member countries of INTERPOL to restrict travel or take other actions against the target.
About Notices, INTERPOL, https://www.interpol.int/en/How-we-work/Notices/About-Notices
(last visited Aug. 4, 2020).
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to Turkey—where Khashoggi was killed, and where Dr. Saad would be highly vulnerable to the

same fate.

          178.259.        Dr. Saad applied to the Commission for the Control of INTERPOL’s Files

(“the Commission”) for the removal of any information or notice that could cause Dr. Saad to be

arrested and returned to Saudi Arabia. On July 4, 2018, after consulting with the U.S. National

Central Bureau at the U.S. Department of Justice, the Commission determined that Saudi Arabia

had lodged information about Dr. Saad and his family had been lodged with INTERPOL for

improper purposes, contrary to INTERPOL’s Constitution, including because “unjustified

restrictive measures on his family members suggest the case is politically motivated rather than

strictly juridical.”207 The Commission identified that Defendant bin Salman—through his “direct

involvement”—had used corruption allegations as a political tool “to further consolidate his

already existing political and economic power,” with targets subject to torture, “severe ill-

treatment,” and death.208 The Commission required INTERPOL to delete the information and

notice about Dr. Saad immediately.

          179.260.        On information and belief, since Defendant bin Salman was rebuffed by

INTERPOL, he has persisted in a deceptive attempt to bolster the corruption allegations against

Dr. Saad to create a pretext for limiting Dr. Saad’s movements and rendering him back to Saudi

Arabia.




207
   Request concerning Saad Aljabri (Ref. CCF/R960.17): Decision of the Commission (105 th
session, July 2-5, 2018), The Commission for the Control of INTERPOL’s Files ¶ 79, July 4, 2018.
208
      Id. ¶¶ 69, 71–72.
                                                133
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       D.      Defendants bin Salman and Alqahtani Orchestrate a Smear Campaign
               Against Dr. Saad.

       180.261.        On information and belief, as recently as June 2020, Defendant bin

Salman’s agents selectively disclosed information to journalists from the Wall Street Journal and

the Washington Postin the United States about the same allegedly corrupt financial transactions

on the part of Dr. Saad and Mr. bin Nayef that INTERPOL had already deemed “politically

motivated.” On information and belief, Defendant bin Salman’s agents also disclosed misleading

documents in an attempt to create misimpressions in the United States about Dr. Saad’s activities.

These misleading disclosures have resulted in significant and harmful effects within the United

States. On July 17, 2020, the Wall Street Journal published an article—sourced primarily from

Defendant bin Salman’s agents—with misleading information about Defendant bin Salman’s

baseless allegations that refers to Dr. Saad as an “international fugitive.” 209 In July 2020, the Al

Arabiya TV network, founded by members of the Saudi royal family and with an office in

Washington D.C.,210 seized on the Wall Street Journal article to further smear Dr. Saad and his

supporters in the U.S. Intelligence Community. For example, Al Arabiya’s coverage has referred




209
     Saudi Arabia Wants its Fugitive Spymaster Back, Wall St. J., July 17, 2020,
https://www.wsj.com/articles/a-spymaster-ran-off-after-saudis-say-billions-went-missing-they-
want-him-back-11595004443?redirect=amp#click=https://t.co/77U2bKNH7U.
210
   Press Release, Al Arabiya News, Al Arabiya to Launch New Subtitled Service via English
Website Service to be Unveiled Today at the News Channel's First ‘Global Discussion’ Forum in
Dubai (Nov. 30, 2013), https://www.prnewswire.com/news-releases/al-arabiya-to-launch-new-
subtitled-service-via-english-website-service-to-be-unveiled-today-at-the-news-channels-first-
global-discussion-forum-in-dubai-233901231.html (refersreferring to Bureau Chief in
Washington, D.C.).

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to Dr.referred to Dr. Saad as a “fugitive” and a “thief” who has caused a “scandal” implicating not

only Dr. Saad but also former U.S. intelligence officials who support him. 211

       181.262.        By attempting to smear Dr. Saad within the United States, Defendant bin

Salman and his agents have persisted in a campaign to remove impediments within the United

States to the broader campaign to render Dr. Saad back to Saudi Arabia.

       263.    Dr. Saad has been the subject of extensive online smear campaigns orchestrated,

upon information and belief, by Defendant Alqahtani at the direction of Defendant bin Salman.

For example, in July 2020, a coordinated network of Saudi Twitter users sent thousands of tweets

accusing Dr. Saad and Mr. bin Nayef of corruption.212 The tweets accused Dr. Saad of treason and

expressed disdain that Dr. Saad had sought exile in Canada. 213 The campaign included influential

tweets accusing Dr. Saad of “high treason” that were posted by the founder and president of




211
         Al      Arabiya,        Facebook         (July       18,       2020,        8:00       PM),
https://m.facebook.com/AlArabiya/videos/2492096491089290/; Fahd Ibrahim Al Doghayther,
Aljabri…The        Big      Breach,        Al       Arabiya,             (July       22,     2020,),
https://www.alarabiya.net/ar/politics/2020/07/22/ ‫الكبير‬-‫اﻻختراق‬-‫( الجبري‬last visited July 29, 2020)
(quotations based on professional translations from original Arabic language).
212
    Saudi Social Media Campaign Targets Former Crown Prince, Reuters (July 20, 2020),
https://www.reuters.com/article/us-saudi-arrests/saudi-social-media-campaign-targets-former-
crown-prince-idUSKCN24L2AK.
213
      See, e.g., ‫@( بن فهد‬Binfahadbd), Twitter (July 18, 2020, 5:47 PM),
https://twitter.com/Binfahadbs/status/1284605830227271682; ‫@( أسيل الفايز‬asiil_q35), Twitter
(July 18, 2020, 1:34 PM), https://twitter.com/asiil_q35/status/1284542193106067457 (translation
from original Arabic language tweet).

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SAPRAC, one of the organizations linked to Defendant Alhamed, within days after Dr. Saad

received a warning by Canadian security agencies of a credible and imminent threat to his life. 214

       264.    In October 2020, the same coordinated network of Saudi Twitter users that

previously promoted smear campaigns against Dr. Saad engaged in a disinformation campaign

directed again at Dr. Saad and Mr. bin Nayef. This campaign, coming on the eve of the U.S.

Presidential Election, promoted a “Hillary’s emails” hashtag, propagating a conspiracy theory that

former U.S. President Barack Obama and the Muslim Brotherhood were attempting to position

Mr. bin Nayef as King of Saudi Arabia with the help of Dr. Saad. The disinformation campaign

portrayed Dr. Saad as an agent working to achieve that goal. 215




214
     See, e.g., ‫@( سلمان اﻷنصاري‬Salansar1), Twitter (July 28, 2020 4:55 AM),
https://twitter.com/Salansar1/status/1288035437961977861 (translation from original Arabic
language tweet).
215
      See, e.g., ‫@( دبلوماسي قديم‬d_iplo), Twitter (Oct. 11, 2020, 12:54 AM),
https://twitter.com/d_iplo/status/1315153848881819649; ‫@( سلطان العبدلي‬salabdali1976), Twitter
(Oct. 11, 2020, 1:13 PM), https://twitter.com/salabdali1976/status/1315339770759872514; see
also Marc Owen Jones (@marcowenjones), Twitter (Oct. 12, 2020, 5:36 AM),
https://twitter.com/marcowenjones/status/1315587209433698304?s=21.
                                              136
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       265.    A recent coordinated campaign in January 2021 has escalated to threats against Dr.

Saad’s life, with a variety of users repeating a threat to behead Dr. Saad with a sword. One tweet

again accused Dr. Saad of being a “traitor”—and “God willing, the Alajrab Sword takes off his

neck.”216 Another tweet suggested that a case would soon be opened against Dr. Saad in Saudi

courts, posted three emoticons of a sword, and warned of “the end.” 217

       266.    These campaigns of smears and death threats resemble similar online campaigns

against Jamal Khashoggi in the months leading up to his killing and follow an established pattern




216
         ABORIAN       (@ABORIAN0),        Twitter   (Jan.            28,     2021       5:16pm),
https://twitter.com/ABORIAN0/status/1354916180591575049.
217
         ‫يوسف‬       (@zohiryy),       Twitter   (Jan.        28,      2021       10:31      AM),
https://twitter.com/zohiryy/status/1354814424960229377.

                                               137
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of conduct by Defendant Alqahtani at the direction of Defendant bin Salman. 218 Nicknamed “Lord

of the Flies” and “Troll Master,” Defendant Alqahtani has supervised and directed troll farms and

the use of thousands of Twitter bot accounts to conduct online disinformation and smear

campaigns against anyone perceived to be a personal threat to Defendant bin Salman. 219 For

example, a coordinated series of tweets in December 2017 threatened Khashoggi with death while

tagging his account, with one tweet explicitly warning that “your end is in a garbage dumpster.” 220

             C.E.   Defendant bin Salman Demands the Closure of Dr. Saad’s Bank Account.


             182.267.     Beyond the personal threats and harm to Dr. Saad’s family, Defendant bin

Salman also used asset seizure as an attempt to remotely trap Dr. Saad so that he could be targeted

and killed.

             183.268.     Indeed, on November 7, 2017 and November 27, 2017, Dr. Saad’s bank

accounts in Saudi Arabia, as well as the bank accounts of his children Omar and Sarah, were frozen

by Defendant bin Salman. Defendant bin Salman also expropriated Sky Prime Aviation, a private

jet charter service in which Dr. Saad had an interest.




218
   See Katie Benner et al., Saudis’ Image Makers: A Troll Army and a Twitter Insider, N.Y. Times
(Oct. 20, 2018), https://www.nytimes.com/2018/10/20/us/politics/saudi-image-campaign-
twitter.html.
219
      Id.
220
   ‫@( الدهمش‬hgodhg111), Twitter (Dec. 11, 2017, 8:54 AM),
https://twitter.com/hgodhg111/status/940203054401499136?s=20; see also Eng. Hattan S. Baty
(@hattan_sb), Twitter (Dec. 8, 2017, 10:13 AM),
https://twitter.com/hattan_sb/status/939135948650172416?s=20 (a threat to “Make yourself
dead…”).

                                                 138
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       184.269.        This conduct was part of a broader attempt on the part of Defendant bin

Salman to consolidate his grip on power within Saudi Arabia by detaining royal family members,

dozens of government ministers, and many of the most prominent members of Saudi Arabia’s

business and media elite—all allegedly due to unspecified allegations of “corruption.” The targets

were detained in the Ritz Carlton Hotel in Riyadh, Saudi Arabia and their assets were seized. At

least 17 of the detained victims required medical treatment. 221

       185.270.        On November 6, 2017, President Trump tweeted his support for Defendant

bin Salman’s actions, writing “I have great confidence in King Salman and the Crown Prince of

Saudi Arabia, they know exactly what they are doing . . . . Some of those they are harshly treating

have been ‘milking’ their country for years!” 222

       186.271.        Defendant bin Salman’s conduct continued into 2019, when, on information

and belief, he sought the closure of certain bank accounts held by Dr. Saad and his sons in

Washington, D.C., claiming that legitimate financial transactions were fraudulent.

V.     Defendant bin Salman DispatchesAssembles a MurderPersonal Death Squad For
       Extrajudicial Killings, Renditions, and Pursues Other Direct EffortsTorture That He
       Would Later Send to Extrajudicially Kill Dr. Saad.

       272.    Before sending hit squads to Turkey and Canada in October 2018, Defendant bin

Salman—with the personal participation of Defendant Alqahtani and, later, Defendant Alassiri—




221
    Ben Hubbard & David D. Kirkpatrick, The Upstart Saudi Prince Who’s Throwing Caution to
the    Winds,    N.Y.    Times    (Nov.     14,     2017),    https://www.nytimes.com/2017
2017/11/14/world/middleeastworld/middleeast/saudi-arabia-mohammed-bin-salman.html.
222
     Donald J. Trump (@realDonaldTrump), Twitter (Nov. 6, 2017, 6:03 PM),
https://twitter.com/realDonaldTrumprealDonaldTrump/status/927672843504177152. (on file
with Plaintiff’s counsel).
                                                139
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had been developing the dark arts of extrajudicial killings, renditions, and torture since at least

September 2015. Though the world may not have noticed until the killing of Jamal Khashoggi,

Defendant bin Salman had long before cultivated a personal team that could snatch or kill victims

wherever they may be found—successfully rendering two victims from France and kidnapping a

religious pilgrim in Mecca—to subject them to torture and ultimately death.             Though the

government of Saudi Arabia rejected Defendant bin Salman’s requests to use government

resources to pursue his personal vendettas, and though senior Saudi government officials became

increasingly concerned by the activities of this unsanctioned kill team, the government—although

never formally approving the conduct—nonetheless failed to stop it. Well before Defendant bin

Salman sent a hit squad across the Atlantic Ocean for Dr. Saad, Defendant bin Salman had

established an easily-recognizable but terrifying pattern for his extrajudicial operations.

       A.      Defendant bin Salman Forms a Personal Hit Team After the Saudi
               Government Refuses to Carry Out an Extrajudicial Rendition in Europe.

       273.    Defendant bin Salman formed a personal hit team in or around September 2015—

the same month that Dr. Saad was terminated from the Saudi government. That personal hit team

later became known as the Tiger Squad.

       274.    Defendant bin Salman created the personal death squad only after Dr. Saad refused

Defendant bin Salman’s request to deploy the Mabahith—then still part of the Ministry of Interior

controlled by Mr. Bin Nayef and Dr. Saad—in an extrajudicial operation of retribution against a

Saudi prince living in Europe. Prince Saud bin Saif Alnasr (“Prince Saud”) had posted tweets

calling Defendant bin Salman “improvident” and “corrupt[],” accusing him of wasting the royal




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family’s money on a $500 million yacht.223 Prince Saud publicly threatened to expose information

about Defendant bin Salman, writing that “declaring the truth is a duty even if it upsets the closest

relatives, this is more true when such truth is about the corrupted person himself”—one of many

references to Defendant bin Salman as corrupt.224 Prince Saud also sent a personal message to

Defendant bin Salman via WhatsApp threatening to publicly expose salacious conduct of

Defendant bin Salman. Defendant bin Salman showed Prince Saud’s online criticism and personal

threats to Dr. Saad and demanded the Mabahith—then a counterterrorism agency—forcibly render

the prince from France to Saudi Arabia.

       275.    Dr. Saad refused to support Defendant bin Salman’s proposed extraterritorial

rendition because it was immoral, unlawful, and would damage Saudi Arabia’s interests in Europe

and other western countries.     With Dr. Saad’s physical location finally confirmed byHe told

Defendant Alharbi,bin Salman that the next step Mabahith would play no role in Defendant bin

Salman’s attempted extrajudicial killing involved deploying a hit squad overseas, expeditionary




223
     ‫@( سعود بن سيف النصر‬SAUD_SAIFALNASR), Twitter (Aug. 19, 2015, 4:00 PM),
https://twitter.com/SAUD_SAIFALNASR/status/634092476295417856; ‫سعود بن سيف النصر‬
(@SAUD_SAIFALNASR), Twitter (Aug. 19, 2015, 5:58 PM), https://twitter.com/
SAUD_SAIFALNASR/status/634122311453376512;                   ‫النصر‬      ‫سيف‬        ‫بن‬       ‫سعود‬
(@SAUD_SAIFALNASR),                Twitter      (Aug.       21,      2015,      4:18       PM),
https://twitter.com/SAUD_SAIFALNASR/status/634821877354078208.              Prince Saud also
warned in a public Twitter post on August 19, 2015 that Defendant bin Salman’s “entourage [was]
threatening him with arrest.” ‫@( سعود بن سيف النصر‬SAUD_SAIFALNASR), Twitter (Aug. 19,
2015, 5:38 PM), https://twitter.com/SAUD_SAIFALNASR/status/634117370672365568.
224
     ‫@( سعود بن سيف النصر‬SAUD_SAIFALNASR), Twitter (Aug. 26, 2015 2:48 PM),
https://twitter.com/SAUD_SAIFALNASR/status/636611167834755072 (professional translation
from original Arabic language tweet).

                                                141
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adventures in personal cruelty simply because Defendant bin Salman wished to suppress

embarrassing information about himself from coming to light.

          276.   Without the ability to call upon the Mabahith to carry out the final acthis personal

vendetta, Defendant bin Salman created a team of the attemptedloyal, trained operatives who were

willing to do as they were told. This team later became known as “the Tiger Squad.” The newly-

created personal hit squad kidnapped Prince Saud via private jet and rendered him from France to

Saudi Arabia,225 where he was tortured at the hands of Defendant Alqahtani and ultimately

believed to have been killed.

          277.   Defendant bin Salman and Defendant Alqahtani subsequently bragged that they

were able to accomplish Defendant bin Salman’s objective even without the support of government

ministries, including the Ministry of the Interior.

          278.   The Mabahith was not the only Saudi government agency that refused to participate

in Defendant bin Salman’s extrajudicial operations of cruelty. On information and belief, former

head of the Land Forces Intelligence and Security Commission Prince Nayef bin Ahmad bin

Abdulaziz informed Defendant bin Salman that he objected to the use of his officers for Defendant

bin Salman’s personal hit team. Similarly, on information and belief, at that time the General

Intelligence Presidency (“GIP”)—Saudi Arabia’s primary intelligence agency—would not permit

its officers to participate in extraterritorial rogue operations because it depended on working

relationships with legitimate intelligence and security professionals around the world. The GIP




225
      See El Mawy, supra note 33.
                                                 142
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did not want to risk those relationships by undertaking rogue operations in pursuit of the personal

goals of Defendant bin Salman.

       B.      The Government of Saudi Arabia Grows Increasingly Concerned about
               Defendant bin Salman’s Personal Hit Team.

       279.    Even after Dr. Saad was removed from the government in September 2015, officials

who remained employed by the Saudi government confided in Dr. Saad about the increasingly

brutal operations of Defendant bin Salman’s personal team. The operations troubled the Saudi

government’s security and spy agencies so much that Defendant bin Salman’s Tiger Squad team

itself became a top surveillance target of the Saudi government. Through that surveillance, the

Saudi government learned that Defendant bin Salman’s personal hit team would stop at nothing to

satisfy his whims—even if it meant sexually abusing a religious pilgrim to Mecca. Unfortunately,

the Saudi government failed to stop Defendant bin Salman before it was too late.

       187.280.       After Dr. Saad left the government, one of his former colleagues approached

Dr. Saad to inform him that a close contact, Mansour Othman Abahussain, was terrified after

having been conscripted to serve on a newly assembled team directed by Defendants bin Salman

and Alqahtani.    The team conducted operations outside the official channels of the Saudi

government.    Dr. Saad’s former colleague also reported that Abahussain, as a member of

Defendant bin Salman’s team, was being ordered to torture and rape the team’s victims. Dr.

Saad—fearful that these extrajudicial killing. operations posed serious harm to Saudi Arabia—

reported the conversation to then-Crown Prince Mohammed bin Nayef and senior intelligence

official General Abdulaziz Howairini. In response, General Howairini told Dr. Saad that he was

already aware of Defendant bin Salman’s personal hit team. But General Howairini did not stop


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it. Instead, in October 2018, Abahussain—then a Major General who worked in Defendant bin

Salman’s private office—traveled to Turkey to participate in the killing of Jamal Khashoggi. 226

Subsequently, the United States Department of State and Department of Treasury sanctioned

Abahussain, and the Saudi government indicted and arrested him. 227

         188.1. Defendant bin Salman’s efforts to bait Dr. Saad back to Saudi Arabia and hunt him

down have ultimately been in service of the only way to guarantee Dr. Saad poses no threat to

Defendant bin Salman’s ascension and consolidation of influence among key figures in the U.S.

Intelligence Community: extinguishing Dr. Saad’s life. Throughout Defendant bin Salman’s

brutal campaign, he has directly threatened the use of “measures that would be harmful to you.” 228

And his actions make clear he meant what he said. After repeated efforts to lure Dr. Saad to more

favorable jurisdictions, after repeated efforts to identify Dr. Saad’s physical location in the United

States and elsewhere, and after agent Defendant Alharbi pinpointed Dr. Saad’s location in Toronto,

on or around October 15, 2018, Defendant bin Salman dispatched a kill team from the Tiger Squad

to travel across the Atlantic Ocean to kill Dr. Saad.

      A. The U.S. Intelligence Community Warns Their Partner Dr. Saad that His Life is in Danger




226
    U.N. Human Rights Council, Appendix to the Report of the Special Rapporteur on
Extrajudicial, Summary or Arbitrary Executions: Investigation into the Unlawful Death of Mr.
Jamal Khashoggi, U.N. Doc. A/HRC/41/CRP.1 (June 19, 2019) ¶ 90 Table B [hereinafter UN
Special Rapporteur Report]; The UK Sanctions List, United Kingdom Gov’t (July 6, 2020),
https://www.gov.uk/government/publications/the-uk-sanctions-list.
227
      UN Special Rapporteur Report P 192 Table D.
228
      WhatsApp messages from Defendant bin Salman to Dr. Saad (Sept. 10, 2017, 4:56 PM AST).

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          189.1. In the face of increasing threats against Dr. Saad’s life in the United States, Canada,

and Saudi Arabia, the U.S. Intelligence Community warned Dr. Saad of the ongoing threat and

communicated their intention to assist in efforts to protect the life of Dr. Saad and his family.

These actions were consistent with public reporting that the CIA and other U.S. agencies were

concerned that Defendant bin Salman’s actions could “damage U.S. interests.” 229

          190.1. Specifically, on January 7, 2018, federal officials stopped Dr. Saad’s son Khalid at

Boston Logan International Airport in Boston, Massachusetts, and he was escorted to a private

meeting with two FBI agents. The FBI agents warned Khalid that they had learned of credible

threats to the life of Dr. Saad and his family, including Defendant bin Salman’s campaign to hunt

Dr. Saad and his family in the United States, and urged them to exercise caution. The FBI agents

emphasized to Khalid that they were helping Dr. Saad and his family. 230

          191.1. Similarly, a representative from a U.S. government agency told Khalid in the

summer of 2018 that “everything” was “taken care of,” explaining that the U.S. government had a

“moral obligation” to protect Dr. Saad and his family. The U.S. government official indicated the

U.S. government was “taking care” of Dr. Saad.




229
      Hubbard & Kirkpatrick, supra note 98207.
230
    U.S. intelligence agencies have a duty to warn persons—including non-U.S. persons like Dr.
Saad—if the agency “collects or acquires credible and specific information indicating an
impending threat of intentional killing, serious bodily injury, or kidnapping.” Director of National
Intelligence, Intelligence Community Directive 191: Duty to Warn, at 2, (July 21, 2015,),
https://fas.org/irp/dni/icd/icd-191.pdf. U.S. intelligence agencies are to consult with the FBI or the
CIA to determine the best method to communicate threats to the intended victim. Id.
                                                   145
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       192.1. While the U.S. government has thus far aided in the efforts to protect Dr. Saad’s

life, it has been unable to prevent a credible attempt on Dr. Saad’s life by Defendant bin Salman’s

agents, an attempt which remains ongoing to this day.

       281.    On information and belief, General Howairini ultimately instructed the Mabahith

to spy on the operations of Defendant bin Salman’s personal hit team—even going so far as to tap

into Defendant bin Salman’s personal mobile phone. For example, in 2016, the Mabahith

surveilled and photographed members of Defendant bin Salman’s personal team—acting under

the direct supervision of Defendant Alqahtani—forcing a boy into a van, where he was kidnapped

from Mecca and disappeared. The boy was targeted for posting online information critical of the

actions of the royal family. During its surveillance, the Mabahith also observed the members of

the Tiger Squad in repeated and close contact with Defendant bin Salman: as early as 2016, the

Tiger Squad members were seen at Defendant bin Salman’s home, among his close company at

gatherings, escorting him during travel, and alongside him in the Ministry of Defense.

       282.    The Saudi government soon learned that Defendant bin Salman would not hesitate

to deploy the team to seek revenge against those who undermined his personal interests—even if

doing so utterly defiled fundamental societal and religious norms. Most notably, on April 21,

2016, the religious cleric Sulaiman Aldoweesh posted a series of tweets implicitly criticizing

Defendant bin Salman, warning of the “calamity” that results when a father spoils his son, creating

a “reckless” son.231 Even though the tweets did not mention Defendant bin Salman by name, they



231
        ‫@( سليمان أحمد الدويش‬S_A_ALDWEESH), Twitter (Apr. 21, 2016, 3:16 PM),
https://twitter.com/s_a_aldweesh/status/723228833634197504 & (Apr. 21, 2016, 6:12 PM),
https://twitter.com/s_a_aldweesh/status/723273228475457537.
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were understood to refer to Defendant bin Salman because of his reputation for being a favorite

child of his father along with references to perceived negative personality traits associated with

Defendant bin Salman, such as his corruption. Furious, Defendant bin Salman demanded the

immediate detention and torture of the cleric, even though he was then on a religious pilgrimage,

or umrah, in Mecca and was in the sacred state of ihram. Defendant bin Salman ordered that

Aldoweesh be captured and delivered directly to Defendant Alqahtani in Riyadh—notwithstanding

the fact that Aldoweesh was in the midst of the most sacred portion of the pilgrimage, signified by

the wearing of just two white unhemmed sheets. And Defendant bin Salman got his wish. One

day after the tweets, Aldoweesh was kidnapped, captured, and delivered to Defendant Alqahtani.

Defendant Alqahtani and his men then tortured and sodomized the pilgrim with a broomstick in a

seemingly perverse revelry that flaunts the prohibition on sexual acts during the pilgrimage. It

would be surprising if King Salman bin Abdulaziz al Saud, the Custodian of the Two Holy

Mosques, condoned his son’s treatment of religious pilgrims in Mecca in this cruel manner.

Aldoweesh was never heard from again, and public reports suggested he was ultimately tortured

to death.232




232
    Prominent Sheikh Tortured to Death in Saudi Jail, Middle East Monitor (Aug. 14, 2018),
https://www.middleeastmonitor.com/20180814-prominent-sheikh-tortured-to-death-in-saudi-
jail/.

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One of Aldoweesh’s last tweets, which caused Defendant bin Salman to order Aldoweesh’s
immediate kidnapping while on a religious pilgrimage in Mecca and deploy the Tiger Squad
to torture him233

       283.    On the eve of Dr. Saad’s departure from Saudi Arabia in May 2017 because of the

escalating personal threats from Defendant bin Salman, General Howairini expressed concern to

Dr. Saad about the increasingly active personal hit team of Defendant bin Salman, and asked Dr.

Saad if he also feared the squad. The answer was simple: yes.

       C.      The Tiger Squad Carries Out a Series of Extrajudicial Operations Outside of
               Saudi Arabia Using the Same Modus Operandi of the Deployment to Kill Dr.
               Saad.

       284.    Since its first extraterritorial operation in September 2015, Defendant bin Salman’s

personal death squad, now commonly known as the Tiger Squad, carried out a series of overseas

extrajudicial operations designed to render and kill the personal targets of Defendant bin Salman.

Through personally sending teams of Tiger Squad operatives into a host of countries—including

at minimum France, Norway, Germany, Turkey, and Canada—Defendant bin Salman and his top

aides Defendants Alqahtani and Alassiri have sent one clear message: no matter where you are, do

not cross Defendant bin Salman, or you will not be safe.


233
     ‫@( سليمان أحمد الدويش‬S_A_ALDWEESH), Twitter (Apr. 21, 2016, 3:16 PM),
https://twitter.com/s_a_aldweesh/status/723228833634197504 (professionally translated from the
original Arabic language).
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       285.    The Tiger Squad’s operations ultimately extended to killing Jamal Khashoggi in

Turkey and attempting to kill Dr. Saad in Canada just several days later.

       286.    Yet the modus operandi of Defendant bin Salman’s Tiger Squad had been well

established long before Khashoggi walked into the Saudi consulate in Istanbul on October 2, 2018,

and includes the following:

       287.    Selecting Targets Who Threatened Defendant bin Salman’s Personal Interests.

First, Defendant bin Salman selected targets who threatened to undermine his personal interests.

Whether it was the personal Twitter criticism of Prince Saud 234 or Aldoweesh,235 direct threats to

reveal salacious conduct, or Khashoggi’s personal criticisms of Defendant bin Salman aired to

influential U.S. policymakers, 236 Defendant bin Salman has repeatedly sought retribution against

those who could undermine his personal interests. Here, Defendant bin Salman has targeted Dr.

Saad because he is a longtime trusted partner of senior U.S. intelligence officials who knows too

much damning information about Defendant bin Salman, positioning him to existentially threaten

Defendant bin Salman’s standing with the U.S. government.




234
    See, e.g., ‫@( سعود بن سيف النصر‬SAUD_SAIFALNASR), Twitter (Aug. 19, 2015, 4:00 PM),
https://twitter.com/SAUD_SAIFALNASR/status/634092476295417856; ‫سعود بن سيف النصر‬
(@SAUD_SAIFALNASR),               Twitter  (Aug.   19,       2015,      5:58      PM),
https://twitter.com/SAUD_SAIFALNASR/status/634122311453376512.
235
      ‫@( سليمان أحمد الدويش‬s_a_aldweesh), Twitter (Apr.                21,   2016,    3:07   PM),
https://twitter.com/s_a_aldweesh/status/723226776739164160.
236
    Gabriel Sherman, “I Was Ordered Silent”: How Jamal Khashoggi Fell Out with Bin Salman,
Vanity Fair (Oct. 16, 2018), https://www.vanityfair.com/news/2018/10/how-jamal-khashoggi-
fell-out-with-bin-salman.

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         288.   The Targets Fled Saudi Arabia for their Safety. Next, Defendant bin Salman’s

selected targets—recognizing they were marked men—fled Saudi Arabia fearing for their safety.

The Tiger Squad went after multiple Saudi nationals living in exile in at least France (Prince Saud

bin Saif and Prince Sultan), Norway (Iyad Elbaghdadi), Germany (Prince Khaled bin Farhan al

Saud), Turkey (Jamal Khashoggi), and Canada (Omar Abdulaziz). 237 Here, Dr. Saad narrowly

escaped Saudi Arabia in May 2017, with Mr. bin Nayef and General Howairini warning Dr. Saad

that he should not come back. 238

         289.   Attempts to Lure Back to Saudi Arabia. With Defendant bin Salman’s targets

outside the country, he sought to lure the target back to Saudi Arabia or other jurisdictions where

they could more easily be killed. These attempts usually began with friendly gestures. For

example, Defendant bin Salman deposited millions in Prince Sultan’s bank account and offered

the use of a private jet to visit his father in Cairo—not realizing the private jet was a trap to render

him back to Saudi Arabia.239        Agents sent by Defendant bin Salman to Saudi dissident Omar

Abdulaziz in Canada told him that Defendant bin Salman invited the dissident to come back to



237
    See, e.g., Ayman M. Mohyeldin, No One Is Safe: How Saudi Arabia Makes Dissidents
Disappear, Vanity Fair (July 29, 2019), https://www.vanityfair.com/news/2019/07/how-saudi-
arabia-makes-dissidents-disappear; Hugh Miles, Saudi Prince Returned from Europe Against His
Will,          Say          Staff,        Guardian          (Mar.         29,        2016),
https://www.theguardian.com/world/2016/mar/29/saudi-prince-returned-from-europe-against-
his-will-say-staff; Hope & Scheck, supra note 26; El Mawy, supra note 33.
238
  WhatsApp message from Gen. Abdulaziz Howairini to Dr. Saad (June 17, 2017, 7:07 PM AST)
(warning Dr. Saad that the captors “were very eager” to get Dr. Saad); WhatsApp message from
Mr. bin Nayef to Dr. Saad (June 21, 2017, 8:01 AM) (warning Dr. Saad not to return to Saudi
Arabia, stating “Be very careful! Don’t come back!”).
239
      Hope & Scheck, supra note 26.

                                                  150
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Saudi Arabia whenever he wants and that substantial money and a lucrative job in his preferred

field of media awaited him.240 Prince Khaled bin Farhan was offered more than $5 million if only

he traveled to a Saudi embassy to collect it. 241 Defendant Alqahtani offered Jamal Khashoggi a

policy job with the government if he returned to Saudi Arabia. 242 In this case, Defendant bin

Salman initially sought Dr. Saad’s return by inviting him to do what Dr. Saad does best—advise

on questions of national security and policy, in this case with respect to a “sensitive file” about

Mr. bin Nayef.243

       290.    Exploitation of Diplomatic Facilities and Personnel. In Defendant bin Salman’s

attempts to lure his targets back to Saudi Arabia, the Tiger Squad repeatedly exploited diplomatic

facilities and personnel. Each of the Tiger Squad’s 2018 operations involved the gross abuse of

diplomatic resources. Agents sent by Defendant bin Salman to Abdulaziz to Canada in May 2018




240
    Loveday Morris & Zakaria Zakaria, Secret Recordings Give Insight into Saudi Attempt to
Silence Critics, Wash. Post (Oct. 17, 2018), https://www.washingtonpost.com/world/secret-
recordings-give-insight-into-saudi-attempt-to-silence-critics/2018/10/17/fb333378-ce49-11e8-
ad0a-0e01efba3cc1_story.html.
241
    Mohyeldin, supra note 220; Saudi Prince Exiled in Germany Says He Avoided Kidnapping
Days       Before       Khashoggi,       Daily       Sabah       (Oct.      16,      2018),
https://www.dailysabah.com/world/2018/10/16/saudi-prince-exiled-in-germany-says-he-avoided-
kidnapping-days-before-khashoggi.
242
   Tamer El-Ghobashy, Khashoggi Mystery Fixes Spotlight on Saudi Official Described as Crown
Prince’s      Strategist,     Enforcer,        Wash.      Post      (Oct.     12,      2018),
https://www.washingtonpost.com/world/khashoggi-mystery-fixes-spotlight-on-saudi-official-
described-as-crown-princes-strategist-enforcer/2018/10/12/df5b523a-cd8f-11e8-ad0a-
0e01efba3cc1_story.html.
243
   WhatsApp message from Defendant bin Salman to Dr. Saad (Sept. 9, 2017, 11:05 PM AST)
(noting that he “want[s] to resolve this problem of your son and daughter, but there is a very
sensitive file here that is related to [Mr. bin Nayef]”).

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repeatedly pleaded with him over a series of meetings that he should travel to the Saudi embassy

in Ottawa to renew his passport, even though there was no need to physically set foot in an embassy

under Saudi passport renewal procedures. 244 By the end of their meetings, the agents sent by

Defendant bin Salman were literally in tears begging Abdulaziz to travel to the Saudi embassy,

knowing that if he did not, they would have to report back to Defendant bin Salman and Defendant

Alqahtani in Saudi Arabia empty-handed. In the summer of 2018, Norwegian security officials

stymied a threat posed by ten new security guards at the Saudi embassy in Oslo, an effort to

suddenly increase manpower at the tiny embassy in Norway in an effort to target prominent

dissident Elbaghdadi, who at the time was engaged in political projects with Khashoggi. 245

Similarly, in September 2018, Prince Khaled in Germany was instructed to travel to the Saudi

embassy in Cairo to collect a promised payment. 246 Only days later, Jamal Khashoggi was lured

to the Saudi consulate in Istanbul after being told by the Saudi Embassy in Washington, D.C. that




244
    See Morris & Zakaria, supra note 223. In 2015, Saudi Arabia launched the Absher app, which
allowed people to renew their passports via a mobile application or online. Rawan Radwan, How
‘Absher’ App Liberates Saudis from Government Bureaucracy, Arab News (Feb. 17, 2019),
https://www.arabnews.com/node/1453341/saudi-arabia (“Absher allows residents of the Kingdom
to make appointments, renew IDs, passports, driver’s licenses, car registration and other services
with one click.”).
245
  Torgeir P. Krokfjord et al., Dagbladet Can Reveal that Norwegian Authorities Intervened When
Saudi Arabia Deployed a Mysterious Ten-Man Security Team to Norway, Dagbladet (Dec. 15,
2020), https://www.dagbladet.no/nyheter/the-saudi-security-team-to-norway/73159458.
246
   Saudi Prince Exiled in Germany Says He Avoided Kidnapping Days Before Khashoggi, supra
note 224.

                                               152
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it was the only way he could obtain marriage papers.247 Here, just like Jamal Khashoggi was told

that “[t]here is an order from Interpol”248 after he entered the consulate, Defendant bin Salman

personally threatened Dr. Saad that “[t]here is no state in the world that would refuse to turn you

over,”249 just two days before causing an arrest warrant and notice to be filed with INTERPOL.

And in the days and weeks before successfully luring Khashoggi to the Saudi consulate in Istanbul,

Defendant bin Salman’s aides sought to do the very same thing to Dr. Saad’s daughter Hissah,

pressuring her to renew her passport at the same Saudi consulate. 250

          291.   Disappearances and Other Restrictive Measures against the Target’s Family and

Associates in Saudi Arabia. When friendly overtures failed to lure his target back to Saudi Arabia,

Defendant bin Salman and his henchmen imposed brutal restrictive measures against his target’s

family members, friends, and associates in Saudi Arabia, all in an effort to increase the pressure

on his target to return to Saudi Arabia. Within months after Abdulaziz declined to enter the Saudi

embassy in Canada or return to Saudi Arabia, Defendant bin Salman’s henchmen detained his two

brothers in a midnight raid, and his friends and roommates were detained, disappeared, and

tortured in Saudi Arabia.251 Defendant bin Salman imposed a travel ban on four of Jamal




247
   Carlotta Gall, Security Images Show Khashoggi and Fiancée in His Final Hours, N.Y. Times
(Oct.    22,    2018),     https://www.nytimes.com/2018/10/22/world/europe/khashoggi-fiance-
photos.html; UN Special Rapporteur report ¶ 73.
248
      UN Special Rapporteur Report ¶ 94.
249
      WhatsApp message from Defendant bin Salman to Dr. Saad (Sept. 10, 2017, 4:56 PM).
250
      See supra ¶ 186.
251
      Perper, supra note 185.

                                               153
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Khashoggi’s children soon after Khashoggi fled the country. 252 And even though Prince Khaled

has managed to remain in Germany, his family has endured increasing pressure in Saudi Arabia. 253

Here, when an INTERPOL notice and a years-long travel ban on Dr. Saad’s children failed to

secure Dr. Saad’s return, Defendant bin Salman instructed his henchmen to seize the children in a

dawn raid—along with approximately twenty other relatives, friends, and former associates in

subsequent months.

       292.    Locate, Detain, and Kill the Target. As each of these increasingly coercive steps

failed, Defendant bin Salman directed teams to locate, detain, and kill his targets regardless of their

country of residence—even if that meant blatantly violating the sovereignty of other states. For

example, Defendant bin Salman’s agents in Canada coerced a student, dependent on Defendant

bin Salman for his scholarship, to report detailed information on the political activities of

Abdulaziz in Canada. In Dr. Saad’s case, Defendant bin Salman deployed a network of operatives

in the United States to locate Dr. Saad, ultimately sent a Tiger Squad team across the Atlantic

Ocean into Canada in October 2018, and directed another team to travel to Canada through the

United States in May 2020.




252
    John Haltiwanger, Killed Journalist Jamal Khashoggi’s Children, Some of Whom Are Dual
US Citizens, Are Reportedly Barred from Leaving Saudi Arabia, Bus. Insider (Oct. 24, 2018),
https://www.businessinsider.com/khashoggis-children-are-reportedly-barred-from-leaving-saudi-
arabia-2018-10.
253
   Bel Trew, Rebel Saudi Royal Forms Europe-based Opposition Calling for Regime Change in
Riyadh, Independent (Mar. 12, 2019), https://www.independent.co.uk/news/world/middle-
east/saudi-prince-opposition-flee-regime-change-khalid-bin-farahan-al-saud-a8819296.html.

                                                 154
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          293.   Working closely with Defendant Alqahtani, Defendant bin Salman personally

directed these escalating efforts against his targets each and every step of the way. As described

above, Dr. Saad personally witnessed Defendant bin Salman’s order to extrajudicially render

Prince Saud from France in 2015. Agents who visited Abdulaziz in Canada in May 2018

repeatedly informed him that they were sent by Defendant bin Salman directly, making repeated

statements such as, “[w]e have come to you with a message from Mohammed bin Salman.” 254

And the CIA concluded with “high confidence” that Defendant bin Salman personally ordered

Khashoggi’s killing.255 Here, Defendant bin Salman personally threatened in September 2017 that

he would use “all available means” to eliminate Dr. Saad and later personally directed a Tiger

Squad team to travel into Canada from the United States to kill Dr. Saad in May 2020. 256

          294.   Similarly, inescapable evidence establishes that Defendant Alqahtani personally

participated in Tiger Squad operations. Dr. Saad has personal knowledge that Defendant Alqahtani

personally coordinated the September 2015 operation to render Prince Saud from France to Saudi

Arabia because Defendant Alqahtani subsequently bragged about having accomplished the

extrajudicial operation without the benefit of Saudi government resources. A few months later,

Defendant Alqahtani personally posed as “Captain Saud” on a private jet flight that used deception

to render Prince Sultan bin Turki II from France to Saudi Arabia in February 2016, with other




254
      Dos Santos & Kaplan, supra note 31.
255
      Harris, supra note 11.
256
      WhatsApp message from Defendant bin Salman to Dr. Saad (Sept. 10, 2017, 4:56 PM AST).

                                               155
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members of the Tiger Squad comprising the remainder of the flight crew.257 The agents who

traveled to Canada in May 2018 to meet with Abdulaziz explicitly said that Defendant Alqahtani

had discussed the operation and should be immediately approached by Abdulaziz upon his return

to Saudi Arabia in an effort to “resolve” the matter. 258 Defendant Alqahtani also made threatening

phone calls to Jamal Khashoggi over a several year period leading up to his October 2018

killing.259

          295.   The world learned of this modus operandi when the Tiger Squad killed Jamal

Khashoggi on October 2, 2018, but Defendant bin Salman and the Tiger Squad had been

cultivating these techniques for years.

          B.D.   Days Before Traveling to Canada to Kill Dr. Saad, Defendant bin Salman’s
                 Tiger Squad Kills Washington Post Journalist Jamal Khashoggi.


          193.296.      Defendant bin Salman’s extrajudicial campaign targeting Saudis with the

ears of a U.S. audience was not limited to Dr. Saad forbecause of his access to the U.S. Intelligence

Community and wealth of knowledge about the workings of Defendant bin Salman and the Saudi

Royal Court. As is now well known, Defendant bin Salman also successfully orchestrated the




257
      Hope & Scheck, supra note 26.
258
      Dos Santos & Kaplan, supra note 31.
259
   Agence France Presse, Friend Says Khashoggi ‘Threatened’ by Saudi Official Before Death,
(Nov. 25, 2020), https://www.news18.com/news/world/friend-says-khashoggi-threatened-by-
saudi-official-before-death-3113855.html.

                                                156
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extrajudicial killing of Jamal Khashoggi, who was connected to the Washington, D.C. foreign

policy elite.260

        194.297.       Khashoggi had developed a reputation as a Beltway insider connected to

academics and think tanks in Washington, D.C. that influence the U.S. Intelligence Community

and foreign policy establishment with respect to Saudi Arabia. United Nations Special Rapporteur

Agnes Callamard said that Khashoggi was “known to many people in Washington [D.C.].” 261

Other insiders considered him one of “the club”—one of the “the members of Congress,

journalists, staffers, consultants, lobbyists, pundits and influencers who make a living in the circus

of public affairs driven by the happenings of the United States Congress.” 262 He regularly spoke

at highly regarded think tanks in Washington D.C., including the Brookings Institute and the

Washington Institute for Near East Policy. 263 Indeed, Defendant bin Salman initially banned

Khashoggi from writing in newspapers and appearing on television in Saudi Arabia after

Khashoggi criticized then-President-elect Trump at a think tank in Washington, D.C., undermining



260
   Robin Wright, Jamal Khashoggi’s Murder Haunts Saudi Arabia’s Crown Prince, New Yorker,
(Oct. 2, 2019,), https://www.newyorker.com/news/our-columnists/jamal-khashoggis-murder-
haunts-saudi-arabias-crown-prince.
261
   Brookings Inst., Transcript, Investigating the Khashoggi Murder: Insights from U.N. Special
Rapporteur Agnes Callamard, Brookings Inst. 2, July 2, 2019, https://www.brookings.edu/wp-
content/uploads/2019/06/fp_20190702_callamard_khashoggi_transcript.pdf.            [hereinafter
Investigating the Khashoggi Murder].
262
   Don Calloway, The Difference with Khashoggi: He Was a Member of our Club, Hill, (Oct. 19,
2018,), https://thehill.com/opinion/white-house/412216-the-difference-with-khashoggi-he-was-a-
member-of-our-club.
263
   See, e.g., Jamal Khashoggi et al., A New President and the Middle East, Wash. Inst. (Nov. 15,
2016),         https://www.washingtoninstitute.org/policy-analysis/view/a-new-president-and-the-
middle-east; Investigating the Khashoggi Murder, supra note 104244, at 2.

                                                 157
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Defendant bin Salman’s plan to win the support of the Trump administration. 264 And at the

Washington Post, Khashoggi was writing for a publication that could undermine the reception in

Washington, D.C. to Defendant bin Salman’s narrative of economic and social reform. It did not

aid Khashoggi’s standing with Defendant bin Salman that—exactly like Prince Saud bin Saif—

Khashoggi had publicly criticized Defendant bin Salman’s personal corruption, represented by his

$500 million yacht, at the same time Defendant bin Salman was purporting to crackdown on

corruption in Saudi Arabia.265

       195.298.       Khashoggi—who had insider knowledge on Saudi Arabia’s dealings with

al-Qaeda prior to September 11, 2001 and a personal relationship with Osama bin Laden prior to

his radicalization—was also regarded as a source of information on Saudi Arabia by the U.S.

Intelligence Community.266 For example, when searching for information on the September 11,

2001 attacks, a former F.B.I. agent contacted Khashoggi. 267



264
   Osborne, supra note 50. Samuel Osborne, Saudi Arabia Bans Journalist for Criticising Donald
Trump, Independent (Dec. 5, 2016), https://www.independent.co.uk/news/world/middle-
east/saudi-arabia-donald-trump-journalist-banned-for-criticising-us-president-elect-
a7456956.html.
265
   Jamal Khashoggi, Opinion: Saudi Arabia’s Crown Prince is Acting Like Putin, Wash. Post
(Nov. 5, 2017), https://www.washingtonpost.com/news/global-opinions/wp/2017/11/05/saudi-
arabias-crown-prince-is-acting-like-putin/.
266
    UN Special Rapporteur Report ¶ 61; Liz Sly, From Travels with bin Laden to Sparring with
Princes: Jamal Khashoggi’s Provocative Journey, Wash. Post,                (Oct. 7, 2018,),
https://www.washingtonpost.com/world/from-travels-with-bin-laden-to-sparring-with-princes-
jamal-khashoggis-provocative-journey/2018/10/07/c1290f28-ca3d-11e8-ad0a-
0e01efba3cc1_story.html.
267
    Souad Mekhennet & Greg Miller, Jamal Khashoggi’s Final Months as an Exile in the Long
Shadow      of    Saudi      Arabia,     Wash.      Post,          (Dec.      22,    2018,),
https://www.washingtonpost.com/world/national-security/jamal-khashoggis-final-months-an-

                                               158
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             196.299.     In the midst of Defendant bin Salman’s efforts to tour the United States in

the spring of 2018, Defendant bin Salman orchestrated a scheme to lure Khashoggi back to Saudi

Arabia with the intention of detaining him. Acting at Defendant bin Salman’s direction, senior

Saudi officialsaides contacted Khashoggi to offer him a position in government if he returned. 268

For example, Defendant Alqahtani called Khashoggi in May 2018 in an attempt to convince

Khashoggi to return to Saudi Arabia269—much like the personal outreach by DefendantDefendants

bin Salman and Defendant Alasaker to secure Dr. Saad’s return to Saudi Arabia.

             300.   Khashoggi did not return to Saudi Arabia. Instead, when he entered the Saudi

consulate in Istanbul, Turkey on October 2, 2018, a team of the Tiger Squad, team was lying in

wait.270 Khashoggi was never again seen alive.271




exile-in-the-long-shadow-of-saudi-arabia/2018/12/21/d6fc68c2-0476-11e9-b6a9-
0aa5c2fcc9e4_story.html.
268
   Shane Harris, Crown Prince Sought to Lure Khashoggi Back to Saudi Arabia and Detain Him,
U.S.      Intercepts     Show,       Wash.        Post,           (Oct.      10,     2018,),
https://www.washingtonpost.com/world/national-security/crown-prince-sought-to-lure-
khashoggi-back-to-saudi-arabia-and-detain-him-us-intercepts-show/2018/10/10/57bd7948-cc9a-
11e8-920f-dd52e1ae4570_story.html.
269
      Id.
270
   UN Special Rapporteur Report ¶¶ 89–92; How the Man Behind Khashoggi Murder Ran the
Killing Via Skype, Reuters (Oct. 22, 2018), https://www.reuters.com/article/us-saudi-khashoggi-
adviser-insight/how-the-man-behind-khashoggi-murder-ran-the-killing-via-skype-
idUSKCN1MW2HA.
271
   Clarence Williams, Jamal Khashoggi Remembered in Washington One Year After Journalist’s
Killing, Wash. Post (Oct. 2, 2019), https://www.washingtonpost.com/local/jamal-khashoggi-
remembered-in-washington-one-year-after-journalists-killing/2019/10/02/ee8db6f8-e571-11e9-
a331-2df12d56a80b_story.html.

                                                  159
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       197.301.       There is no doubt that the team was directed by Defendant bin Salman and,

under the supervision of DefendantDefendants Alqahtani and Alassiri. Many of the same men

who traveled to Istanbul for Khashoggi’s killing had also tortured Dr. Saad’s son-in-law Salem

Almuzaini months earlier as part of Defendant bin Salman’s attempt to lure Dr. Saad back to Saudi

Arabia. Among those who were present and directly participated in both the torture and coercive

interrogation of Dr. Saad’s son-in-law and the killing of Khashoggi included Defendant Alassiri,

was lying in wait.272 Khashoggi was never again seen aliveAlqahtani, Badr Lafi Alotaibi (one of

the leaders of Salem’s torture), Maher Mutreb (who worked with Defendant Alqahtani), Saif Saad

Alqahtani (who worked in Defendant bin Salman’s private office), Abdulaziz Alhawsawi (a

member of Defendant bin Salman’s security team), Meshal Albostani, Mohammed Alzahrani,

Mustafa Almadani, and Fahad Shabib Albalawi.273




272
   UN Special Rapporteur Report ¶¶ 89–92; How the Man Behind Khashoggi Murder Ran the
Killing Via Skype, supra note 16.
273
   Clarence Williams, Jamal Khashoggi Remembered in Washington One Year After Journalist’s
Killing, Wash. Post, Oct. 2, 2019, https://www.washingtonpost.com/local/jamal-khashoggi-
remembered-in-washington-one-year-after-journalists-killing/2019/10/02/ee8db6f8-e571-11e9-
a331-2df12d56a80b_story.html. The UK Sanctions List, United Kingdom Gov’t (July 6, 2020),
https://www.gov.uk/government/publications/the-uk-sanctions-list; UN Special Rapporteur
Report ¶ 87 Table A.
                                              160
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The




          198.302.     In the Khashoggi operation, the team had traveled from Saudi Arabia to

Istanbul in two separate groups before the murder.274

          199.303.     Inside the consulate, the Tiger Squad team first told Khashoggi that he

needed to returnwould be returned to Saudi Arabia.275 According to audio recordings from inside



274
      UN Special Rapporteur Report ¶¶ 82–86.
275
      Id. ¶ 94.
                                               161
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the Saudi consulate, members of the Tiger Squad told Khashoggi: “We will have to take you back.

There is an order from Interpol. Interpol requested you to be sent back. We are coming to get

you.”276 As described above, that threat fit Defendant bin Salman’s tactics against Dr. Saad, and

other targets, attempting to coerce his return to Saudi Arabia while using INTERPOL to restrict

his movements.

          200.304.      When Khashoggi protested, the Tiger Squad ambushed, suffocated, and

ultimately dismembered him.277 Limb by limb, with the help of a bone saw, the team—led by a

forensic expert, Dr. Salah Mohammed Tubaigy—began to dismember his body. 278 Dr. Tubaigy

turned on music so that he could stomach the noise of his own gruesome acts. 279 The sounds of a

bone saw—used by forensic crews when conducting an autopsy—can be heard in audio recordings

capturing the final moments of Khashoggi’s life, as the group of killers discussed how to

dismember and dispose of Khashoggi’s body, which they referred to as a “sacrificial animal.” 280

The Tiger Squad ultimately severed the journalist’s fingers and beheaded him. 281




276
      Id. ¶ 94.
277
      Id. ¶¶ 94–96.
278
   ‘I Can’t Breathe’: Saudi Journalist Khashoggi’s Last Words – CNN, Reuters, (Dec. 10, 2018,),
https://www.reuters.com/article/us-saudi-khashoggi-turkey/i-cant-breathe-saudi-journalist-
khashoggis-last-words-cnn-idUSKBN1O915N; UN Special Rapporteur Report ¶ 96.
279
      ‘I Can’t Breathe’, supra note 118;Id.; UN Special Rapporteur Report ¶ 96.
280
      UN Special Rapporteur Report ¶¶ 91, 96.
281
   David Kirkpatrick & Carlotta Gall, Audio Offers Gruesome Details of Jamal Khashoggi Killing,
Turkish      Official     Says,        N.Y.       Times,            (Oct.      17,     2018,),
https://www.nytimes.com/2018/10/17/world/europe/turkey-saudi-khashoggi-dismember.html.

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          201.305.      It has been reported that Defendant Alqahtani supervised the Tiger Squad’s

killing in real time over Skype.282

          202.306.      Further, during the attack, a member of the Tiger Squad placed four

telephone calls to the mobile phone of Defendant Alasaker, keeping Defendant bin Salman’s right-

hand man updated on the events in the Saudi consulate283—just like Defendant Alasaker’s

participation in Defendant bin Salman’s attempt to send a private jet to collect Dr. Saad.

          203.307.      TheAs described above, the Tiger Squad team sent for Khashoggi included

Dr. Tubaigy, a forensic pathologist from the Saudi Ministry of the Interior. 284 A forensic

pathologist is a physician who is specially trained to conduct autopsies. 285 Dr. Tubaigy was also

a Professor in the Department of Criminal Evidence at Naif Arab University in Riyadh, Saudi

Arabia.286 The United Nations Special Rapporteur on Extrajudicial, Summary, or Arbitrary

Executions, following an extensive investigation, concluded that “There is little plausible

explanation for [Dr. Tubaigy’s] role, other than the role he filled – dismembering and disposing of

the body.”287


282
   How the Man Behind Khashoggi Murder Ran the Killing Via Skype, supra note 16Reuters (Oct.
22, 2018), https://www.reuters.com/article/us-saudi-khashoggi-adviser-insight/how-the-man-
behind-khashoggi-murder-ran-the-killing-via-skype-idUSKCN1MW2HA.
283
    Smith, supra note 1222; Khashoggi Case: All Previous Updates, Al Jazeera, Nov. 22, 2018,
https://www.aljazeera.com/news/2018/10/khashoggi-case-previous-updates-
181017132822079.htmlsupra note 24.
284
      UN Special Rapporteur Report ¶ 87 Table A.
285
    Forensic Pathology, Encyclopedia Britannica, https://www.britannica.com/science/forensic-
science/Forensic-pathology (last visited Aug. 2, 2020).
286
      UN Special Rapporteur Report ¶ 87 Table A.
287
      Id. ¶ 202.

                                                163
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             308.   The team also included a high-ranking adviseradvisor to Defendant bin Salman

from the Ministry of Foreign Affairs and several Saudi intelligence officers. 288 Two members of

the Tiger Squad entered Turkey on a diplomatic passport.289 Because the members in a blatant

abuse of that privilege.290

             204.   In the aftermath, the Tiger Squad had separate chains of command in their disparate

official Saudi government positions, only Defendant bin Salman would have had the authority to

assemble such an interagency team.291

             205.309.      In the aftermath, Saudi officials went to great lengths to cover up the

murder.292 An audio recording captured Dr. Tubaigy discussing wrapping pieces of the body in

plastic sheets, and the recording captured the sounds of plastic wrapping. 293 Saudi officialsThe

Tiger Squad also forensically cleaned the crime scene and destroyed evidence. 294 Approximately

one week after the murder, additional Saudi officialsmembers of the Tiger Squad team traveled to

Turkey to clean up the crime scene, including a member of the Ministry of Interior’s General




288
      Id. ¶ 87 Table A.
289
      Id.
290
      Id.
291
      Id. ¶¶ 257, 259.
292
      Id. ¶¶ 96–154.
293
      Id. ¶ 96.
294
      Id. ¶¶ 8, 259.

                                                    164
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Department of Criminal Evidence, which is tasked with collecting and removing evidence from

crime scenes.295

          206.310.     No remains of Jamal Khashoggi’s body were ever discovered. 296

          207.311.     The Saudi government initially denied the Tiger Squad had any

involvement in Khashoggi’s killing and subsequently changed its story several times, claiming at

various points that Khashoggi fell victim to a fistfight or was killed in a rogue operation. 297 On

October 25, 2018, the attorney general of Saudi Arabia acknowledged the killing of Khashoggi

was premeditated, but did not ascribe any responsibility to Defendant bin Salman. 298

          208.312.     Notwithstanding the international outcry following the gruesome murder,

the U.S.-Based Covert Agent Defendants who hunted Dr. Saad in the fall of 2017 in the United

States voiced their public support for Defendant bin Salman on Twitter. For example,:




295
   Id. ¶¶ 119–30; Mohamed Al Madani et al., Origin and Development of Forensic Medicine in
the Kingdom of Saudi Arabia, 33 Am. J. of Forensic Med. & Pathology 147, 149-50 (2012).
296
    In Last Words, Khashoggi Asked Killers Not to Suffocate Him, AP News, (Sept. 10, 2019,),
https://apnews.com/a25b64eafa75400392dcb6999d394e0d.
297
      UN Special Rapporteur Report ¶¶ 116, 146–51.
298
    Saphora Smith, Saudi Arabia Now Admits Khashoggi Killing was ‘Premeditated’, NBC News,
(Oct. 25, 2018,), https://www.nbcnews.com/news/world/saudi-arabia-now-admits-khashoggi-
killing-was-premeditated-n924286.

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          a. On October 13, 2018, Defendant Alrajhi tweeted: “#IStandWithSaudiArabia

              always and forever.”299 Later that month, he retweeted a photo of Defendant bin

              Salman.300




          b. On October 24, 2018, Defendant Abuljadayel tweeted a flattering photo of

              Defendant bin Salman as an ardent supporter. 301

          c. On December 8, 2018, Defendant Alhamed tweeted that criticism of Defendant

              bin Salman by members of the United States Congress in the wake of the killing

              iswas “totally unacceptable and a fatal error” because “he represents us all as the

              youth of the Kingdom.”302 Defendant Abuljadayel retweeted Defendant Alhamed’s

              tweet.




299
      Youssef Alrajhi (@YousefAlrajhi1), Twitter (Oct.              13,    2018,    9:22   PM),
https://twitter.com/YousefAlrajhi1/status/1051281943986352129.
300
      ‫@( سعود بن سلمان‬HRHPSAUDS), Twitter (Oct.                    24,    2018,    11:41   AM),
https://twitter.com/HRHPSAUDS/status/1055122085352271872.
301
     Layla Abuljadayel ‫@(ليلى ابوالجدايل‬drlaylaaj), Twitter (Oct. 24, 2018, 11:38 AM),
https://twitter.com/drlaylaaj/status/1055121444135260160.
302
      Mohammed AlHamed (@M7Alhamed), Twitter (Dec. 8, 2018, 4:53 PM),
https://twitter.com/M7Alhamed/status/1071523191607181312 (professional translation from
original Arabic language tweet).

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          209.313.        In November 2018, a leakedan assessment by the CIA concluded with “high

confidence” that Defendant bin Salman personally ordered Khashoggi’s killing. 303 ThatThe CIA’s

conclusion severely injured Defendant bin Salman’s standing and reputation in the United States

and other western countries.304

          210.314.        On information and belief, Defendant bin Salman believes that Dr. Saad is

responsible for the CIA’s conclusion, which was based not on “smoking gun” evidence of

Defendant bin Salman’s involvement but rather on “an understanding of how Saudi Arabia

works”—an understanding which no one has better than Dr. Saad. 305 Specifically, on information

and belief, Defendant bin Salman believes that after the killing, Dr. Saad engaged the CIA to

discuss specifics of the plot, and that engagement led to the CIA’s conclusion that Defendant bin

Salman was personally involved.



303
      Harris et al.,, supra note 5. 11.
304
      Hubbard, supra note 612.
305
    Warren Strobel, CIA Concludes Saudi Journalist Was Killed on Crown Prince’s Order, Wall
St. J. (Nov. 17, 2018), https://www.wsj.com/articles/cia-concludes-saudi-journalist-was-killed-
on-the-crown-princes-order-1542412388.

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       211.315.       The following month, on November 15, 2018, the U.S. Department of

Treasury’s Office of Foreign Assets Control (“OFAC”) sanctioned Defendant Alqahtani, Dr.

Tubaigy, and fourteen other members of the Tiger Squad. 306 OFAC sanctioned the individuals

because “individuals who targeted and brutally killed a journalist who resided and worked in the

United States must face consequences for their actions.”307 When the government of the United

Kingdom issued similar sanctions on July 6, 2020, it concluded that Defendant Alqahtani had

“planned and directed” the killing using the Tiger Squad. and that Defendant Alassiri was

“involved in commissioning the 15 man team sent to Turkey to kill Jamal Khashoggi.” 308

       212.316.       After information about the CIA’s assessment was leaked in November

2018, and notwithstanding the OFAC sanctions, President Trump cast doubt on the CIA’s

conclusions, particularly the extent of Defendant bin Salman’s involvement. “Our intelligence

agencies continue to assess all information, but it could very well be that the Crown Prince had




306
   Press Release, Treasury Dep’t, Treasury Sanctions 17 Individuals for Their Roles in the Killing
of Jamal Khashoggi, U.S. Dep’t Treas. (Nov. 15, 2018), https://home.treasury.gov/news/press-
releases/sm547.
307
   Id. These sanctions were based in part on the Global Magnitsky Human Rights Accountability
Act, enacted in December 2016, according tounder which the President of the United States may
impose sanctions on “any foreign person the President determines, based on credible evidence—
is responsible for extrajudicial killings, torture, or other gross violations of internationally
recognized human rights” committed against certain individuals in a foreign country. Pub. L. 114-
328, Sec. 1263(a)(1).
308
    The UK sanctions listSanctions List, United Kingdom GovernmentGov’t (July 6, 2020),
https://www.gov.uk/government/publications/the-uk-sanctions-list.

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knowledge of this tragic event – maybe he did and maybe he didn’t! That being said, we

may never know all of the facts surrounding the murder of Mr. Jamal Khashoggi.” 309

VI.      Defendant bin Salman Dispatches the Tiger Squad and Pursues Other Direct Efforts
         to Extrajudicially Kill Dr. Saad.

         317.   After failing to lure Dr. Saad back to Saudi Arabia, hunting him in the United States,

and attempting to trap him in place through INTERPOL and other restrictive measures, Defendant

bin Salman next deployed a hit squad to carry out the final act of the attempted extrajudicial killing.

         318.   Defendant bin Salman’s efforts to bait Dr. Saad back to Saudi Arabia and hunt him

down have ultimately been in service of the only way to guarantee Dr. Saad poses no threat to

Defendant bin Salman’s ascension and consolidation of influence among key figures in the U.S.

Intelligence Community: extinguishing Dr. Saad’s life. Throughout Defendant bin Salman’s

brutal campaign, he has directly threatened the use of “measures that would be harmful to you.” 310

And his actions make clear he meant what he said. After repeated efforts to lure Dr. Saad to more

favorable jurisdictions, after repeated efforts to identify Dr. Saad’s physical location in the United

States and elsewhere through the deployment of covert agents, and after a range of successful

efforts to locate valuable information about Dr. Saad’s location and pattern of life in Toronto, on

or around October 15, 2018, Defendant bin Salman dispatched a kill team from the Tiger Squad

to travel across the Atlantic Ocean to kill Dr. Saad.




309
   Statement from President Donald J. Trump on Standing with Saudi Arabia, White House (Nov.
20, 2018), https://www.whitehouse.gov/briefings-statements/statement-president-donald-j-trump-
standing-saudi-arabia/.
310
      WhatsApp messages from Defendant bin Salman to Dr. Saad (Sept. 10, 2017, 4:56 PM AST).
                                                 169
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          A.     The U.S. Intelligence Community Warns Their Partner Dr. Saad that His Life
                 is in Danger.

          319.   In the face of increasing threats against Dr. Saad’s life in the United States, Canada,

and Saudi Arabia, the U.S. Intelligence Community warned Dr. Saad of the ongoing threat and

communicated their intention to assist in efforts to protect the life of Dr. Saad and his family.

These actions were consistent with public reporting that the CIA and other U.S. agencies were

concerned that Defendant bin Salman’s actions could “damage U.S. interests.” 311

          320.   Specifically, on January 7, 2018, federal officials stopped Dr. Saad’s son Khalid at

Boston Logan International Airport in Boston, Massachusetts, and he was escorted to a private

meeting with two FBI agents. The FBI agents warned Khalid that they had learned of credible

risks to the safety of Dr. Saad and his family, including Defendant bin Salman’s campaign to hunt

Dr. Saad and his family in the United States, and urged them to exercise caution. The FBI agents

emphasized to Khalid that they were helping Dr. Saad and his family. 312

          321.   Similarly, a representative from a U.S. government agency told Khalid in the

summer of 2018 that “everything” was “taken care of,” explaining that the U.S. government had a

“moral obligation” to protect Dr. Saad and his family. The U.S. government official indicated the

U.S. government was “taking care” of Dr. Saad.




311
      Hubbard & Kirkpatrick, supra note 98207.
312
    U.S. intelligence agencies have a duty to warn persons—including non-U.S. persons like Dr.
Saad—if the agency “collects or acquires credible and specific information indicating an
impending threat of intentional killing, serious bodily injury, or kidnapping.” Director of National
Intelligence, Intelligence Community Directive 191: Duty to Warn, at 2, (July 21, 2015,),
https://fas.org/irp/dni/icd/icd-191.pdf. U.S. intelligence agencies are to consult with the FBI or the
CIA to determine the best method to communicate threats to the intended victim. Id.
                                                  170
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       322.    While the U.S. government has thus far aided in the efforts to protect Dr. Saad’s

life, it has been unable to prevent a credible attempt on Dr. Saad’s life by Defendant bin Salman’s

agents, an attempt which remains ongoing to this day.

       C.B.    Defendant bin Salman’s Tiger Squad Attempts an Extrajudicial Killing of Dr.
               Saad in October 2018.


       213.323.       Just thirteen days after the brutal murder of Khashoggi, and while blame for

that murder had not yet been attributed to Defendant bin Salman, he orchestrated a markedly

similar attack on another target: Dr. Saad.

       214.324.       As with Khashoggi, Dr. Saad fled Saudi Arabia in September 2017.

       215.325.       As with Khashoggi, Defendant bin Salman had first tried to lure Dr. Saad

back to Saudi Arabia. That effort failed.

       216.326.       As with Khashoggi—whose children were also subject to a travel ban

imposed in 2017—Defendant bin Salman targeted Dr. Saad’s children in an attempt to lure Dr.

Saad back to Saudi Arabia.313 Although the detention of his children remains ongoing, it has not

secured Dr. Saad’s return to Saudi Arabia.

       217.327.       Defendant bin Salman, through Defendant Alharbi, then attempted to

convince Dr. Saad to travel to Turkey—where Khashoggi was murdered and where Defendant bin

Salman could easily do the same to Dr. Saad. This effort also failed.


313
    Like the travel ban against Dr. SaadSaad’s children, Defendant bin Salman imposed a travel
ban against Khashoggi’s four children soon after he fled Saudi Arabia in September 2017. John
Haltiwanger, Killed Journalist Jamal Khashoggi’s Children, Some of Whom are Dual US Citizens,
Are Reportedly Barred from Leaving Saudi Arabia, Bus. Insider (Oct. 24, 2018),
https://www.businessinsider.com/khashoggis-children-are-reportedly-barred-from-leaving-saudi-
arabia-2018-10.
                                               171
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       218.328.        Unable to lure him out of hiding, Defendant bin Salman directed an effort

in the United States involving the U.S.-Based Covert Agent Defendants to locate Dr. Saad.

       219.329.        DefendantDefendants bin Salman, Alqahtani, and Alassiri then directed

another Tiger Squad team to meet Dr. Saad wherever he could be found—even if that meant

sending a hit squad across the Atlantic Ocean.

       330.    On In or around April 2018, as part of the efforts to locate additional information

and belief, after the U.S.-Based Covert Agent Defendants successfully locatedabout Dr. Saad in

Canada, Saad that would be useful for the killing, a top aide to Defendant bin Salman and his

agents hatched this specific plot to kill Dr. Saad no later thansought Dr. Saad’s residential address

from a major financial institution. The aide circumvented the financial institution’s formal

channels, seeking the information illicitly.

       220.331.        By May 2018, when the Tiger Squad Defendants obtained visas to enter

Canada for the purposes of “tourism.” 314 By directing the Tiger Squad Defendants to obtain tourist

visas, Defendants bin Salman, Alqahtani, and Alassiri could plausibly distance themselves from

the actions of Defendant bin Salman’s personal hit squad after they attempted to kill Dr. Saad in

Canada.




314
    It was not the first time that Defendant bin Salman’s agents planned to enter Canada for illicit
purposes. It has been reported that in May 2018, agents acting at the direction of Defendant bin
Salman and Defendant Alqahtani traveled to Canada in an attempt to lure online dissident Omar
Abdulaziz back to Saudi Arabia. See Loveday Morris & Zakaria Zakaria, Secret Recordings Give
Insight into Saudi Attempt to Silence Critics, Wash. Post, Oct. 17, 2018,
https://www.washingtonpost.com/world/secret-recordings-give-insight-into-saudi-attempt-to-
silence-critics/2018/10/17/fb333378-ce49-11e8-ad0a-0e01efba3cc1_story.html.

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          332.   On or around July 4, 2018, the Commission for the Control of INTERPOL’s files

deleted the red notice for Dr. Saad, rejecting Defendant bin Salman’s efforts to exploit official

government channels to render Dr. Saad back to Saudi Arabia. 315

          221.333.      Soon thereafter, in or around July 2018, on information and belief,

Defendant bin Salman or his agentsa friendly intelligence service reported that malware had been

remotely planted malware in Dr. Saad’s personal phones—another method that had also been used

to track the whereabouts and activities of Khashoggi. 316 Dr. Saad received a WhatsApp message

with a video file from a Saudi journalist whom he had known in Saudi Arabia, even though they

had not been in touch for years. On information and belief, the video file contained malware

allowing Defendant bin Salman and his agents to access the information on Dr. Saad’s phone, and

potentially even Dr. Saad’s precise location.317


315
      See supra ¶¶ 256–60.
316
   Similarly, on or about June 23, 2018, agents of Defendant bin Salman remotely planted malware
on the smartphone of Omar Abdulaziz, a Saudi dissident living in Canada who was in close contact
with Khashoggi at the time. First Amended Complaint ¶ 101, Abdulaziz v. Twitter, No. 3:19-cv-
06694 (N.D. Cal. Feb. 11, 2020), ECF No. 38.
317
   It is widely known that Defendant Alqahtani has led hacking efforts on behalf of Defendant bin
Salman and Saudi Arabia. For example, Defendant Alqahtani—on behalf of Defendant bin
Salman—coordinated the purchase of advanced hacking tools from Israeli cyber firm NSO Group
Technologies Limited (“NSO Group”) and Italian cyber firm, Hacking Team, which were used to
access messages between Jamal Khashoggi and Omar Abdulaziz and track Khashoggi’s
movements prior to his assassination. Suzan Quitaz, Pegasus: The Israeli Spyware That Helped
Saudi       Arabia      Spy     on      Khashoggi,     New       Arab      (Oct.     3,    2019),
https://english.alaraby.co.uk/english/indepth/2019/10/3/this-israeli-spyware-helped-saudi-arabia-
spy-on-khashoggi; Elias Groll, The Kingdom’s Hackers and Bots, Foreign Pol’y (Oct. 29, 2018),
https://foreignpolicy.com/2018/10/19/the-kingdoms-hackers-and-bots-saudi-dissident-
khashoggi/. Upon information and belief, Defendant Alassiri was also involved in coordinating
the purchase of the NSO Group’s hacking tools. In addition, Defendant Alqahtani was linked to
an attempted hack of The Guardian in June 2019, “which reported that it was targeted by a Saudi

                                                   173
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       222.334.        Thus, after luring, hacking, hunting, and hackingultimately locating Dr.

Saad, Defendant bin Salman went for the kill. On or around October 15, 2018, a team consisting

of some of the Tiger Squad Defendants, all Saudi nationals, arrived at Ontario acting at the

Direction of Defendants bin Salman, Alqahtani, and Alassiri, traveled from Frankfurt, Germany

to Ottawa International Airport in Ottawa, Ontario, Canada. on Air Canada flight AC839.

Although they held tourist visas, in fact they planned to enter the country for the purpose of killing

Dr. Saad. By flying into Ottawa International Airport (instead of an airport closer to Dr. Saad),

the Tiger Squad members arrived at a smaller airport where scrutiny of international passengers

might have been expected to be less sophisticated. Notwithstanding these efforts to evade

detection, at least five of the Tiger Squad members traveled on the very same flight, reflecting the

sloppy tradecraft of Defendant bin Salman’s personal Tiger Squad team (unlike the professionally-

trained security forces directed by the Saudi government). On information and belief, the Tiger

Squad team that traveled to Canada included, at minimum, Defendants Algasem, Alsayed,

Alhomid, and Alhaqbani, Albawardi, and Bader Alqahtani.

       335.    The Tiger Squad members who traveled to Canada had previously conducted other

covert foreign missions on behalf of Defendant bin Salman. On information and belief, some of


hacking team at the order of Defendant Alqahtani. Indeed, on June 19, 2019, The Guardian
published an article describing how a source from inside the Saudi regime provided them with a
“confidential internal order,” signed by Defendant Alqahtani, which instructed a tech-savvy team
of hackers to carry out the “penetration” of The Guardian’s computer servers “in complete
secrecy.” Guardian Staff Reporter, Guardian Told It Was Target of Saudi Hacking Unit After
Khashoggi              Killing,          Guardian           (June            19,          2019),
https://www.theguardian.com/world/2019/jun/19/guardian-told-it-was-target-of-saudi-hacking-
unit-afterkhashoggi-killing. And Defendants Alqahtani and Alasaker are accused of hacking the
phone of a journalist at the direction of Defendant bin Salman in a pending federal action in
Florida. See Oueiss v. bin Salman, 1:20-cv-25022-KMM (S.D. Fla. filed Dec. 9, 2020).
                                                 174
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the same members of the Tiger Squad team that traveled to Canada to kill Dr. Saad had previously

traveled to Germany and Austria earlier in 2018 to conduct other covert operations on behalf of

Defendants bin Salman and Alqahtani. Indeed, on information and belief, before boarding the

flight to Canada, at least four of the Tiger Squad members—flagged in a European law

enforcement system—were questioned about their activities. About one year before dispatching a

team headed to Canada for Dr. Saad, Defendant Alqahtani supervised the torture of Dr. Saad’s

son-in-law, Salem Almuzaini, in Saudi Arabia—torture that was ultimately designed to locate and

to lure Dr. Saad back to Saudi Arabia.

       223.336.       Notwithstanding the then-ongoing international uproar as a result of

Khashoggi’s killing, at the time the Tiger Squad Defendants attempted to enter Canada, —and

notwithstanding that the killing followed a pattern that Defendant bin Salman had been working

to perfect for three years—it appeared that Defendant bin Salman was going to get away with the

crime. For example, on October 15, 2018—on or around the same day the Tiger Squad Defendants

attempted to enter Canada to kill Dr. Saad—President Trump touted Defendant bin Salman’s “flat

denial” of involvement in the Khashoggi killing, suggesting instead that “these could have been

rogue killers. Who knows?”318

       224.337.       TheWhile Defendants Alqahtani and Alassiri selected different members of

the Tiger Squad Defendants that were assembledteam to kill Dr. Saad included different

individuals than those Tiger Squadthe members whothey had killedsent to kill Khashoggi, but the

composition of the team was markedly similar. Like the team that traveled to Istanbul to murder


318
       NBC       Politics (@NBCPolitics),     Twitter  (Oct.      15,    2018,     9:58    AM)
https://twitter.com/NBCPolitics/status/1051834806164709377.
                                              175
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Khashoggi, the Tiger Squad team assembled to kill Dr. Saad consisted of an interagency group of

employees selected from across the Saudi government, includingfor loyalty to Defendant bin

Salman. The group included forensic DNA experts from the General Department of Criminal

Evidence in the Ministry of Interior, a senior military intelligence officer with the Ministry of

Defense, and a diplomatic officer in the Ministry of Foreign Affairs. They were united only in

their loyalty to Defendant bin Salman and their readiness to carry out his personal vendettas,

including through torture and murder.

       225.338.       Notably, the Tiger Squad Defendants who DefendantDefendants bin

Salman, Defendant Alqahtani, and Defendant Alassiri dispatched to Canada to kill Dr. Saad

included DefendantDefendants Algasem and Defendant Alsayed, forensic DNA experts who

worked for the General Department of Criminal Evidence in the Ministry of Interior. Defendant

Alsayed holds the rank of lieutenant colonel, making him a senior member of that department.

The General Department of Criminal Evidence is responsible for collecting and removing evidence

in the course of criminal investigations. DNA specialists within the General Department of

Criminal Evidence would be tasked with collecting and analyzing DNA in human bodily fluids

and trace evidence from a crime scene on clothing and other surfaces, according to a peer-reviewed

article on Saudi forensic medicine in The American Journal of Forensic Medicine and

Pathology.319

       226.339.       In addition, Defendant Alsayed taught a course focused on collecting and

identifying “dead bodies and body parts from disasters” in the Department of Criminal Evidence


319
    Mohamed Al Madani et al., supra note 134, atOrigin and Development of Forensic Medicine
in the Kingdom of Saudi Arabia, 33 Am. J. of Forensic Med. & Pathology 149–-50. (2012).
                                               176
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at Naif Arab University for Security Sciences in Riyadh, Saudi Arabia alongside Dr. Tubaigy, the

forensic pathologist who used a bone saw to dismember Khashoggi. According to a 2016 course

syllabus, Defendant Alsayed taught students how to use forensic evidence to identify victims

where a body has been destroyed in a disaster.320 Those skills would also apply to ensuring that

evidence of a body dismembered beyond recognition is never discovered—like in the case of

Khashoggi.

       340.    Similarly, the Tiger Squad team that traveled to Canada on tourist visas included

an expert in forensic evidence, Defendant Alhaqbani. In his day job, Defendant Alhaqbani

worked at the Ministry of Interior. Defendant Alhaqbani has presented at a conference focused on

“the important roles that forensic evidence plays in uncovering the mystery of crimes.” 321

       341.    The Tiger Squad team also included Defendant Bader Alqahtani and Defendant

Albawardi, who in their day jobs were regularly employed by the National Information Center in

Saudi Arabia. Defendants Bader Alqahtani and Albawardi obtained Canadian tourist visas in May

2018 and traveled from Frankfurt, Germany to Ottawa International Airport on or around October

15, 2018, as part of the Tiger Squad’s mission to kill Dr. Saad.

       342.    Importantly, on information and belief, National Information Center engineers

were also selected for the Tiger Squad mission because they could deploy a convenient pretext to

access Dr. Saad’s place of employment. As Defendant bin Salman ultimately learned through his


320
   Naif Arab University for Security Sciences, supra note 39106 (professionally translated from
the Arabic language syllabus).
321
    Public Security Director Inaugurates a Workshop on “The Technical Portfolio of IP
Procedures,” Saudi Press Agency (Jan. 23, 2011), https://www.spa.gov.sa/858495 (translation
from original Arabic language).
                                               177
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hunt in the United States and Canada, Dr. Saad was employed by and regularly visited the office

of InfoSec Global, a cybersecurity company, at the time of the October 2018 trip. InfoSec Global

worked in close partnership with Saudi Arabia’s National Information Center, providing a cover

for National Information Center personnel—including Tiger Squad Defendants Bader Alqahtani

and Albawardi—to access Dr. Saad’s office. Indeed, months before the National Information

Center engineers traveled to Canada, it was reported that Defendant bin Salman had increased his

direct control over the same agency.322

          227.343.      Furthermore, on information and belief, this Tiger Squad team, like the one

deployed to kill Khashoggi, was overseen by Defendants Alqahtani and Alassiri. Notwithstanding

Defendant Alqahtani’s role in the killing of Khashoggi, Saudi state media reported that Defendant

Alqahtani had been removed from his formal role only on October 20, 2018 323—several days after

the Tiger Squad team had traveled to Canada to kill Dr. Saad. (Nonetheless, Defendant bin Salman

continued to rely on Defendant Alqahtani for personal operations after even this date).

          228.344.      When the Tiger Squad Defendants attempted to clear customs at

OntarioOttawa International Airport on or around October 15, 2018, each approached a separate

kiosk for the Canada Border Services Agency (“CBSA”), rather than presenting as a group. In

response to initial questioning from CBSA officers, some of the Tiger Squad Defendants claimed

not to know the others.


322
   Companies Close to Mohammed bin Salman Take Over Cyber Security Sector, Intelligence
Online (May 30, 2018), https://www.intelligenceonline.com/international-dealmaking/
2018/05/30/companies-close-to-mohammed-bin-salman-take-over-cyber-security-
sector,108312025-art.
323
      Who Is Saud al-Qahtani, the Fired Saudi Royal Court Adviser?, supra note 43.
                                                178
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       229.345.       On information and belief, CBSA officers quickly became suspicious of the

Tiger Squad Defendants—the majority of whom were attempting to enter the country on tourist

visas—and sent them to secondary screening. Even when assembled as a group, they continued

to deny their knowledge of the other Tiger Squad Defendants.

       230.346.       On information and belief, when searching through the Tiger Squad

Defendants’ luggage, CBSA officers discovered photographic evidence that, contrary to certain of

these Defendants’ claims, the members did, in fact, know each other. Indeed, the CBSA officers

found a group photo depicting some of the Tiger Squad Defendants together.

       231.347.       On information and belief, CBSA officers also discovered “forensic tools”

in the luggage of some of the Tiger Squad Defendants.          Notwithstanding these tools, and

notwithstanding their positions in the Saudi government, the Tiger Squad Defendants insisted that

they wanted to enter Canada as tourists.

       232.348.       On information and belief, the Tiger Squad Defendants—who were not

prepared for this unexpectedly thorough investigation—became panicked and summoned an

attorney from the Embassy of Saudi Arabia. On information and belief, the attorney was overheard

suggesting that the group should falsely claim that they had traveled to Canada to prepare for an

upcoming “VIP delegation” visiting Canada. On information and belief, in an attempt to halt

further questioning from CBSA officers and escape threatened detention, the Embassy attorney

was overheard advising the Tiger Squad Defendants to accept deportation back to Saudi Arabia.

Thus, CBSA officers refused to allow the would-be killers into the country, except for Defendant

Alhomid, who was permitted to enter Canada with a diplomatic passport.



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   Defendant Alhomid has also used his diplomatic passport to enter the United States,
                 shown here at the United Nations Security Council

       349.   Because most of On or around October 16, 2018—just one day after the first team

arrived in Ottawa—additional Tiger Squad Defendants were turned away frommembers arrived in

Montreal. Unlike the country, they were unable to carry out team that arrived in Ottawa, these

Tiger Squad members successfully entered Canada. These Tiger Squad members are among John

Does 1-8.

       350.   On August 6, 2020—the day the original Complaint was filed in this Court—

Canada’s Minister for Public Safety Bill Blair issued a statement that said the government was

“aware of incidents in which foreign actors have attempted to monitor, intimidate or threaten




                                             180
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Canadians and those living in Canada. It is completely unacceptable and we will never tolerate

foreign actors threatening Canada’s national security or the safety of our citizens and residents.” 324

         233.351.      On information and belief, in September 2020, a senior Saudi intelligence

officer with the GIP carried out an after-action review of Tiger Squad operations, which extended

to the killing of Jamal Khashoggi and the attempted extrajudicial killing of Dr. Saad. The GIP

reported that the use of Defendant bin Salman’s Tiger Squad—rather than the formal channels of

the Saudi government—to carry out these operations contributed to a number of failures, and

sought to demonstrate that the GIP, rather than Defendant bin Salman’s Tiger Squad, should carry

out any future overseas covert operations.

      D. Defendant bin Salman Obtains a Fatwa Endorsing the Extrajudicial Killing of Dr. Saad

         352.   By late 2020, attempts to kill Dr. Saad described in the Complaint were the subject

of law enforcement activity in at least the United States, Canada, Germany, and France. Law

enforcement in Canada are investigating a “conspiracy to commit murder or other mayhem that

may be agreed upon and planned” by foreign actors in connection with the October 2018 attempted

extrajudicial killing and ongoing efforts to kill Dr. Saad. This investigation also includes conduct

that occurred in the United States.




324
    Saudi Crown Prince Accused of Sending Hit Squad to Canada, BBC News (Aug. 6, 2020),
https://www.bbc.com/news/world-middle-east-53677869.
                                                 181
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       C.      In May 2020, Defendant bin Salman Orders a New Tactic in His Attempt to
               Kill Dr. Saad, Directing His Hit Squad to Travel Via the United States to
               Escape Detection.

       234.353.        In or around May 2020, after the Aljabri family was quoted in U.S. media

coverage of the disappearance of Dr. Saad’s children Omar and Sarah that appeared in the United

States, Defendant bin Salman again vowed to murder Dr. Saad, this time with renewed vigor and

using covert travel through the United States in an effort to escape the detection that thwarted the



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Tiger Squad’s October 2018 mission. Ever since Defendant bin Salman’s directive, Dr. Saad has

faced consistent and repeated credible threats on his life.

        235.354.        Specifically, upon information and belief, Defendant bin Salman convened

a meeting with close advisors in Neom, Saudi Arabia in or around May 2020, where they were

overheard saying that he had obtained a fatwa for the killing of Dr. Saad.325 A fatwa is a ruling by

religious authorities that particular conduct—in this case, a ruling endorsing the killing of Dr.

Saad—is permissible.326

        236.355.        At the same meeting, Defendant bin Salman and his agents were also

overheard saying that they planned to send men to kill Dr. Saad in Canada “by land” this time—

that is, by dispatching agents from the United States to travel across the border into Canada to

complete the job. Undoubtedly, Defendant bin Salman changed his tactics in response to the Tiger

Squad’s failed attempts to enter Canada in October 2018.

        237.356.        As a result of Defendant bin Salman’s fatwadirective, the newest stage of a

multi-year campaign of execution, Dr. Saad’s life remains in dire peril to this day.

        357.    Defendant bin Salman’s directive has caused his agents to continue efforts to locate

Dr. Saad, identify his patterns of movement, and collect information on his physical security

arrangements.




325
    Dr. Saad intends to present a witness at the appropriate time to testify about this meeting, subject
to the implementation of measures for the protection of the witness.
326
    Muhammad Khalid Masud et al., Fatwā, Oxford Islamic Studies Online (July 15, 2020),
http://www.oxfordislamicstudies.com/article/opr/t236/e0243.
                                                  183
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       358.    Specifically, in or around June 2020, Defendant bin Salman’s agents directed

Fahad Alotaibi, a Saudi national studying in or around Ottawa, Canada, to pinpoint the location

and movements of Dr. Saad by collecting information about his son, Khalid. Just like Defendant

bin Salman had previously deployed well-connected Saudi student operatives in the United States,

this time he deployed an operative well established in student networks in Canada: Aloitaibi had

led the Saudi Student Club in Ottawa previously and was close with the Saudi Arabian Cultural

Mission. On information and belief, Aloitaibi told an acquaintance that Dr. Saad and his son were

“bad people” and “we need to be after them.” Carrying out these intentions, Aloitaibi contacted

at least one friend of Dr. Saad’s son, inquiring about where he worked and successfully extracting

contact information for Dr. Saad’s son that was not publicly available. On June 10, 2020, Aloitaibi

then directly contacted Dr. Saad’s son in a further attempt to obtain information about Dr. Saad’s

physical location and movements.

       359.    In July 2020, Defendant bin Salman’s agents approached a private intelligence

consultant to request information about Dr. Saad, ultimately requesting information about Dr.

Saad’s physical location. The intelligence consultant thereafter cultivated a contact in a foreign

government who claimed to be able to provide real-time updates on Dr. Saad’s physical

movements.

       360.    In or around mid-October 2020, a senior mobile forensic consultant of Technology

Control Company, a technology company controlled by Defendant bin Salman and based in Saudi

Arabia, contacted a company that manufactures a secure mobile phone used by Dr. Saad. The

senior mobile forensic consultant requested to purchase the very same type of mobile device used

by Dr. Saad. The forensic consultant requested “a quotation for our client.” On information and
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belief, the senior forensic consultant wanted to purchase the same type of device used by Dr. Saad

so that he could learn how to remotely hack Dr. Saad’s mobile device and thereby collect valuable

information on his physical location, pattern of movements, and discussions with counsel.

       361.    Most recently, in mid-December 2020, Defendant bin Salman’s agents sought

information about Dr. Saad’s physical security arrangements from a senior employee of a

commercial cybersecurity company.

       362.    In parallel with these renewed efforts to collect additional information about Dr.

Saad’s physical location and pattern of movements, his agents have repeatedly made credible

attempts on Dr. Saad’s life. These efforts all follow from Defendant bin Salman’s May 2020

directive in Neom to continue the attempt to kill Dr. Saad through travel to the United States.

       363.    Specifically, on or around July 25, 2020—just two months after Defendant bin

Salman’s directive in Neom, and at the same time that Defendant bin Salman and his agents were

pushing a smear campaign against Dr. Saad on Twitter and on television and print media—

government security agencies warned Dr. Saad of a credible and imminent threat to his life. Law

enforcement stationed an Emergency Response Team—a special unit that deploys “tactics,

specialized weapons, and equipment to resolve high-risk situations”—outside Dr. Saad’s home to

protect his life.327   Law enforcement also warned Dr. Saad not to leave the house and to

immediately cancel all meetings until further notice.

       364.    Within the span of several days in November 2020, two reliable sources from

different countries and different professions independently warned Dr. Saad about new credible


327
    Emergency Response Team, Royal Canadian Mounted Police (last modified Jan. 13, 2020),
https://www.rcmp-grc.gc.ca/ert-gti/index-eng.htm.
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threats to end his life. These sources understood that Defendant bin Salman’s directive to kill Dr.

Saad remained one of Defendant bin Salman’s top priorities.            Around the same time, law

enforcement reported to Dr. Saad that the level of threats on his life remained “high” and

recommended 24/7 physical security.

       238.365.        Defendants’ attempted extrajudicial killing of Dr. Saad has caused

indescribable pain to Dr. Saad. He lives in a state of extreme fear and anxiety, with insomnia and

other physical effects. Further, he is unable to move freely or work and requires around-the-clock

private security, all because of the past credible attempts on his life and the knowledge that

Defendant bin Salman wants him dead and is continuing to work, with seeming impunity, toward

that ultimate objective.



                                  GENERAL ALLEGATIONS

       239.366.        The Defendant bin Salman directed the acts described herein were carried

out under actual or apparent authority or color of law of the government of Saudi Arabia.

Likewise, Defendants Alasaker, Alqahtani, Alassiri, the U.S.-Based Covert Agent Defendants, and

the Tiger Squad Defendants acted under apparent authority or color of law of the government of

Saudi Arabia in undertaking the acts described herein.

       240.367.        Defendants bin Salman, Alqahtani, Alassiri, and Alasaker are personally

liable for acts of attempted extrajudicial killing by virtue of their direct or indirect participation,

including committing certain acts themselves or directing or ordering their subordinates to commit

certain acts, including the U.S.-Based Covert Agent Defendants and the Tiger Squad Defendants.



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These acts violate the TVPA, are violations of the law of nations actionable under the ATS, and

constitute intentional infliction of emotional distress.

       241.368.        Defendants bin Salman, Alqahtani, Alassiri, and Alasaker are also liable

because they conspired with, or aided and abetted, subordinates, including the Tiger Squad

Defendants and the U.S.-Based Covert Agent Defendants. Defendants bin Salman, Alqahtani, and

Alasaker are therefore also jointly and severally liable for the actions of the Tiger Squad

Defendants and the U.S.-Based Covert Agent Defendants, all of which were actions undertaken as

part of a common plan, design, and scheme.

       242.369.        Likewise, Defendant MiSK, the Tiger Squad Defendants, and the U.S.-

Based Covert Agent Defendants are personally liable for acts of attempted extrajudicial killing by

virtue of their direct or indirect participation, and because they conspired with, or aided and abetted

the commission of these acts, which violate the TVPA, are violations of the law of nations

actionable under the ATS, and constitute intentional infliction of emotional distress.

       243.370.        In particular, the relationships between and coordination among each of the

Defendants demonstrates that Defendants had ample opportunity to and in fact did agree to commit

unlawful acts. Further, Defendants committed several overt acts in furtherance of the scheme,

including but not limited to traveling to Boston, Massachusetts and contacting members of Dr.

Saad’s family in an effort to locate him; traveling to Canada to collect valuable information on Dr.

Saad’s location and pattern of movements in preparation for the kill team’s mission; applying for

Canadian tourist visas and thereafter traveling to Canada with the intent to murderkill Dr. Saad,

including as evidenced by the tools and expertise of the personnel necessary to cover up the crime;

and thereafter directing another hit squad to kill Dr. Saad, specifying that the team should travel
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through the United States to evade detection; kidnapping and disappearing Dr. Saad’s children,

torturing his son-in-law as a proxy for Dr. Saad, and attempting to lure his daughter to the Saudi

consulate in Istanbul, Turkey days before Jamal Khashoggi was killed there, all in an effort to

compel him to return to Saudi Arabia; and orchestrating an online campaign of smears and death

threats against Dr. Saad on Twitter in the same way an online campaign presaged Khashoggi’s

killing. Each of these acts was designed to facilitate Dr. Saad’s swift killing because his close ties

to the U.S. Intelligence Community stand in the way of Defendant bin Salman’s consolidation of

influence and power among U.S. government officials. Moreover, these overt acts directly and

proximately caused injury to Dr. Saad in the form of severe emotional stress and the physical

manifestations of that harm, as well as the injury to property through his frozen accounts and

expropriated property.

       244.371.          For its part, Defendant MiSK conspired with Defendants bin Salman and

Alasaker to covertly recruit, cultivate, and deploy individuals to serve as agents and who

participated in the hunt for Dr. Saad, including in the United States. Further, insofar as Defendant

MiSK operated as a front for DefendantDefendants bin Salman and Defendant Alasaker,

Defendant MiSK is liable for their conduct as an alter ego.

       245.372.          Further, each Defendant knowingly and substantially assisted with the

commission of the attempted extrajudicial killing. Defendants bin Salman, Alqahtani, Alassiri,

and Alasaker planned, oversaw, and coordinated the trackinghunting of Dr. Saad in the United

States as well as the mission to kill Dr. Saad in Canada. Defendant bin Salman took additional

steps to lure Dr. Saad back to Saudi Arabia, where he could be more easily murderedkilled,

including personally sending him threatening electronic messages via WhatsApp, causing the
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issuance of false and baseless arrest warrants, and ordering the detention and disappearance of two

of Dr. Saad’s children.

       246.373.        Defendant MiSK knowingly provided substantial assistance through its

actions to recruit individuals who served as covert agents and helped to hunt Dr. Saad in the United

States. At all times, it was dominated and controlled by, and served as a mere instrumentality of

Defendants bin Salman and Alasker, and accordingly it was aware of its role in the overall scheme.

       247.374.        The U.S.-Based Covert Agent Defendants and the Tiger Squad Defendants

each provided substantial assistance by carrying out the orders of their superiors. This included,

for the U.S.-Based Covert Agent Defendants, infiltrating Dr. Saad’s networks in an attempt to

locate him, and, for the Tiger Squad Defendants, obtaining Canadian tourist visas and/or traveling

to Canada with the intent to murder Dr. Saad.

       248.375.        Each Defendant was aware of his, her, or its role in the overall scheme.

Plainly, the Tiger Squad Defendants understood that they had been dispatched to carry out an

unlawful act. Moreover, by virtue of their connections to Defendants bin Salman and Alasaker

(through Defendant MiSK and otherwise), and considering Defendant bin Salman’s history of

eliminating his selfhand-selected targets by any means necessary, the U.S.-Based Covert Agent

Defendants were well aware of Defendant bin Salman’s objectives and the reasons why they were

deployed to identify Dr. Saad’s location.

       249.376.        In addition, Defendants bin Salman, Alqahtani, and Alassiri possessed and

exercised command and operational control over the Tiger Squad Defendants in connection with

the attempted extrajudicial killing of Dr. Saad. Defendants bin Salman, Alqahtani, and Alassiri



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authorized, directed, and permitted the Tiger Squad Defendants to commit violations of the TVPA

and of the law of nations.

       250.377.        Defendants bin Salman and Alasaker possessed and exercised command

and operational control over the U.S.-Based Covert Agent Defendants in connection with the

attempted extrajudicial killing of Dr. Saad. Defendants bin Salman and Alasaker authorized,

directed, and permitted the U.S.-Based Covert Agent Defendants to commit violations of the

TVPA and of the law of nations.

       251.378.        At all relevant times, Defendants bin Salman, Alqahtani, Alassiri, and

Alasaker had the legal authority and practical ability to exert control over their subordinates,

including the Tiger Squad Defendants and the U.S.-Based Covert Agent Defendants, who directly

participated in the attempted extrajudicial killing of Dr. Saad. On information and belief, the

attempted extrajudicial killing was committed pursuant to the authority of Defendants bin Salman,

Alqahtani, Alassiri, and Alasaker.

       379.    At all times, Defendants Alqahtani, Alassiri, Alasaker, the U.S.-Based Covert

Agent Defendants, and the Tiger Squad Defendants acted as agents and/or subagents of Defendant

bin Salman for the purpose of locating and extrajudicially killing Dr. Saad. Defendant bin Salman

exercised control over the scope and manner of the hunt for Dr. Saad, and he conferred on these

agents and/or subagents the authority to accomplish his mission. Defendants Alqahtani, Alassiri,

Alasaker, the U.S-Based Covert Agent Defendants, and the Tiger Squad Defendants, in turn,

undertook their activities in accordance with and within the scope of this grant of authority.

       252.380.        The attempted extrajudicial killing of Dr. Saad was part of a pattern and

practice of taking unlawful and violent measures to remove individuals associated with the United
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States whom Defendant bin Salman, in particular, viewed as obstacles. At all relevant times,

Defendants bin Salman, Alqahtani, Alassiri, and Alasaker knew of and approved this pattern and

practice, including the violations committed against Dr. Saad. Alternatively, Defendants bin

Salman, Alqahtani, Alassiri, and Alasaker reasonably should have known about this pattern and

practice, including the violations committed against Dr. Saad. Defendants bin Salman, Alqahtani,

Alassiri, and Alasaker failed to take all necessary measures to investigate and prevent these

violations of international law, or to punish personnel under their command for committing such

abuses.

          381.   Defendant bin Salman orchestrated the conduct alleged herein from Saudi Arabia.

Moreover, that conduct involved an attempt to return Dr. Saad to Saudi Arabia so that he could be

killed there, and alternatively, to trap him wherever he was in order to kill him.

          253.382.      Dr. Saad does not have access to a fair and impartial legal system in Saudi

Arabia and seeking redress in that forumSaudi Arabia for claims involving the named defendants

would be futile. Accordingly, Dr. Saad is not required to exhaust local remedies.




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                                  FIRST CAUSE OF ACTION

    Attempted Extrajudicial Killing in Violation of the Torture Victim Protection Act
   Against Defendant bin Salman, Defendant Alasaker, Defendant Alqahtani, Defendant
 Alassiri, Defendant Alharbi, the U.S.-Based Covert Agent Defendants, and the Tiger Squad
                                        Defendants

       254.383.        Dr. Saad realleges and incorporates by reference the allegations set forth in

paragraphs 1 through 253382 of this Complaint as if fully set forth herein.

       255.384.        The attempted murder of Dr. Saad by DefendantDefendants bin Salman,

Defendant Alasaker, Defendant Alqahtani, Defendant Alassiri, the U.S.-Based Covert Agent

Defendants, and the Tiger Squad Defendants, acting in concert, constitutes an attempted

extrajudicial killing as defined by the Torture Victim Protection Act, Pub. L. No. 102-256, 106

Stat. 73 (1992) (codified at 28 U.S.C. § 1350 note).

       256.385.        The attempted extrajudicial killing was not authorized by any court or

judgment; Dr. Saad was not convicted of or sentenced for any crime.

       257.386.        Defendants bin Salman, Alqahtani, Alassiri, and Alasaker personally

committed, or exercised command responsibility over, the U.S.-Based Covert Agent Defendants

and the Tiger Squad Defendants to commit the attempted extrajudicial killing of Dr. Saad.

       258.387.        Alternatively, Defendants bin Salman, Alqahtani, Alassiri, and Alasaker

conspired with, or aided and abetted subordinates, including the U.S.-Based Covert Agent

Defendants and the Tiger Squad Defendants, in their attempt to extrajudicially kill Dr. Saad.

       259.388.        In addition, the U.S.-Based Covert Agent Defendants and the Tiger Squad

Defendants personally committed, conspired with, or aided and abetted the commission of the

attempted extrajudicial killing of Dr. Saad.


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       260.389.        Defendants’ acts were committed under actual or apparent authority, or

color of law, of the government of Saudi Arabia.

       261.390.        Defendants bin Salman, Alasaker, Alqahtani, Alassiri, and the Tiger Squad

Defendants acted with specific intent to kill Dr. Saad. The U.S.-Based Covert Agent Defendants

provided knowing substantial assistance and agreed to participate in an unlawful act.

       262.391.        Defendants undertook substantial steps in furtherance of the attempted

extrajudicial killing, including but not limited to sending Dr. Saad threatening messages to compel

him to travel to vulnerable territory where he could be killed; kidnapping and torturing members

of his family in a further effort to coerce him to return to Saudi Arabia; hunting for the location,

contact information, and other valuable information about Dr. Saad by asking intrusive questions

of Dr. Saad’s family and friends and using deceptive means within the United States in an attempt

to identify his precise whereabouts; and pattern of movements; directing and carrying out a plot to

travel to Canada with the express purpose of murdering Dr. Saad; and directing a plot to travel

through the United States to carry out a religious ruling endorsing the killing of Dr. Saad.

       263.392.        Defendants’ attempted extrajudicial killing of Dr. Saad caused Dr. Saad

severe physical and mental pain and suffering.

       264.393.        As a result of Defendants’ attempted extrajudicial killing in violation of the

TVPA, Dr. Saad is entitled to damages in an amount to be determined at trial.

       265.394.        Defendants’ acts were deliberate, willful, intentional, wanton, malicious,

and oppressive, and should be punished by an award of punitive damages in an amount to be

determined at trial.



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       266.395.        Additionally, Dr. Saad is entitled to a declaratory judgment stating that

Defendants have violated the TVPA by attempting to extrajudicially kill Dr. Saad.


                                 SECOND CAUSE OF ACTION

           Extrajudicial Killing in Violation of the Law of Nations under the ATS
   Against Defendant bin Salman, Defendant Alasaker, Defendant Alqahtani, Defendant
 Alassiri, Defendant Alharbi, the U.S.-Based Covert Agent Defendants, and the Tiger Squad
                                          Defendants


       267.396.        Dr. Saad realleges and incorporates by reference the allegations set forth in

paragraphs 1 through 253382 of this Complaint as if fully set forth herein.

       397.    The attempted extrajudicial killing was not authorized by any court or judgment;

Dr. Saad was not convicted of or sentenced for any crime.

       398.    Defendants bin Salman, Alqahtani, Alassiri, and Alasaker personally committed,

or exercised command responsibility over, the U.S.-Based Covert Agent Defendants and the Tiger

Squad Defendants to commit the attempted extrajudicial killing of Dr. Saad.

       399.    Alternatively, Defendants bin Salman, Alqahtani, Alassiri, and Alasaker engaged

in a joint criminal enterprise with, conspired with, or aided and abetted subordinates, including the

U.S.-Based Covert Agent Defendants and the Tiger Squad Defendants, in their attempt to

extrajudicially kill Dr. Saad.

       400.    In addition, the U.S.-Based Covert Agent Defendants and the Tiger Squad

Defendants personally committed, engaged in a joint criminal enterprise with, conspired with, or

aided and abetted one another in the commission of the attempted extrajudicial killing of Dr. Saad.




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       401.    Defendants’ acts were committed under apparent authority or color of law of the

government of Saudi Arabia.

       402.    Defendants bin Salman, Alasaker, Alqahtani, Alassiri, and the Tiger Squad

Defendants acted with specific intent to kill Dr. Saad. The U.S.-Based Covert Agent Defendants

provided knowing substantial assistance and agreed to participate in an unlawful act.

       403.    Defendants undertook substantial steps in furtherance of the attempted extrajudicial

killing, including but not limited to sending Dr. Saad threatening messages to compel him to travel

to vulnerable territory where he could be killed; kidnapping and torturing members of his family

in a further effort to coerce him to return to Saudi Arabia; hunting for the location, contact

information, and other valuable information about Dr. Saad by asking intrusive questions of Dr.

Saad’s family and friends and using deceptive means within the United States in an attempt to

identify his precise whereabouts and pattern of movements; directing and carrying out a plot to

travel to Canada with the express purpose of killing Dr. Saad; and directing a plot to travel through

the United States to carry out a religious ruling endorsing the killing of Dr. Saad.

       268.404.        The attempted extrajudicial killing constitutes a “tort . . . committed in

violation of the law of nations or a treaty of the United States” under the Alien Tort Statute, 28

U.S.C. § 1350, in that it violated customary international law prohibiting extrajudicial killings and

persecution as reflected, expressed, defined, and codified in customary international law,

multilateral treaties and other international instruments, international and domestic judicial

decisions, and other authorities.

       269.405.        Defendants’ attempted extrajudicial killing of Dr. Saad caused Dr. Saad

severe physical and mental pain and suffering.
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       270.406.        As a result of Defendants’ attempted extrajudicial killing in violation of the

law of nations, Dr. Saad is entitled to damages in an amount to be determined at trial.

       271.407.        Defendants’ acts were deliberate, willful, intentional, wanton, malicious,

and oppressive, and should be punished by an award of punitive damages in an amount to be

determined at trial.

       272.408.        Additionally, Dr. Saad is entitled to a declaratory judgment stating that

Defendants have violated the law of nations by attempting to extrajudicially kill Dr. Saad.




                                 THIRD CAUSE OF ACTION

                          Intentional Infliction of Emotional Distress
                                    Against all Defendants

       273.409.        Dr. Saad realleges and incorporates by reference the allegations set forth in

paragraphs 1 through 253382 of this Complaint as if fully set forth herein.

       274.410.        Defendants are liable to Dr. Saad for intentional infliction of emotional

distress because they engaged in, conspired to commit, and/or aided and abetted the commission

of extreme and outrageous conduct that intentionally or recklessly caused Dr. Saad severe

emotional distress.

       275.411.        In particular, Defendants’ attempt to kill Dr. Saad—which included, inter

alia, hunting him down in the United States, traveling to Canada with the materials necessary to

clean up the crime, directing a plot to travel through the United States to kill Dr. Saad, and


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kidnapping his children in an attempt to lure him back to Saudi Arabia to murderkill him—was

per se extreme and outrageous.

       276.412.        This extreme and outrageous conduct was deliberately calculated to cause

Dr. Saad extreme suffering. Alternatively, at a minimum, Defendants were reckless with respect

to the likelihood of causing Dr. Saad severe emotional distress.

       277.413.        Dr. Saad has in fact suffered severe emotional distress requiring medical

treatment as a result of Defendants’ conduct and he is entitled to damages in an amount to be

determined at trial. Indeed, Dr. Saad has suffered from anxiety, insomnia, increased hypertension,

fatigue, and headaches as a result of Defendants’ conduct.

       278.414.        Defendants’ acts were deliberate, willful, intentional, wanton, malicious,

and oppressive, and should be punished by an award of punitive damages in an amount to be

determined at trial.




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                                   PRAYER FOR RELIEF


WHEREFORE, Dr. Saad demands judgment as follows:

      A. awarding Dr. Saad compensatory damages in an amount to be determined at trial for

         all injuries suffered as a result of Defendants’ wrongdoing;

      B. awarding Dr. Saad declaratory relief declaring that Defendants have violated Dr. Saad’s

         rights as set forth herein;

      C. awarding Dr. Saad punitive and exemplary damages, according to proof;

      D. awarding Dr. Saad prejudgment interest as allowed by law;

      E. awarding Dr. Saad reasonable attorneys’ fees and costs incurred in this action; and

      F. awarding such other and further relief as the Court deems just and proper.



      Dated: August 6, 2020                               Respectfully submitted,

                                                          JENNER & BLOCK LLP

                                                          /s/ David Pressman
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Dated: February 4, 2021                      Respectfully submitted,

                                             JENNER & BLOCK LLP

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